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                       EXHIBIT A
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SANCTIONS EXCLUSION
ENDORSEMENT




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

The following exclusion is added to the policy to which it is attached and supersedes any existing sanctions
language in the policy, whether included in an Exclusion Section or otherwise:
SANCTIONS EXCLUSION
Notwithstanding any other terms under this policy, we shall not provide coverage nor will we make any
payments or provide any service or benefit to any insured, beneficiary, or third party who may have any rights
under this policy to the extent that such cover, payment, service, benefit, or any business or activity of the
insured would violate any applicable trade or economic sanctions law or regulation.

The term policy may be comprised of common policy terms and conditions, the declarations, notices, schedule,
coverage parts, insuring agreement, application, enrollment form, and endorsements or riders, if any, for each
coverage provided. Policy may also be referred to as contract or agreement.

We may be referred to as insurer, underwriter, we, us, and our, or as otherwise defined in the policy, and shall
mean the company providing the coverage.

Insured may be referred to as policyholder, named insured, covered person, additional insured or claimant, or
as otherwise defined in the policy, and shall mean the party, person or entity having defined rights under the
policy.

These definitions may be found in various parts of the policy and any applicable riders or endorsements.

ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED




                                                                                            U-GU-1191-A CW (03/15)
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Disclosure Statement

                               It is our pleasure to present the enclosed policy to you
                                           for presentation to your customer.


                                     INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED / ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                      WITH THE POLICY.

  Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




                                                                                                    U-GU-873-A CW (06/ 11)
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Disclosure Statement

                NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


             If you want to learn more about the compensation Zurich pays agents and brokers visit:

                               http: / / www.zurichnaproducercompensation.com

                              or call the following toll-free number: (866) 903-1192.



                   This Notice is provided on behalf of Zurich American Insurance Company

                                        and its underwriting subsidiaries.




                                                                                             U-GU-874-A CW (06/ 11)
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COMMERCIAL INSURANCE
                                                                                                  COMMON POLICY DECLARATIONS
Policy Number        BAP 0191409-00                                      Renewal of Number                 NEW
Named Insured and Mailing Address                                    Producer and Mailing Address
ASPHALT PAVING SYSTEMS, INC.                                         MCKEE RISK MANAGEMENT INC
(SEE NAMED INSURED ENDT)                                             610 FREEDOM BUSINESS CTR DR
500 N EGG HARBOR RD                                                  STE 300
HAMMONTON NJ 08037-3201                                              KING OF PRUSSIA PA 19406-1329

                                                          Producer Code     53093-000
Policy Period: Coverage begins           04-01-2016 at 12:01 A.M.; Coverage ends 04-01-2017                                    at 12:01 A.M.
The name insured is             Individual          Partnership       X Corporation
                                     Other:
This insurance is provided by one or more of the stock insurance companies which are members of the Zurich-American Insurance Group. The company that
provides coverage is designated on each Coverage Part Common Declarations. The company or companies providing this insurance may be referred to in
this policy as "The Company", we, us, or our. The address of the companies of the Zurich-American Insurance Group are provided on the next page.

  THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE(S):
  BUSINESS AUTOMOBILE                                                                            PREMIUM           $       370,033.00
   issued by ZURICH AMERICAN INSURANCE COMPANY
  NJ-PLIGA SURCHARGE                                                                                               $           2,465.00




  THIS PREMIUM MAY BE SUBJECT TO AUDIT.                                              TOTAL             370,033.00
                                                                                                       $
  This premium does not include Taxes and Surcharges.                                      SEE INSTALLMENT SCHEDULE
  Taxes and Surcharges                                                               TOTAL     $         2,465.00
                                                                                           SEE INSTALLMENT SCHEDULE
  The Form(s) and Endorsement(s) made a part of this policy at the time of issue are listed on the SCHEDULE of
  FORMS and ENDORSEMENTS.
  Countersigned this                  day of
                                                                                               Authorized Representative

 THESE DECLARATIONS TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS, COVERAGE PART FORM(S),
         FORMS AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.

                                                                                                                           U-GU-D-310-A (01/ 93)
                                                                                                                                    Page 1 of 1
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                                                           Policy Number
                                                           BAP 0191409-00
                              SCHEDULE OF FORMS AND ENDORSEMENTS

                            Zurich American Insurance Company

Named Insured   ASPHALT PAVING SYSTEMS, INC.                              Effective Date: 04-01-16
                                                                            12:01 A.M., Standard Time
Agent Name      MCKEE RISK MANAGEMENT INC                                 Agent No.   53093-000
COMMON POLICY FORMS AND ENDORSEMENTS
U-GU-1191-A CW              03-15    SANCTIONS EXCLUSION ENDORSEMENT
U-GU-D-310-A                01-93    COMMON POLICY DECLARATIONS
U-GU-619-A CW               10-02    SCHEDULE OF FORMS AND ENDORSEMENTS
U-GU-319-F                  01-09    IMPORTANT NOTICE - IN WITNESS CLAUSE
U-GU-621-A CW               10-02    SCHEDULE OF NAMED INSURED(S)
U-GU-406-A                  07-94    INSTALLMENT PREMIUM SCHEDULE
IL 00 17                    11-98    COMMON POLICY CONDITIONS
IL 00 21                    09-08    NUCLEAR ENERGY LIABILITY EXCLUSION ENDT
IL 02 08                    09-07    NJ CHANGES-CANC & NONRENL
IL 00 03                    09-08    CALCULATION OF PREMIUM
AUTOMOBILE FORMS AND ENDORSEMENTS
U-CA-411-E CW               02-14    PREMIUM AND REPORTS AGREEMENT-COMPOSITE
U-CA-531-B                  02-08    NOTICE REGARDING TERRORISM PREMIUM
U-CA-548-A CW               10-06    SCHEDULE OF AUTO PHYSICAL DAMAGE DEDUCTI
U-CA-D-600-C                04-14    BUSINESS AUTO DECLARATIONS
CA 00 01                    10-13    BUSINESS AUTO COVERAGE FORM
CA 02 67                    11-12    FL CHANGES - CANCELLATION AND NONRENEWAL
CA 01 84                    10-13    NJ CHANGES - PHYSICAL DAMAGE INSPECTION
CA 01 88                    10-13    NEW JERSEY CHANGES
CA 21 14                    10-13    NJ UNINSURED AND UNDERINSURED COVERAGE
CA 21 72                    10-09    FL UNINSURED MOTORISTS COV - NON STACKED
CA 22 10                    01-13    FL PERSONAL INJURY PROTECTION
CA 22 30                    11-13    NJ PERSONAL INJURY PROTECTION
CA 22 01                    01-87    NAMED IND-BROADENED PIP COV
CA 99 48                    10-13    POLLUTION LIAB BROAD COV FOR COV AUTO
U-CA-424-F CW               04-14    COVERAGE EXTENSION ENDORSEMENT
U-CA-825-B CW               02-14    WHO IS AN INSURED AMENDMENT - BROAD FORM
CA 99 03                    10-13    AUTO MEDICAL PAYMENTS COVERAGE
CA 99 10                    10-13    DRIVE OTHER CAR COV-BROAD COV NAMED IND
CA 99 16                    10-13    HIRED AUTO SPECIFIED AS COV AUTO YOU OWN
CA 99 23                    10-13    RENTAL REIMBURSEMENT COVERAGE
MCS-90                      06-14    MOTOR CARRIER POLICIES OF INS.FOR PUBLIC
CA 99 33                    10-13    EMPLOYEES AS INSUREDS




   U-GU-619-A CW (10/ 02)
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Important Notice --- In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this
policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




            President                                                         Corporate Secretary


QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your
insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
(please have your policy or claim number ready):
                                                 Zurich in North America
                                                Customer Inquiry Center
                                                    1400 American Lane
                                             Schaumburg, Illinois 60196-1056
                                    1-800-382-2150 (Business Hours: 8am - 4pm [CT])
                                            Email: info.source zurichna.com




                                                                                                          U-GU-319-F (01 /09)
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                                                             Policy Number
                                                             BAP 0191409-00
                              SCHEDULE OF NAMED INSURED(S)

              ZURICH AMERICAN INSURANCE COMPANY

 Named Insured    ASPHALT PAVING SYSTEMS, INC.               Effective Date:      04-01-16
                                                                      12:01 A.M., Standard Time
 Agent Name       MCKEE RISK MANAGEMENT INC                  Agent No.        53093-000
                                  NAMED INSURED
ASPHALT PAVING SYSTEMS, INC.
SHORE SLURRY SEAL, INC.
SHORE MICROSURFACING SYSTEMS, INC.
SHORE TRANSPORT, INC.
PMP CONSTRUCTION, INC.
SHORE BUILDING CONTRACTORS, INC.
THOMAS H. GANNON & SONS, INC.
SHORE ROAD MAINTENANCE, INC.
ASPEN CONSTRUCTION MANAGEMENT
11 CHEW DEVELOPMENT, LLC
CODE ORANGE, LLC




U-GU-621-A CW (10/ 02)
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                                                                                   INSTALLMENT PREMIUM SCHEDULE
The total premium shown in the Declarations of this policy is made payable in installments, on the dates and in the
amount shown below.
NAMED INSURED                                                                   POLICY NUMBER
ASPHALT PAVING SYSTEMS, INC.                                                 BAP 0191409-00

PAYMENT           STANDARD                TAXES                    TOTAL
DUE               PREMIUM                 PREPAID                  PREMIUM
-------           --------                -------                  -------


04/01/16      $    127,913.00        $       2,465.00         $     130,378.00
05/01/16      $     30,265.00                                 $      30,265.00
06/01/16      $     30,265.00                                 $      30,265.00
07/01/16      $     30,265.00                                 $      30,265.00
08/01/16      $     30,265.00                                 $      30,265.00
09/01/16      $     30,265.00                                 $      30,265.00
10/01/16      $     30,265.00                                 $      30,265.00
11/01/16      $     30,265.00                                 $      30,265.00
12/01/16      $     30,265.00                                 $      30,265.00
TOTAL         $    370,033.00        $       2,465.00         $     372,498.00




Failure to pay the Installment Premium by the Date Due shown shall constitute non-payment of premium for which we
may cancel this policy.
                                                                                                    U-GU-406-A (07/ 94)
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                                                                                                                 IL 00 17 11 98


                                      COMMON POLICY CONDITIONS

All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                                  b.   Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara-                                   and
      tions may cancel this policy by mailing or de-                             c. Recommend changes.
      livering to us advance written notice of cancel-                      2.   We are not obligated to make any inspections,
      lation.                                                                    surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliv-                             such actions we do undertake relate only to in-
      ering to the first Named Insured written notice                            surability and the premiums to be charged. We
      of cancellation at least:                                                  do not make safety inspections. We do not un-
      a. 10 days before the effective date of cancel-                            dertake to perform the duty of any person or
           lation if we cancel for nonpayment of pre-                            organization to provide for the health or safety
           mium; or                                                              of workers or the public. And we do not war-
                                                                                 rant that conditions:
      b. 30 days before the effective date of cancel-
           lation if we cancel for any other reason.                             a.   Are safe or healthful; or
    3.We will mail or deliver our notice to the first                            b.   Comply with laws, regulations, codes or
      Named Insured’s last mailing address known to                                   standards.
      us.                                                                   3. Paragraphs 1. and 2. of this condition apply not
   4. Notice of cancellation will state the effective                          only to us, but also to any rating, advisory, rate
      date of cancellation. The policy period will end                        service or similar organization which makes in-
      on that date.                                                           surance inspections, surveys, reports or recom-
                                                                               mendations.
   5. If this policy is cancelled, we will send the first
      Named Insured any premium refund due. If we                          4. Paragraph 2. of this condition does not apply to
      cancel, the refund will be pro rata. If the first                        any inspections, surveys, reports or recommen-
      Named Insured cancels, the refund may be less                            dations we may make relative to certification,
      than pro rata. The cancellation will be effective                        under state or municipal statutes, ordinances or
      even if we have not made or offered a refund.                            regulations, of boilers, pressure vessels or ele-
                                                                              vators.
   6. If notice is mailed, proof of mailing will be suf-
      ficient proof of notice.                                          E. Premiums
B. Changes                                                                 The first Named Insured shown in the Declarations:
   This policy contains all the agreements between                         1. Is responsible for the payment of all premiums;
   you and us concerning the insurance afforded. The                           and
   first Named Insured shown in the Declarations is                         2. Will be the payee for any return premiums we
   authorized to make changes in the terms of this                             pay.
   policy with our consent. This policy’s terms can be                 F. Transfer Of Your Rights And Duties Under This
   amended or waived only by endorsement issued by                        Policy
   us and made a part of this policy.
                                                                          Your rights and duties under this policy may not be
C. Examination Of Your Books And Records                                  transferred without our written consent except in
   We may examine and audit your books and records                        the case of death of an individual named insured.
   as they relate to this policy at any time during the                   If you die, your rights and duties will be transferred
   policy period and up to three years afterward.                         to your legal representative but only while acting
D. Inspections And Surveys                                                within the scope of duties as your legal representa-
   1. We have the right to:                                               tive. Until your legal representative is appointed,
                                                                          anyone having proper temporary custody of your
        a. Make inspections and surveys at any time;                      property will have your rights and duties but only
                                                                          with respect to that property.




IL 00 17 11 98                         Copyright, Insurance Services Office, Inc., 1998                        Page 1 of 1
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                                                                                                      IL 00 21 09 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                    (Broad Form)


This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

1. The insurance does not apply:                                C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"             or "property damage" resulting from "hazardous
      or "property damage":                                        properties" of "nuclear material", if:
     (1) With respect to which an "insured" under                  (1) The "nuclear material" (a) is at any "nuclear
          the policy is also an insured under a nu-                    facility" owned by, or operated by or on be-
          clear energy liability policy issued by Nu-                  half of, an "insured" or (b) has been dis-
          clear Energy Liability Insurance Association,                charged or dispersed therefrom;
          Mutual Atomic Energy Liability Underwrit-                (2) The "nuclear material" is contained in "spent
          ers, Nuclear Insurance Association of Can-                   fuel" or "waste" at any time possessed, han-
          ada or any of their successors, or would be                  dled, used, processed, stored, transported
          an insured under any such policy but for its                 or disposed of, by or on behalf of an "in-
          termination upon exhaustion of its limit of li-              sured"; or
          ability; or                                              (3) The "bodily injury" or "property damage"
     (2) Resulting from the "hazardous properties"                     arises out of the furnishing by an "insured"
          of "nuclear material" and with respect to                    of services, materials, parts or equipment in
          which (a) any person or organization is re-                  connection with the planning, construction,
          quired to maintain financial protection pur-                 maintenance, operation or use of any "nu-
          suant to the Atomic Energy Act of 1954, or                   clear facility", but if such facility is located
          any law amendatory thereof, or (b) the "in-                  within the United States of America, its terri-
          sured" is, or had this policy not been issued                tories or possessions or Canada, this ex-
          would be, entitled to indemnity from the                     clusion (3) applies only to "property dam-
          United States of America, or any agency                      age" to such "nuclear facility" and any
          thereof, under any agreement entered into                    property thereat.
          by the United States of America, or any
                                                             2. As used in this endorsement:
          agency thereof, with any person or organi-
          zation.                                               "Hazardous properties" includes radioactive, toxic
                                                                or explosive properties.
   B. Under any Medical Payments coverage, to
      expenses incurred with respect to "bodily in-             "Nuclear material" means "source material", "special
      jury" resulting from the "hazardous properties"           nuclear material" or "by-product material".
      of "nuclear material" and arising out of the op-
      eration of a "nuclear facility" by any person or
      organization.



IL 00 21 09 08                                 ISO Properties, Inc., 2007                                 Page 1 of 2
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   "Source material", "special nuclear material", and            (c) Any equipment or device used for the proc-
   "by-product material" have the meanings given                     essing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                   nuclear material" if at any time the total
   law amendatory thereof.                                           amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-                  the "insured" at the premises where such
   ponent, solid or liquid, which has been used or                   equipment or device is located consists of
   exposed to radiation in a "nuclear reactor".                      or contains more than 25 grams of pluto-
                                                                     nium or uranium 233 or any combination
   "Waste" means any waste material (a) containing                   thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or                  235;
   wastes produced by the extraction or concentra-
                                                                 (d) Any structure, basin, excavation, premises
   tion of uranium or thorium from any ore processed
                                                                     or place prepared or used for the storage or
   primarily for its "source material" content, and (b)
   resulting from the operation by any person or or-                 disposal of "waste";
   ganization of any "nuclear facility" included under        and includes the site on which any of the forego-
   the first two paragraphs of the definition of "nu-         ing is located, all operations conducted on such
   clear facility".                                           site and all premises used for such operations.
   "Nuclear facility" means:                                  "Nuclear reactor" means any apparatus designed
      (a) Any "nuclear reactor";                              or used to sustain nuclear fission in a self-
                                                              supporting chain reaction or to contain a critical
      (b) Any equipment or device designed or used            mass of fissionable material.
           for (1) separating the isotopes of uranium
           or plutonium, (2) processing or utilizing          "Property damage" includes all forms of radioactive
           "spent fuel", or (3) handling, processing or       contamination of property.
           packaging "waste";




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                                                                                                           IL 02 08 09 07

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NEW JERSEY CHANGES --- CANCELLATION
                          AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   FARM UMBRELLA LIABILITY POLICY
   LIQUOR LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. Pursuant to New Jersey law, this policy cannot be                         (b) Existence of a moral hazard, as
   cancelled or nonrenewed for any underwriting rea-                              defined in N.J.A.C. 11:1-20.2(f) as fol-
   son or guideline which is arbitrary, capricious or                             lows:
   unfairly discriminatory or without adequate prior                              (i) "The risk, danger or probability
   notice to the insured. The underwriting reasons or
                                                                                      that the insured will destroy, or
   guidelines that an insurer can use to cancel or
                                                                                      permit to be destroyed, the in-
   nonrenew this policy are maintained by the insurer                                 sured property for the purpose of
   in writing and will be furnished to the insured                                    collecting the insurance pro-
   and / or the insured’s lawful representative upon                                  ceeds. Any change in the circum-
   written request.                                                                   stances of an insured that will in-
   This provision shall not apply to any policy which                                 crease the probability of such a
   has been in effect for less than 60 days at the time                               destruction may be considered a
   notice of cancellation is mailed or delivered, unless                              ’moral hazard’"; and
   the policy is a renewal policy.                                               (ii) "The substantial risk, danger or
B. Paragraph 2. of the Cancellation Common Policy                                     probability that the character, cir-
   Condition is replaced by the following:                                            cumstances or personal habits of
   2. If this policy has been in effect for less than 60                              the insured may increase the pos-
       days, we may cancel this policy for any reason                                 sibility of loss or liability for which
       subject to the following:                                                      an insurer will be held responsi-
                                                                                      ble. Any change in the character
       a. We may cancel this policy by mailing or                                     or circumstances of an individual,
           delivering to the first Named Insured and                                  corporate, partnership or other
           any person entitled to notice under this pol-                              insured that will increase the
           icy written notice, of cancellation, at least:                             probability of such a loss or liabil-
          (1) 10 days before the effective date of                                    ity may be considered a ’moral
               cancellation if we cancel for:                                         hazard’".
              (a) Nonpayment of premium; or




IL 02 08 09 07                                  ISO Properties, Inc., 2006                                     Page 1 of 3
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         (2) 30 days before the effective date of                     (12) Failure by the insured to provide rea-
             cancellation if we cancel for any other                         sonable and necessary underwriting in-
             reason.                                                         formation to us upon written request
      b. In the notice of cancellation which is sent to                      therefore and a reasonable opportunity
          the first Named Insured, we will state the                         to respond.
          reason for cancellation.                                    (13) Agency termination, provided:
C. The following is added to the Cancellation Com-                          (a) We document that replacement cov-
   mon Policy Condition:                                                         erage at comparable rates and terms
   7. Cancellation Of Policies In Effect For 60 Days                             has been provided to the first Named
      Or More                                                                    Insured, and we have informed the
                                                                                 first Named Insured, in writing, of the
      a. If this policy has been in effect for 60 days                           right to continue coverage with us;
          or more, or is a renewal of a policy we is-                            or
          sued, we may cancel this policy only for
          one or more of the following reasons:                             (b) We have informed the first Named
                                                                                 Insured, in writing, of the right to
         (1) Nonpayment of premium;                                              continue coverage with us and the
         (2) Existence of a moral hazard, as defined                             first Named Insured has agreed, in
             in N.J.A.C. 11:1-20.2(f);                                           writing, to the cancellation or nonre-
         (3) Material misrepresentation or nondisclo-                            newal based on the termination of
             sure to us of a material fact at the time of                        the first Named Insured’s appointed
             acceptance of the risk;                                             agent.
         (4) Increased hazard or material change in                   (14) Any other reasons in accordance with
             the risk assumed which we could not                             our underwriting guidelines for cancella-
             have reasonably contemplated at the                             tion of commercial lines coverage.
             time of assumption of the risk;                         b. If we cancel this policy based on Paragraph
                                                                         7.a.(1) or (2) above, we will mail or deliver a
         (5) Substantial breaches of contractual
                                                                         written notice, to the first Named Insured
             duties, conditions or warranties that ma-
                                                                         and any person entitled to notice under this
             terially affect the nature and / or insurabil-
                                                                         policy, at least 10 days before the effective
             ity of the risk;
                                                                         date of cancellation. If we cancel this policy
         (6) Lack of cooperation from the insured on                     for any other reason listed above, we will
             loss control matters materially affecting                   mail or deliver a written notice to the first
             insurability of the risk;                                   Named Insured and any person entitled to
         (7) Fraudulent acts against us by the in-                       notice under this policy, not more than 120
             sured or its representative that materially                 days nor less than 30 days before the effec-
             affect the nature of the risk insured;                      tive date of such cancellation.
         (8) Loss of or reduction in available insur-                c. In the notice of cancellation which is sent to
             ance capacity;                                              the first Named Insured, we will state the
                                                                         reason for cancellation. For cancellation
         (9) Material increase in exposure arising out                   due to the nonpayment of premium, the no-
             of changes in statutory or case law sub-                    tice will state the effect of nonpayment by
             sequent to the issuance of the insurance                    the due date. Cancellation for nonpayment
             contract or any subsequent renewal;                         of premium will not be effective if payment
       (10) Loss of or substantial changes in appli-                     of the amount due is made before the effec-
             cable reinsurance;                                          tive date set forth in the notice.
       (11) Failure by the insured to comply with                    d. Notice will be sent to the last mailing ad-
             any Federal, State or local fire, health,                   dresses known to us, by:
             safety or building or construction regula-                 (1) Certified mail; or
             tion, law or ordinance with respect to an
             insured risk which substantially in-                       (2) First class mail, if we have obtained from
             creases any hazard insured against                             the post office a date stamped proof of
             within 60 days of written notification of a                    mailing showing names and addresses.
             violation of any such law, regulation or
             ordinance;




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      e. We need not send notice of cancellation if            2. This notice will be sent to the first Named In-
          you have:                                               sured at the last mailing address known to us
         (1) Replaced coverage elsewhere; or                      by:
         (2) Specifically requested termination.                  a. Certified mail; or
D. The following is added and supersedes any other                b. First class mail, if we have obtained from
   provision to the contrary:                                         the post office a date stamped proof of mail-
                                                                      ing showing the first Named Insured’s name
   NONRENEWAL                                                         and address.
   1. We may elect not to renew this policy for any            3. We need not mail or deliver this notice if you
      reason permitted to cancel it. If we elect not to           have:
      renew this policy, we will mail a notice of non-
      renewal, stating the reasons for nonrenewal, to             a. Replaced coverage elsewhere; or
      the first Named Insured at least 30 days but not            b. Specifically requested termination.
      more than 120 days before the expiration date
      of this policy. If this policy does not have a
      fixed expiration date, it shall be deemed to ex-
      pire annually on the anniversary of its incep-
      tion.




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                                                                                            IL 00 03 09 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           CALCULATION OF PREMIUM
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART


The following is added:
The premium shown in the Declarations was com-
puted based on rates in effect at the time the policy
was issued. On each renewal, continuation, or anni-
versary of the effective date of this policy, we will
compute the premium in accordance with our rates
and rules then in effect.




IL 00 03 09 08                              ISO Properties, Inc., 2007                         Page 1 of 1
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Important Notice to Florida Policyholders



In the event you need to contact someone about this policy, for any reason, please contact your agent.
If you have additional questions, you may contact the Zurich U.S. office at the following address and
telephone number:

                                              Customer Inquiry Center
                                              Zurich North America
                                              1400 American Lane
                                              Schaumburg, IL 60196
                                              800-382-2150


If you have been unable to contact or obtain satisfaction from your agent or company, you may contact the Florida Office
of Insurance Regulation at:

                                              Office of Insurance Regulation
                                              200 East Gaines Street
                                              Tallahassee, Florida 32399
                                              850-413-3140


ATTACH THIS NOTICE TO YOUR POLICY:
This notice is for information only and does not become a part or condition of the attached document.




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Premium And Reports Agreement –
Composite Rated Policies
    Policy No.        Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.       Producer No.          Add’l. Prem         Return Prem.




                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the:
   Auto Dealers Coverage Form
   Business Auto Coverage Form
   Motor Carrier Coverage Form

                                                         Schedule
                         Units of Exposure – Indicate your selection of one of the following with an
 ‫܆‬     Per "auto"                                              ‫܆‬       Per $100 "cost of hire"                    ‫ ܆‬Per 10,000 "miles"
 侌     Per "auto – power units only"                           ‫܆‬       Per $100 of "gross receipts"               ‫ ܆‬Per 100 "miles"
 ‫܆‬     Per $1,000 "payroll"
 ‫܆‬     "Other":
                 Estimated Unit(s) of Exposure                             Composite Rate(s)                     Estimated Premium(s)
                 LIABILITY POWER UNITS - 63
                    PHYSICAL DAMAGE - 63
                         TRAILERS - 6
                                                                            Deposit Premium:                             $372,498
                                                                           Minimum Premium:                              $298,000


The Premium Audit Condition is replaced by the following:
Premium Audit
a. We will compute all premiums for this coverage form according to our rules and the Composite Rate(s) shown in the
   Schedule of this endorsement or attached hereto. The estimated premium for this coverage form is based on the
   exposures you told us you would have when this policy began. We will compute the final premium due when we
   determine your actual exposures at the time of final audit.
b. The Deposit Premium shown in the Schedule of this endorsement is due and payable on the first day of the policy
   period. In addition, the first Named Insured will pay, within 20 days following the date of mailing or delivery of a
   statement of interim audited premium, any additional earned premium that is developed during any interim audit
   conducted by us during the policy period.
c. Within 180 days after this coverage form expires we will conduct a final audit, which may not be waived. We will
   compute the earned premium for the policy period by multiplying the Composite Rate for the indicated Unit of
   Exposure shown in the Schedule of this endorsement against your actual exposures as determined by such final
   audit. If the resulting earned premium is greater than the sum of the Deposit Premium shown in the Schedule and
   any interim adjustment premiums, the first Named Insured will pay us the excess; if less, we will return the unearned
   premium to the first Named Insured. However, the earned premium will not be less than the Minimum Premium
   shown in the Schedule. If no Minimum Premium is shown in the Schedule, the Minimum Premium will be 80% of the
   Deposit Premium.




                                                                                                                                U-CA-411-E CW (02-14)
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d. If this policy is issued for more than one year, the premium for this coverage form will be computed annually based on
   our rates or premiums in effect at the beginning of each year of the policy.
e. The first Named Insured must maintain records of the information we need for premium computation and send us
   copies at such times as we may request.
f.   Solely with respect to this endorsement, the Units of Exposure shown in the Schedule of this endorsement are defined
     as follows:
     (1) "Auto" means the actual number of covered "autos" determined by adding the number of covered "autos" at the
         beginning of the policy period to the number of covered "autos" at the end of the policy period or termination date
         and dividing this sum by two.
     (2) "Auto – power units only" means the actual number of covered "autos – power units only" determined by adding
         the number of covered "autos – power units only" at the beginning of the policy period to the number of covered
         "autos – power units only" at the end of the policy period or termination date and dividing this sum by two. This
         includes "autos" operated under their own power only.
     (3) "Cost of hire" means the total cost of hiring the "autos". If "autos" are hired without operators, this includes the
         actual wages of the operators of such "autos".
     (4) "Gross receipts" means the total amount earned by the "insured" for shipping or transporting property. This
         includes:
         (a) The total amount received from the rental of equipment with or without drivers, to any person or organization
             not engaged in the business of transporting property for hire by "auto", and
         (b) 15% of the total amount received from the rental of equipment, with or without drivers, to any person or
             organization engaged in the business of transporting property for hire by "auto".
         "Gross receipts" does not include:
             (i) Amounts paid to air, sea or land carriers operating under their own permits;
             (ii) Taxes collected as a separate item and paid directly to the government;
             (iii) Cash on delivery collections for cost of merchandise including collection fees;
             (iv) Warehouse storage charges; or
             (v) Advertising revenue.
         This definition applies whether shipment originates with the "insured" or some other carrier.
     (5) "Miles" means the total mileage driven during the policy period by all revenue producing "autos".
     (6) "Payroll" means total remuneration for all "employees" of the "insured".
     (7) "Other" means the description shown under the "Other" Unit of Exposure category shown in the Schedule of this
         endorsement.


All other terms, conditions, provisions and exclusions of this policy remain the same.




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 THIS NOTICE DOES NOT GRANT ANY COVERAGE OR CHANGE THE TERMS AND
            CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

           NOTICE REGARDING TERRORISM PREMIUM
         (FOR COMMERCIAL AUTOMOBILE INS URANCE)
                                                           SCHED ULE*


Premium attributable to risk of loss resulting from terrorism for the Commercial Automobile line of insurance:
Automobile                                                                                                          $3,663.00

*Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Terrorism Risk Insurance Act ("TRIA")                                   B. Disclosure of Terrorism Premium

The Commercial Automobile line is not part of TRIA.                       We have elected to provide notice to you of the amount
On December 22, 2005, the President of the United                         of the total policy premium attributable to the risk of
States signed the first TRIA extension act into law and,                  loss from terrorism for the Commercial Automobile line
at that time, the Commercial Auto line was removed                        of insurance.
from the program. The federal government does not
share in Commercial Automobile terrorism losses..




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 Schedule of Auto Physical Damage
 Deductibles

 The Schedule set forth below identifies the Deductible to apply to the Coverage(s) and
 Vehicle(s) described.

                                                  SCHEDULE

            Coverage                                   Vehicle Description                           Deductible
COMPREHENSIVE                                                                                   $          1,000
COLLISION                                                                                       $          1,000




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POLICY NUMBER:           BAP 0191409-00                                                        COMMERCIAL AUTO

                            ZURICH AMERICAN INSURANCE COMPANY


                                              1400 American Lane
                                         Schaumburg, Illinois 60196-1056
                                                1-800-382-2150

                      BUSINESS AUTO DECLARATIONS

ITEM ONE

PRODUCER:
MCKEE RISK MANAGEMENT INC


NAMED INSURED:          ASPHALT PAVING SYSTEMS, INC.
                        (SEE NAMED INSURED ENDORSEMENT)
MAILING ADDRESS:        500 N EGG HARBOR RD
                        HAMMONTON, NJ 08037-3201

POLICY PERIOD:          From     04-01-2016 to 04-01-2017 at 12:01 A.M. Standard Time at your
                                                                           mailing address shown above
PREVIOUS POLICY NUMBER:                  NEW

FORM OF BUSINESS:
  X CORPORATION                          LIMITED LIABILITY COMPANY                        INDIVIDUAL
     PARTNERSHIP                         OTHER


IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY,
WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.


Premium shown is payable at inception:      $       372,498.00
AUDIT PERIOD (IF APPLICABLE)        X      ANNUALLY          SEMI-              QUARTERLY             MONTHLY
                                                             ANNUALLY
ENDORSEMENTS ATTACHED TO THIS POLICY:
  IL 00 17 ---- Common Policy Conditions (IL 01 46 in Washington)
  IL 00 21 ---- Broad Form Nuclear Exclusion (not Applicable in New York) ( IL 01 98 in Washington)


                               SEE SCHEDULE OF FORMS AND ENDORSEMENTS




COUNTERSIGNED                                                 BY
                                        (Date)                              (Authorized Representative)



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ITEM TWO

Schedule Of Coverages And Covered Autos
This policy provides only those coverages where a charge is shown in the premium column below. Each of these
coverages will apply only to those "autos" shown as covered "autos". "Autos" are shown as covered "autos" for a
particular coverage by the entry of one or more of the symbols from the Covered Autos section of the Business
Auto Coverage Form next to the name of the coverage.
                                      COVERED
          COVERAGES                    AUTOS                       LIMIT                          PREMIUM
COVERED AUTOS LIABILITY                1        $1,000,000                                   $       265,854
PERSONAL INJURY                                 SEPARATELY STATED IN EACH P.I.P.
PROTECTION (or equivalent              5        ENDORSEMENT MINUS SEE SCHEDULE               $            3,754
No-fault Coverage)                              DEDUCTIBLE.
ADDED PERSONAL INJURY
                                                SEPARATELY STATED IN EACH ADDED P.I.P.
PROTECTION (or equivalent
                                                ENDORSEMENT.
Added No-fault Coverage)
                                                SEPARATELY STATED IN THE PROPERTY
PROPERTY PROTECTION                             PROTECTION INSURANCE ENDORSEMENT
INSURANCE (Michigan only)                       MINUS                DEDUCTIBLE
                                                FOR EACH ACCIDENT.
AUTO MEDICAL PAYMENTS                  2        SEE SCHEDULE       EACH INSURED              $            8,201
MEDICAL EXPENSE AND                             SEPARATELY STATED IN THE MEDICAL
INCOME LOSS BENEFITS                            EXPENSE AND INCOME LOSS BENEFITS
(Virginia only)                                 ENDORSEMENT.
UNINSURED MOTORISTS                    2        SEE ENDT                                     $        12,856
UNDERINSURED
MOTORISTS
(When not included in
                                       2        SEE ENDT                                                   INCL
Uninsured Motorists Coverage)
                                                ACTUAL CASH VALUE OR COST OF REPAIR,
                                                WHICHEVER IS LESS, MINUS SEE ENDT
PHYSICAL DAMAGE
                                                DEDUCTIBLE FOR EACH COVERED AUTO, BUT
COMPREHENSIVE                         2,8       NO DEDUCTIBLE APPLIES TO LOSS
                                                                                             $            9,080
COVERAGE
                                                CAUSED BY FIRE OR LIGHTNING.
                                                See ITEM FOUR For Hired or Borrowed Autos.
PHYSICAL DAMAGE                                 ACTUAL CASH VALUE OR COST OF REPAIR,
                                                WHICHEVER IS LESS, MINUS
SPECIFIED
                                                DEDUCTIBLE FOR EACH COVERED AUTO FOR
CAUSES OF LOSS
                                                LOSS CAUSED BY MISCHIEF OR VANDALISM.
COVERAGE
                                                See ITEM FOUR For Hired Or Borrowed Autos.
                                                ACTUAL CASH VALUE OR COST OF REPAIR,
PHYSICAL DAMAGE                                 WHICHEVER IS LESS, MINUS SEE ENDT
COLLISION COVERAGE
                                      2,8       DEDUCTIBLE, FOR EACH COVERED AUTO.
                                                                                             $        56,434
                                                See ITEM FOUR For Hired Or Borrowed Autos.
PHYSICAL DAMAGE                                 SEE SCHEDULE FOR EACH DISABLEMENT
TOWING AND LABOR
                                       3        OF A PRIVATE PASSENGER AUTO.
                                                                                             $               33
                                                                      TAX/ SURCHARGE / FEE   $      2,465.00
                                                             PREMIUM FOR ENDORSEMENTS        $        13,821
                                                               *ESTIMATED TOTAL PREMIUM      $ 372,498.00
*This policy may be subject to final audit.



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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN

                                     DESCRIPTION                                          TERRITORY
                     Year, Model, Trade Name, Body Type                             Town & State Where The
Covered             Serial Number (S) Vehicle Identification                         Covered Auto Will Be
Auto No.                       Number (VIN)                                           Principally Garaged               Original Cost New
                2005, SPECTOR DUMP TRL, 1S188314                                    HAMMONTON                            $ 45,000   ACV
 NJ1                                                                                NJ, 127

                2000, STERLING AT9500, 2FWYHWEB4YAH19523                            HAMMONTON                            $ 55,000   ACV
 NJ2                                                                                NJ, 127

                1997, FORD CONVENTIONAL H LT9513,                                   HAMMONTON                            $ 95,000   ACV
 NJ3            1FDZS96M3VVA38036                                                   NJ, 127

                2004, FORD ECONOLINE E350 SUPER DUTY,                               HAMMONTON                            $ 32,140   ACV
 NJ4            1FMNE31P64HB01843                                                   NJ, 127

                2001, FORD F350 SUPER DUTY, 1FTSW31F51ED24836                       HAMMONTON                            $ 32,775   ACV
 NJ5                                                                                NJ, 127

                                                        CLASSIFICATION                                                EXCEPT For Towing,
                                                                                                                      All Physical Damage
                                                                                                                       Loss Is Payable To
                                            Size                                                                        You And The Loss
                         Business Use                                                                                 Payee Named Below
                                            GVW,
                                           GCW Or                                                                      According To Their
            Radius s= service              Vehicle                                                                    Interests In The Auto
Covered       Of     r= retail             Seating       Age                                                           At The Time Of The
Auto No.   Operation c= commercial         Capacity     Group         Secondary Rating Classification        Code             Loss:
                                                                  Street and Road
 NJ1       50                                            12                                                  674850

                                                                  All Others
 NJ2       50                               48,000       12                                                  404790

                                                                  Street and Road
 NJ3       50                               46,000       12                                                  404850

                                                                  Street and Road
 NJ4       50                S              10,000       12                                                  014850

                                                                  Street and Road
 NJ5       50                S              10,000       12                                                  014850

                                            COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                         (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                             in the corresponding ITEM TWO column applies instead.)
                   COVERED AUTOS                          PERSONAL INJURY                                       PROPERTY PROTECTION
                      LIABILITY                             PROTECTION                    ADDED P.I.P.             (Michigan Only)
                                                      Limit Stated                                             Limit Stated
                                                     In Each P.I.P.                        Premium For           In P.P.I.
                                                      Endt. Minus                         Limit Stated In      Endt. Minus
Covered                                                Deductible                          Each Added           Deductible
Auto No.         Limit               Premium         Shown Below          Premium           P.I.P. Endt.      Shown Below        Premium

 NJ1        $   1,000,000        $         264

 NJ2        $   1,000,000        $       5,706

 NJ3        $   1,000,000        $       6,145

 NJ4        $   1,000,000        $       2,511

 NJ5        $   1,000,000        $       2,511

Total
Premium




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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN

                                     DESCRIPTION                                         TERRITORY
                     Year, Model, Trade Name, Body Type                            Town & State Where The
Covered             Serial Number (S) Vehicle Identification                        Covered Auto Will Be
Auto No.                       Number (VIN)                                          Principally Garaged               Original Cost New
                1999, FORD F450 SUPER DUTY, 1FDXF46F7XEB29829                      HAMMONTON                            $ 24,425   ACV
 NJ6                                                                               NJ, 127

                2004, FORD F750 SUPER DUTY, 3FRXF76P74V682322                      HAMMONTON                            $ 95,000   ACV
 NJ7                                                                               NJ, 127

                1995, FORD CONVENTIONAL L LTS9000,                                 HAMMONTON                            $102,950   ACV
 NJ8            1FDZY90X9SVA66629                                                  NJ, 127

                2008, STERLING LT7500, 2FZHATBS78AY47374                           HAMMONTON                            $ 81,095   ACV
 NJ9                                                                               NJ, 127

                2005, STERLING TRUCK, 2FWJA3DE55AV74398                            HAMMONTON                            $ 90,000   ACV
 NJ10                                                                              NJ, 127

                                                       CLASSIFICATION                                                EXCEPT For Towing,
                                                                                                                     All Physical Damage
                                                                                                                      Loss Is Payable To
                                            Size                                                                       You And The Loss
                         Business Use                                                                                Payee Named Below
                                            GVW,
                                           GCW Or                                                                     According To Their
            Radius s= service              Vehicle                                                                   Interests In The Auto
Covered       Of     r= retail             Seating      Age                                                           At The Time Of The
Auto No.   Operation c= commercial         Capacity    Group         Secondary Rating Classification        Code             Loss:
                                                                 Street and Road
 NJ6       50                S             15,000       12                                                  214850

                                                                 Street and Road
 NJ7       50                S             26,000       12                                                  314850

                                                                 Street and Road
 NJ8       50                              46,000       12                                                  404850

                                                                 Street and Road
 NJ9       50                C             44,410       9                                                   334850

                                                                 Street and Road
 NJ10      50                              45,000+      12                                                  404850

                                            COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                         (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                             in the corresponding ITEM TWO column applies instead.)
                   COVERED AUTOS                            PERSONAL INJURY                                    PROPERTY PROTECTION
                      LIABILITY                               PROTECTION                 ADDED P.I.P.             (Michigan Only)
                                                     Limit Stated                                             Limit Stated
                                                    In Each P.I.P.                        Premium For           In P.P.I.
                                                     Endt. Minus                         Limit Stated In      Endt. Minus
Covered                                               Deductible                          Each Added           Deductible
Auto No.         Limit               Premium        Shown Below          Premium           P.I.P. Endt.      Shown Below        Premium

 NJ6        $   1,000,000        $       2,643

 NJ7        $   1,000,000        $       2,891

 NJ8        $   1,000,000        $       6,145

 NJ9        $   1,000,000        $       3,854

 NJ10       $   1,000,000        $       6,145

Total
Premium




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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN

                                   DESCRIPTION                                                TERRITORY
                     Year, Model, Trade Name, Body Type                                 Town & State Where The
Covered             Serial Number (S) Vehicle Identification                             Covered Auto Will Be
Auto No.                       Number (VIN)                                               Principally Garaged               Original Cost New
                2003, STERLING LT9500, 2FZHAZAS03AL76472                                HAMMONTON                            $ 93,103   ACV
 NJ11                                                                                   NJ, 127

                1991, FORD CONVENTIONAL N LNT9000,                                      HAMMONTON                            $ 67,000   ACV
 NJ12           1FTYW90R5MVA27689                                                       NJ, 127

                1998, FORD CONVENTIONAL H AT9513,                                       HAMMONTON                            $ 73,007   ACV
 NJ13           1FTYY96M6WVA38127                                                       NJ, 127

                2014, FORD PPT, TBD                                                     HAMMONTON                            $ 44,000   ACV
 NJ14                                                                                   NJ, 127

                1998, TALBERT TRAILERS, 40FW04833W1017567                               HAMMONTON                            $ 53,000   ACV
 NJ15                                                                                   NJ, 127

                                                         CLASSIFICATION                                                   EXCEPT For Towing,
                                                                                                                          All Physical Damage
                                                                                                                           Loss Is Payable To
                                           Size                                                                             You And The Loss
                         Business Use                                                                                     Payee Named Below
                                           GVW,
                                          GCW Or                                                                           According To Their
            Radius s= service             Vehicle                                                                         Interests In The Auto
Covered       Of     r= retail            Seating         Age                                                              At The Time Of The
Auto No.   Operation c= commercial        Capacity       Group         Secondary Rating Classification           Code             Loss:
                                                                     Street and Road
 NJ11      50                             48,000         12                                                      404850

                                                                     Street and Road
 NJ12      50                             46,000         12                                                      404850

                                                                     Street and Road
 NJ13      50                             48,000         12                                                      504850

 NJ14                                                    3                                                       739800

                                                                     Street and Road
 NJ15      50                                            12                                                      674850

                                            COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                         (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                             in the corresponding ITEM TWO column applies instead.)
                   COVERED AUTOS                             PERSONAL INJURY                                        PROPERTY PROTECTION
                      LIABILITY                                PROTECTION                     ADDED P.I.P.             (Michigan Only)
                                                    Limit Stated                                                   Limit Stated
                                                   In Each P.I.P.                              Premium For           In P.P.I.
                                                    Endt. Minus                               Limit Stated In      Endt. Minus
Covered                                              Deductible                                Each Added           Deductible
Auto No.         Limit             Premium         Shown Below                Premium           P.I.P. Endt.      Shown Below        Premium

 NJ11       $   1,000,000      $        6,145

 NJ12       $   1,000,000      $        6,145

 NJ13       $   1,000,000      $        6,730

 NJ14       $   1,000,000      $        2,162        $         250        $     345

 NJ15       $   1,000,000      $         264

Total
Premium




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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN

                                     DESCRIPTION                                          TERRITORY
                     Year, Model, Trade Name, Body Type                             Town & State Where The
Covered             Serial Number (S) Vehicle Identification                         Covered Auto Will Be
Auto No.                       Number (VIN)                                           Principally Garaged               Original Cost New
                1972, FRUEHAUF TRAILER, UNP445504                                   HAMMONTON                            $ 20,000   ACV
 NJ16                                                                               NJ, 127

                2001, STERLING AT9500, 2FWYHWEB01AH55683                            HAMMONTON                            $ 85,825   ACV
 NJ17                                                                               NJ, 127

                1999, LANDOLL TRAILER, 1LH660H1X1A10261                             HAMMONTON                            $ 52,500   ACV
 NJ18                                                                               NJ, 127

                1997, FORD CONVENTIONAL H LT8513,                                   HAMMONTON                            $ 61,623   ACV
 NJ19           1FDZS86E3VVA05153                                                   NJ, 127

                2005, FORD F450 SUPER DUTY, 1FDXW46P35EC88918                       HAMMONTON                            $ 30,835   ACV
 NJ20                                                                               NJ, 127

                                                        CLASSIFICATION                                                EXCEPT For Towing,
                                                                                                                      All Physical Damage
                                                                                                                       Loss Is Payable To
                                            Size                                                                        You And The Loss
                         Business Use                                                                                 Payee Named Below
                                            GVW,
                                           GCW Or                                                                      According To Their
            Radius s= service              Vehicle                                                                    Interests In The Auto
Covered       Of     r= retail             Seating       Age                                                           At The Time Of The
Auto No.   Operation c= commercial         Capacity     Group         Secondary Rating Classification        Code             Loss:
                                                                  Street and Road
 NJ16      50                                            12                                                  674850

                                                                  Street and Road
 NJ17      50                               45,000+      12                                                  504850

                                                                  Street and Road
 NJ18      50                                            12                                                  674850

                                                                  Street and Road
 NJ19      50                C              43,000       12                                                  334850

                                                                  Street and Road
 NJ20      50                S              16,000       12                                                  214850

                                            COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                         (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                             in the corresponding ITEM TWO column applies instead.)
                   COVERED AUTOS                          PERSONAL INJURY                                       PROPERTY PROTECTION
                      LIABILITY                             PROTECTION                    ADDED P.I.P.             (Michigan Only)
                                                      Limit Stated                                             Limit Stated
                                                     In Each P.I.P.                        Premium For           In P.P.I.
                                                      Endt. Minus                         Limit Stated In      Endt. Minus
Covered                                                Deductible                          Each Added           Deductible
Auto No.         Limit               Premium         Shown Below          Premium           P.I.P. Endt.      Shown Below        Premium

 NJ16       $   1,000,000        $         264

 NJ17       $   1,000,000        $       6,730

 NJ18       $   1,000,000        $         264

 NJ19       $   1,000,000        $       3,854

 NJ20       $   1,000,000        $       2,643

Total
Premium




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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN

                                     DESCRIPTION                                          TERRITORY
                     Year, Model, Trade Name, Body Type                             Town & State Where The
Covered             Serial Number (S) Vehicle Identification                         Covered Auto Will Be
Auto No.                       Number (VIN)                                           Principally Garaged               Original Cost New
                1998, FORD TRUCK, 3FEXF8014XM407519                                 HAMMONTON                            $125,000   ACV
 NJ21                                                                               NJ, 127

                1999, ENTYRE TANK TRL, 1E9T43202XE007014                            HAMMONTON                            $ 42,000   ACV
 NJ22                                                                               NJ, 127

                2006, FORD F550 SUPER DUTY, 1FDAW56P36EC61828                       HAMMONTON                            $ 37,900   ACV
 NJ23                                                                               NJ, 127

                1999, FOR F SERIES, TBD                                             HAMMONTON                            $130,000   ACV
 NJ24                                                                               NJ, 127

                2008, DODGE RAM 2500 QUAD ST/SLT,                                   HAMMONTON                            $ 41,185   ACV
 NJ25           3D7KS28D58G172236                                                   NJ, 127

                                                        CLASSIFICATION                                                EXCEPT For Towing,
                                                                                                                      All Physical Damage
                                                                                                                       Loss Is Payable To
                                            Size                                                                        You And The Loss
                         Business Use                                                                                 Payee Named Below
                                            GVW,
                                           GCW Or                                                                      According To Their
            Radius s= service              Vehicle                                                                    Interests In The Auto
Covered       Of     r= retail             Seating       Age                                                           At The Time Of The
Auto No.   Operation c= commercial         Capacity     Group         Secondary Rating Classification        Code             Loss:
                                                                  Street and Road
 NJ21      50                C              43,000       12                                                  334850

                                                                  Street and Road
 NJ22      50                                            12                                                  674850

                                                                  Street and Road
 NJ23      50                S              17,950       11                                                  214850

                                                                  Street and Road
 NJ24      50                               45,000+      12                                                  404850

                                                                  Street and Road
 NJ25      50                S              10,000       9                                                   014850

                                            COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                         (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                             in the corresponding ITEM TWO column applies instead.)
                   COVERED AUTOS                             PERSONAL INJURY                                    PROPERTY PROTECTION
                      LIABILITY                                PROTECTION                 ADDED P.I.P.             (Michigan Only)
                                                      Limit Stated                                             Limit Stated
                                                     In Each P.I.P.                        Premium For           In P.P.I.
                                                      Endt. Minus                         Limit Stated In      Endt. Minus
Covered                                                Deductible                          Each Added           Deductible
Auto No.         Limit               Premium         Shown Below          Premium           P.I.P. Endt.      Shown Below        Premium

 NJ21       $   1,000,000        $       3,854

 NJ22       $   1,000,000        $         264

 NJ23       $   1,000,000        $       2,643

 NJ24       $   1,000,000        $       6,145

 NJ25       $   1,000,000        $       2,511

Total
Premium




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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN

                                   DESCRIPTION                                                TERRITORY
                     Year, Model, Trade Name, Body Type                                 Town & State Where The
Covered             Serial Number (S) Vehicle Identification                             Covered Auto Will Be
Auto No.                       Number (VIN)                                               Principally Garaged               Original Cost New
                2008, E D ETNYRE & CO, 1E92995208E111126                                HAMMONTON                            $ 60,000   ACV
 NJ26                                                                                   NJ, 127

                2007, STERLING LT9500, 2FZMAZCV37AY74578                                HAMMONTON                            $102,503   ACV
 NJ27                                                                                   NJ, 127

                2008, HUMMER H3 SUV, 5GTEN13E988141756                                  HAMMONTON                            $ 32,300   ACV
 NJ28                                                                                   NJ, 127

                2014, AUDI S5, WAUC6AFH1EN901180                                        HAMMONTON                            $ 65,500   ACV
 NJ29                                                                                   NJ, 127

                2013, FORD EDGE, 2FM0K4KC6DBC64883                                      HAMMONTON                            $ 44,220   ACV
 NJ30                                                                                   NJ, 127

                                                         CLASSIFICATION                                                   EXCEPT For Towing,
                                                                                                                          All Physical Damage
                                                                                                                           Loss Is Payable To
                                           Size                                                                             You And The Loss
                         Business Use                                                                                     Payee Named Below
                                           GVW,
                                          GCW Or                                                                           According To Their
            Radius s= service             Vehicle                                                                         Interests In The Auto
Covered       Of     r= retail            Seating         Age                                                              At The Time Of The
Auto No.   Operation c= commercial        Capacity       Group         Secondary Rating Classification           Code             Loss:
                                                                     Street and Road
 NJ26      50                                            9                                                       674850

                                                                     Street and Road
 NJ27      50                             48,000         10                                                      404850

 NJ28                                                    9                                                       739800

 NJ29                                                    3                                                       739800

 NJ30                                                    4                                                       739800

                                            COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                         (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                             in the corresponding ITEM TWO column applies instead.)
                   COVERED AUTOS                             PERSONAL INJURY                                        PROPERTY PROTECTION
                      LIABILITY                                PROTECTION                     ADDED P.I.P.             (Michigan Only)
                                                    Limit Stated                                                   Limit Stated
                                                   In Each P.I.P.                              Premium For           In P.P.I.
                                                    Endt. Minus                               Limit Stated In      Endt. Minus
Covered                                              Deductible                                Each Added           Deductible
Auto No.         Limit             Premium         Shown Below                Premium           P.I.P. Endt.      Shown Below        Premium

 NJ26       $   1,000,000      $         264

 NJ27       $   1,000,000      $        6,145

 NJ28       $   1,000,000      $        2,162        $         250        $     345

 NJ29       $   1,000,000      $        2,162        $         250        $     345

 NJ30       $   1,000,000      $        2,162        $         250        $     345

Total
Premium




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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN

                                     DESCRIPTION                                         TERRITORY
                     Year, Model, Trade Name, Body Type                            Town & State Where The
Covered             Serial Number (S) Vehicle Identification                        Covered Auto Will Be
Auto No.                       Number (VIN)                                          Principally Garaged               Original Cost New
                2010, FORD F150, 1FTFX1EVXAFB13176                                 HAMMONTON                            $ 38,020   ACV
 NJ31                                                                              NJ, 127

                2011, MACK 600 CXU, 1M1AW15Y4BM015748                              HAMMONTON                            $154,176   ACV
 NJ32                                                                              NJ, 127

                2007, MACK 700 CV700, 1M1AG10YX7M061984                            HAMMONTON                            $131,997   ACV
 NJ33                                                                              NJ, 127

                2008, DODGE RAM 4500 ST/SLT/LARAMIE,                               HAMMONTON                            $ 48,725   ACV
 NJ34           3D6WD68A48G227126                                                  NJ, 127

                2009, DODGE RAM 2500 QUAD ST/SLT,                                  HAMMONTON                            $ 46,669   ACV
 NJ35           3D7KS28T39G563247                                                  NJ, 127

                                                       CLASSIFICATION                                                EXCEPT For Towing,
                                                                                                                     All Physical Damage
                                                                                                                      Loss Is Payable To
                                            Size                                                                       You And The Loss
                         Business Use                                                                                Payee Named Below
                                            GVW,
                                           GCW Or                                                                     According To Their
            Radius s= service              Vehicle                                                                   Interests In The Auto
Covered       Of     r= retail             Seating      Age                                                           At The Time Of The
Auto No.   Operation c= commercial         Capacity    Group         Secondary Rating Classification        Code             Loss:
                                                                 Street and Road
 NJ31      50                S             10,000       7                                                   014850

                                                                 Street and Road
 NJ32      50                              45,000+      6                                                   504850

                                                                 Street and Road
 NJ33      50                              45,000+      10                                                  504850

                                                                 Street and Road
 NJ34      50                S             16,000       9                                                   214850

                                                                 Street and Road
 NJ35      50                S             10,000       8                                                   014850

                                            COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                         (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                             in the corresponding ITEM TWO column applies instead.)
                   COVERED AUTOS                            PERSONAL INJURY                                    PROPERTY PROTECTION
                      LIABILITY                               PROTECTION                 ADDED P.I.P.             (Michigan Only)
                                                     Limit Stated                                             Limit Stated
                                                    In Each P.I.P.                        Premium For           In P.P.I.
                                                     Endt. Minus                         Limit Stated In      Endt. Minus
Covered                                               Deductible                          Each Added           Deductible
Auto No.         Limit               Premium        Shown Below          Premium           P.I.P. Endt.      Shown Below        Premium

 NJ31       $   1,000,000        $       2,511

 NJ32       $   1,000,000        $       6,730

 NJ33       $   1,000,000        $       6,730

 NJ34       $   1,000,000        $       2,643

 NJ35       $   1,000,000        $       2,511

Total
Premium




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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN

                                     DESCRIPTION                                               TERRITORY
                     Year, Model, Trade Name, Body Type                                  Town & State Where The
Covered             Serial Number (S) Vehicle Identification                              Covered Auto Will Be
Auto No.                       Number (VIN)                                                Principally Garaged               Original Cost New
                2013, LAND ROVER TRUCK, SALGSEF2DA121915                                 HAMMONTON                            $118,420   ACV
 NJ36                                                                                    NJ, 127

                2012, FORD TRUCK, TBD                                                    HAMMONTON                            $ 49,000   ACV
 NJ37                                                                                    NJ, 127

                2012, MACK 600 CXU, 1M1AW07YXCM024379                                    HAMMONTON                            $152,720   ACV
 NJ38                                                                                    NJ, 127

                2009, STERLING TRUCK, 2FWJA3CV29A69                                      HAMMONTON                            $104,000   ACV
 NJ39                                                                                    NJ, 127

                2013, MACK 600 TRUCK, 1M1AW07YD4M024380                                  HAMMONTON                            $104,200   ACV
 NJ40                                                                                    NJ, 127

                                                          CLASSIFICATION                                                   EXCEPT For Towing,
                                                                                                                           All Physical Damage
                                                                                                                            Loss Is Payable To
                                            Size                                                                             You And The Loss
                         Business Use                                                                                      Payee Named Below
                                            GVW,
                                           GCW Or                                                                           According To Their
            Radius s= service              Vehicle                                                                         Interests In The Auto
Covered       Of     r= retail             Seating         Age                                                              At The Time Of The
Auto No.   Operation c= commercial         Capacity       Group         Secondary Rating Classification           Code             Loss:

 NJ36                                                     4                                                       739800
                                                                      Street and Road
 NJ37      50                S             17,950         5                                                       214850

                                                                      Street and Road
 NJ38      50                              45,000+        5                                                       504850

                                                                      Street and Road
 NJ39      50                              45,000+        8                                                       504850

                                                                      Street and Road
 NJ40      50                              45,000+        4                                                       504850

                                            COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                         (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                             in the corresponding ITEM TWO column applies instead.)
                   COVERED AUTOS                              PERSONAL INJURY                                        PROPERTY PROTECTION
                      LIABILITY                                 PROTECTION                     ADDED P.I.P.             (Michigan Only)
                                                     Limit Stated                                                   Limit Stated
                                                    In Each P.I.P.                              Premium For           In P.P.I.
                                                     Endt. Minus                               Limit Stated In      Endt. Minus
Covered                                               Deductible                                Each Added           Deductible
Auto No.         Limit               Premium        Shown Below                Premium           P.I.P. Endt.      Shown Below        Premium

 NJ36       $   1,000,000        $       2,162        $         250        $     345

 NJ37       $   1,000,000        $       2,643

 NJ38       $   1,000,000        $       6,730

 NJ39       $   1,000,000        $       6,730

 NJ40       $   1,000,000        $       6,730

Total
Premium




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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN

                                     DESCRIPTION                                                 TERRITORY
                     Year, Model, Trade Name, Body Type                                    Town & State Where The
Covered             Serial Number (S) Vehicle Identification                                Covered Auto Will Be
Auto No.                       Number (VIN)                                                  Principally Garaged               Original Cost New
                2010, DODGE TRUCK, 1D7RU1GT1A5216689                                       ZEPHYRHILLS                          $ 44,700   ACV
 FL41                                                                                      FL, 154

                2011, DODGE TRUCK, 1D7RU1GT1A5216688                                       ZEPHYRHILLS                          $ 44,700   ACV
 FL42                                                                                      FL, 154

                2009, MERCURY MILAN PREMIER,                                               HAMMONTON                            $ 24,435   ACV
 NJ43           3MEHM08169R631979                                                          NJ, 127

                2011, FORD F350 SUPER DUTY, 1FDRF3G67BEA16375                              HAMMONTON                            $ 28,400   ACV
 NJ44                                                                                      NJ, 127

                2011, JEEP WRANGLER, 1J4AA5D16BL552232                                     HAMMONTON                            $ 30,300   ACV
 NJ45                                                                                      NJ, 127

                                                            CLASSIFICATION                                                   EXCEPT For Towing,
                                                                                                                             All Physical Damage
                                                                                                                              Loss Is Payable To
                                            Size                                                                               You And The Loss
                         Business Use                                                                                        Payee Named Below
                                            GVW,
                                           GCW Or                                                                             According To Their
            Radius s= service              Vehicle                                                                           Interests In The Auto
Covered       Of     r= retail             Seating           Age                                                              At The Time Of The
Auto No.   Operation c= commercial         Capacity         Group         Secondary Rating Classification           Code             Loss:
                                                                        Street and Road
 FL41      50                S             10,000           7                                                       014850

                                                                        Street and Road
 FL42      50                S             10,000           6                                                       014850

 NJ43                                                       8                                                       739800

                                                                        Street and Road
 NJ44      50                S                 9,800        6                                                       014850

 NJ45                                                       6                                                       739800

                                            COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                         (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                             in the corresponding ITEM TWO column applies instead.)
                   COVERED AUTOS                                PERSONAL INJURY                                        PROPERTY PROTECTION
                      LIABILITY                                   PROTECTION                     ADDED P.I.P.             (Michigan Only)
                                                        Limit Stated                                                  Limit Stated
                                                       In Each P.I.P.                             Premium For           In P.P.I.
                                                        Endt. Minus                              Limit Stated In      Endt. Minus
Covered                                                  Deductible                               Each Added           Deductible
Auto No.         Limit               Premium           Shown Below               Premium           P.I.P. Endt.      Shown Below        Premium

 FL41       $   1,000,000        $       3,307                               $      59

 FL42       $   1,000,000        $       3,307                               $      59

 NJ43       $   1,000,000        $       2,162          $         250        $     345

 NJ44       $   1,000,000        $       2,511

 NJ45       $   1,000,000        $       2,162          $         250        $     345

Total
Premium




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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN

                                     DESCRIPTION                                               TERRITORY
                     Year, Model, Trade Name, Body Type                                  Town & State Where The
Covered             Serial Number (S) Vehicle Identification                              Covered Auto Will Be
Auto No.                       Number (VIN)                                                Principally Garaged               Original Cost New
                2012, MACK 800 GU, 1M2AX18C8CM015665                                     HAMMONTON                            $154,509   ACV
 NJ46                                                                                    NJ, 127

                2012, MERCEDES BENZ E350, WDDHF8JB1CA64331                               HAMMONTON                            $ 62,335   ACV
 NJ47                                                                                    NJ, 127

                1989, MACK TRUCK, TBD                                                    HAMMONTON                            $110,500   ACV
 NJ48                                                                                    NJ, 127

                2014, FORD TRUCK, 1FTF1EF4DKF75546                                       HAMMONTON                            $ 49,500   ACV
 NJ49                                                                                    NJ, 127

                2007, STERLING LT9500, 2FZMAZCG07AY57576                                 HAMMONTON                            $102,000   ACV
 NJ50                                                                                    NJ, 127

                                                          CLASSIFICATION                                                   EXCEPT For Towing,
                                                                                                                           All Physical Damage
                                                                                                                            Loss Is Payable To
                                            Size                                                                             You And The Loss
                         Business Use                                                                                      Payee Named Below
                                            GVW,
                                           GCW Or                                                                           According To Their
            Radius s= service              Vehicle                                                                         Interests In The Auto
Covered       Of     r= retail             Seating         Age                                                              At The Time Of The
Auto No.   Operation c= commercial         Capacity       Group         Secondary Rating Classification           Code             Loss:
                                                                      Street and Road
 NJ46      50                              50,000         5                                                       404850

 NJ47                                                     5                                                       739800

                                                                      All Others
 NJ48      50                              48,000         12                                                      404790

                                                                      Street and Road
 NJ49      50                S             16,000         3                                                       214850

                                                                      All Others
 NJ50      50                              48,000         10                                                      404790

                                            COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                         (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                             in the corresponding ITEM TWO column applies instead.)
                   COVERED AUTOS                              PERSONAL INJURY                                        PROPERTY PROTECTION
                      LIABILITY                                 PROTECTION                     ADDED P.I.P.             (Michigan Only)
                                                     Limit Stated                                                   Limit Stated
                                                    In Each P.I.P.                              Premium For           In P.P.I.
                                                     Endt. Minus                               Limit Stated In      Endt. Minus
Covered                                               Deductible                                Each Added           Deductible
Auto No.         Limit               Premium        Shown Below                Premium           P.I.P. Endt.      Shown Below        Premium

 NJ46       $   1,000,000        $       6,145

 NJ47       $   1,000,000        $       2,162        $         250        $     345

 NJ48       $   1,000,000        $       5,706

 NJ49       $   1,000,000        $       2,643

 NJ50       $   1,000,000        $       5,706

Total
Premium




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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN

                                     DESCRIPTION                                               TERRITORY
                     Year, Model, Trade Name, Body Type                                  Town & State Where The
Covered             Serial Number (S) Vehicle Identification                              Covered Auto Will Be
Auto No.                       Number (VIN)                                                Principally Garaged               Original Cost New
                2012, FORD F150, 1FTFX1EF4CFB07496                                       HAMMONTON                            $ 38,285   ACV
 NJ51                                                                                    NJ, 127

                2013, JEEP WRANGLER, TBD                                                 HAMMONTON                            $ 27,500   ACV
 NJ52                                                                                    NJ, 127

                2013, MACK 600 CXU, 1M1AW07Y3DM030459                                    HAMMONTON                            $167,207   ACV
 NJ53                                                                                    NJ, 127

                2013, MACK 600 CXU, 1M1AW07Y4DM030941                                    HAMMONTON                            $167,207   ACV
 NJ54                                                                                    NJ, 127

                2013, MACK 600 CXU, 1M1AW07Y6DM030942                                    HAMMONTON                            $167,207   ACV
 NJ55                                                                                    NJ, 127

                                                          CLASSIFICATION                                                   EXCEPT For Towing,
                                                                                                                           All Physical Damage
                                                                                                                            Loss Is Payable To
                                            Size                                                                             You And The Loss
                         Business Use                                                                                      Payee Named Below
                                            GVW,
                                           GCW Or                                                                           According To Their
            Radius s= service              Vehicle                                                                         Interests In The Auto
Covered       Of     r= retail             Seating         Age                                                              At The Time Of The
Auto No.   Operation c= commercial         Capacity       Group         Secondary Rating Classification           Code             Loss:
                                                                      Street and Road
 NJ51      50                S             10,000         5                                                       014850

 NJ52                                                     4                                                       739800

                                                                      Street and Road
 NJ53      50                              45,000+        4                                                       504850

                                                                      Street and Road
 NJ54      50                              45,000+        4                                                       504850

                                                                      Street and Road
 NJ55      50                              45,000+        4                                                       504850

                                            COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                         (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                             in the corresponding ITEM TWO column applies instead.)
                   COVERED AUTOS                              PERSONAL INJURY                                        PROPERTY PROTECTION
                      LIABILITY                                 PROTECTION                     ADDED P.I.P.             (Michigan Only)
                                                     Limit Stated                                                   Limit Stated
                                                    In Each P.I.P.                              Premium For           In P.P.I.
                                                     Endt. Minus                               Limit Stated In      Endt. Minus
Covered                                               Deductible                                Each Added           Deductible
Auto No.         Limit               Premium        Shown Below                Premium           P.I.P. Endt.      Shown Below        Premium

 NJ51       $   1,000,000        $       2,511

 NJ52       $   1,000,000        $       2,162        $         250        $     345

 NJ53       $   1,000,000        $       6,730

 NJ54       $   1,000,000        $       6,730

 NJ55       $   1,000,000        $       6,730

Total
Premium




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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN

                                     DESCRIPTION                                         TERRITORY
                     Year, Model, Trade Name, Body Type                            Town & State Where The
Covered             Serial Number (S) Vehicle Identification                        Covered Auto Will Be
Auto No.                       Number (VIN)                                          Principally Garaged               Original Cost New
                2013, FORD TRUCK, TBD                                              HAMMONTON                            $ 49,000   ACV
 NJ56                                                                              NJ, 127

                2012, DODGE TRUCK, TBD                                             HAMMONTON                            $ 32,000   ACV
 NJ57                                                                              NJ, 127

                2004, DODGE TRUCK, 1C6RR7JMXES406735                               HAMMONTON                            $ 50,195   ACV
 NJ58                                                                              NJ, 127

                2004, DODGE RAM 3500 QUAD ST/SLT,                                  HAMMONTON                            $ 30,685   ACV
 NJ59           3D7LA38C04G248914                                                  NJ, 127

                2013, MACK 600 CXU, 1M1AW07Y1DM034610                              HAMMONTON                            $167,207   ACV
 NJ60                                                                              NJ, 127

                                                       CLASSIFICATION                                                EXCEPT For Towing,
                                                                                                                     All Physical Damage
                                                                                                                      Loss Is Payable To
                                            Size                                                                       You And The Loss
                         Business Use                                                                                Payee Named Below
                                            GVW,
                                           GCW Or                                                                     According To Their
            Radius s= service              Vehicle                                                                   Interests In The Auto
Covered       Of     r= retail             Seating      Age                                                           At The Time Of The
Auto No.   Operation c= commercial         Capacity    Group         Secondary Rating Classification        Code             Loss:
                                                                 Street and Road
 NJ56      50                S             16,000       4                                                   214850

                                                                 Street and Road
 NJ57      50                S             10,000       5                                                   014850

                                                                 Street and Road
 NJ58      50                S             10,000       12                                                  014850

                                                                 All Others
 NJ59      50                S             10,000       12                                                  014990

                                                                 Street and Road
 NJ60      50                              45,000+      4                                                   504850

                                            COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                         (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                             in the corresponding ITEM TWO column applies instead.)
                   COVERED AUTOS                            PERSONAL INJURY                                    PROPERTY PROTECTION
                      LIABILITY                               PROTECTION                 ADDED P.I.P.             (Michigan Only)
                                                     Limit Stated                                             Limit Stated
                                                    In Each P.I.P.                        Premium For           In P.P.I.
                                                     Endt. Minus                         Limit Stated In      Endt. Minus
Covered                                               Deductible                          Each Added           Deductible
Auto No.         Limit               Premium        Shown Below          Premium           P.I.P. Endt.      Shown Below        Premium

 NJ56       $   1,000,000        $       2,643

 NJ57       $   1,000,000        $       2,511

 NJ58       $   1,000,000        $       2,511

 NJ59       $   1,000,000        $       2,643

 NJ60       $   1,000,000        $       6,730

Total
Premium




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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN

                                     DESCRIPTION                                               TERRITORY
                     Year, Model, Trade Name, Body Type                                  Town & State Where The
Covered             Serial Number (S) Vehicle Identification                              Covered Auto Will Be
Auto No.                       Number (VIN)                                                Principally Garaged               Original Cost New
                2015, AUDI S5 QUATTRO PREMIUM PLUS,                                      HAMMONTON                            $ 58,000   ACV
 NJ61           WAUCGAFR3FA011854                                                        NJ, 127

                2015, CATERPILLAR TRUCK, TBD                                             HAMMONTON                            $158,126   ACV
 NJ62                                                                                    NJ, 127

                2015, DODGE TRUCK, 1CRR7GM5FS                                            ZEPHYRHILLS                          $ 50,195   ACV
 FL63                                                                                    FL, 154

                2015, CATERPILLAR TRUCK, TBD                                             HAMMONTON                            $166,000   ACV
 NJ64                                                                                    NJ, 127

                2014, FORD TRUCK, TBD                                                    HAMMONTON                            $ 45,000   ACV
 NJ65                                                                                    NJ, 127

                                                          CLASSIFICATION                                                   EXCEPT For Towing,
                                                                                                                           All Physical Damage
                                                                                                                            Loss Is Payable To
                                            Size                                                                             You And The Loss
                         Business Use                                                                                      Payee Named Below
                                            GVW,
                                           GCW Or                                                                           According To Their
            Radius s= service              Vehicle                                                                         Interests In The Auto
Covered       Of     r= retail             Seating         Age                                                              At The Time Of The
Auto No.   Operation c= commercial         Capacity       Group         Secondary Rating Classification           Code             Loss:

 NJ61                                                     2                                                       739800
                                                                      Street and Road
 NJ62      50                              45,000+        2                                                       504850

                                                                      Street and Road
 FL63      50                S             10,000         2                                                       014850

                                                                      Street and Road
 NJ64      50                              45,000+        2                                                       504850

                                                                      Street and Road
 NJ65      50                S             16,000         3                                                       214850

                                            COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                         (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                             in the corresponding ITEM TWO column applies instead.)
                   COVERED AUTOS                              PERSONAL INJURY                                        PROPERTY PROTECTION
                      LIABILITY                                 PROTECTION                     ADDED P.I.P.             (Michigan Only)
                                                     Limit Stated                                                   Limit Stated
                                                    In Each P.I.P.                              Premium For           In P.P.I.
                                                     Endt. Minus                               Limit Stated In      Endt. Minus
Covered                                               Deductible                                Each Added           Deductible
Auto No.         Limit               Premium        Shown Below                Premium           P.I.P. Endt.      Shown Below        Premium

 NJ61       $   1,000,000        $       2,162        $         250        $     345

 NJ62       $   1,000,000        $       6,730

 FL63       $   1,000,000        $       3,307                             $      59

 NJ64       $   1,000,000        $       6,730

 NJ65       $   1,000,000        $       2,643

Total
Premium




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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN

                                     DESCRIPTION                                           TERRITORY
                     Year, Model, Trade Name, Body Type                              Town & State Where The
Covered             Serial Number (S) Vehicle Identification                          Covered Auto Will Be
Auto No.                       Number (VIN)                                            Principally Garaged               Original Cost New
                2015, FORD TRUCK, TBD                                                HAMMONTON                            $ 45,000   ACV
 NJ66                                                                                NJ, 127

                2012, FORD ESCAPE XLT, 1FMCU0D78CKC76293                             ZEPHYRHILLS                          $ 26,070   ACV
 FL67                                                                                FL, 154

                2008, STERLING TRUCK, TBD                                            HAMMONTON                            $104,200   ACV
 NJ68                                                                                NJ, 127

                2004, STERLING TRUCK, 2FWJA3C29A64                                   HAMMONTON                            $ 89,000   ACV
 NJ69                                                                                NJ, 127




                                                       CLASSIFICATION                                                  EXCEPT For Towing,
                                                                                                                       All Physical Damage
                                                                                                                        Loss Is Payable To
                                            Size                                                                         You And The Loss
                         Business Use                                                                                  Payee Named Below
                                            GVW,
                                           GCW Or                                                                       According To Their
            Radius s= service              Vehicle                                                                     Interests In The Auto
Covered       Of     r= retail             Seating      Age                                                             At The Time Of The
Auto No.   Operation c= commercial         Capacity    Group         Secondary Rating Classification          Code             Loss:
                                                                 Street and Road
 NJ66      50                S             16,000       2                                                     214850

 FL67                                                   5                                                     739800

                                                                 All Others
 NJ68      50                              48,000       9                                                     404790

                                                                 Street and Road
 NJ69      50                              45,000+      12                                                    504850



                                            COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                         (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                             in the corresponding ITEM TWO column applies instead.)
                   COVERED AUTOS                            PERSONAL INJURY                                      PROPERTY PROTECTION
                      LIABILITY                               PROTECTION                   ADDED P.I.P.             (Michigan Only)
                                                     Limit Stated                                               Limit Stated
                                                    In Each P.I.P.                          Premium For           In P.P.I.
                                                     Endt. Minus                           Limit Stated In      Endt. Minus
Covered                                               Deductible                            Each Added           Deductible
Auto No.         Limit               Premium        Shown Below            Premium           P.I.P. Endt.      Shown Below        Premium

 NJ66       $   1,000,000        $       2,643

 FL67       $   1,000,000        $       2,470                         $      87

 NJ68       $   1,000,000        $       5,706

 NJ69       $   1,000,000        $       6,730




Total
Premium                          $     265,281                         $       3,714




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  ITEM THREE
  SCHEDULE OF COVERED AUTOS YOU OWN (Continued)
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                     (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                          in the corresponding ITEM TWO column applies instead.)
                                        MEDICAL EXPENSE AND
              AUTO MEDICAL
                                       INCOME LOSS BENEFITS                                                          UNDERINSURED
                 PAYMENTS
                                             (Virginia Only)                   UNINSURED MOTORISTS                     MOTORISTS
                                      Limit Stated
                                     In The Medical
                                      Expense and
                                      Income Loss
            Limit                        Benefits
Covered     Each                     Endorsement
Auto No.   Insured   Premium        For Each Person        Premium               Limit                Premium             Premium
 NJ1       $5,000    $          16

 NJ2       $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ3       $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ4       $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ5       $5,000    $          164                                     $           1,000,000        $      181              INCL
Total
Premium
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                       (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                           in the corresponding ITEM TWO column applies instead.)
                                                SPECIFIED CAUSES
                COMPREHENSIVE                          OF LOSS                     COLLISION                   TOWING & LABOR
               Limit                             Limit                          Limit
             Stated In                         Stated In                      Stated In
            ITEM TWO                         ITEM TWO                        ITEM TWO
              Minus                             Minus                          Minus
            Deductible                       Deductible                      Deductible
Covered       Shown                             Shown                          Shown                       Limit Per
Auto No.      Below          Premium            Below           Premium        Below      Premium       Disablement         Premium
 NJ1          $ 1,000       $         55                                     $ 1,000    $         247

 NJ2          $ 1,000       $         67                                     $ 1,000    $         373

 NJ3          $ 1,000       $         91                                     $ 1,000    $         643

 NJ4          $ 1,000       $         63                                     $ 1,000    $         288

 NJ5          $ 1,000       $         63                                     $ 1,000    $         288
Total
Premium




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  ITEM THREE
  SCHEDULE OF COVERED AUTOS YOU OWN (Continued)
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                     (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                          in the corresponding ITEM TWO column applies instead.)
                                        MEDICAL EXPENSE AND
              AUTO MEDICAL
                                       INCOME LOSS BENEFITS                                                          UNDERINSURED
                 PAYMENTS
                                             (Virginia Only)                   UNINSURED MOTORISTS                     MOTORISTS
                                      Limit Stated
                                     In The Medical
                                      Expense and
                                      Income Loss
            Limit                        Benefits
Covered     Each                     Endorsement
Auto No.   Insured   Premium        For Each Person        Premium               Limit                Premium             Premium
 NJ6       $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ7       $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ8       $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ9       $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ10      $5,000    $          164                                     $           1,000,000        $      181              INCL
Total
Premium
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                       (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                           in the corresponding ITEM TWO column applies instead.)
                                                SPECIFIED CAUSES
                COMPREHENSIVE                          OF LOSS                     COLLISION                   TOWING & LABOR
               Limit                             Limit                          Limit
             Stated In                         Stated In                      Stated In
            ITEM TWO                         ITEM TWO                        ITEM TWO
              Minus                             Minus                          Minus
            Deductible                       Deductible                      Deductible
Covered       Shown                             Shown                          Shown                       Limit Per
Auto No.      Below          Premium            Below           Premium        Below      Premium       Disablement         Premium
 NJ6          $ 1,000       $         38                                     $ 1,000    $         163

 NJ7          $ 1,000       $         63                                     $ 1,000    $         450

 NJ8          $ 1,000       $         95                                     $ 1,000    $         554

 NJ9          $ 1,000       $         106                                    $ 1,000    $         736

 NJ10         $ 1,000       $         88                                     $ 1,000    $         614
Total
Premium




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  ITEM THREE
  SCHEDULE OF COVERED AUTOS YOU OWN (Continued)
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                     (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                          in the corresponding ITEM TWO column applies instead.)
                                        MEDICAL EXPENSE AND
              AUTO MEDICAL
                                       INCOME LOSS BENEFITS                                                          UNDERINSURED
                 PAYMENTS
                                             (Virginia Only)                   UNINSURED MOTORISTS                     MOTORISTS
                                      Limit Stated
                                     In The Medical
                                      Expense and
                                      Income Loss
            Limit                        Benefits
Covered     Each                     Endorsement
Auto No.   Insured   Premium        For Each Person        Premium               Limit                Premium             Premium
 NJ11      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ12      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ13      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ14                                                                   $           1,000,000        $      240              INCL

 NJ15      $5,000    $          16
Total
Premium
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                       (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                           in the corresponding ITEM TWO column applies instead.)
                                                SPECIFIED CAUSES
                COMPREHENSIVE                          OF LOSS                     COLLISION                   TOWING & LABOR
               Limit                             Limit                          Limit
             Stated In                         Stated In                      Stated In
            ITEM TWO                         ITEM TWO                        ITEM TWO
              Minus                             Minus                          Minus
            Deductible                       Deductible                      Deductible
Covered       Shown                             Shown                          Shown                       Limit Per
Auto No.      Below          Premium            Below           Premium        Below      Premium       Disablement         Premium
 NJ11         $ 1,000       $         91                                     $ 1,000    $         504

 NJ12         $ 1,000       $         88                                     $ 1,000    $         491

 NJ13         $ 1,000       $         83                                     $ 1,000    $         583

 NJ14         $ 1,000       $         209                                    $ 1,000    $         902      $ 50        $              3

 NJ15         $ 1,000       $         55                                     $ 1,000    $         247
Total
Premium




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  ITEM THREE
  SCHEDULE OF COVERED AUTOS YOU OWN (Continued)
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                     (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                          in the corresponding ITEM TWO column applies instead.)
                                        MEDICAL EXPENSE AND
              AUTO MEDICAL
                                       INCOME LOSS BENEFITS                                                          UNDERINSURED
                 PAYMENTS
                                             (Virginia Only)                   UNINSURED MOTORISTS                     MOTORISTS
                                      Limit Stated
                                     In The Medical
                                      Expense and
                                      Income Loss
            Limit                        Benefits
Covered     Each                     Endorsement
Auto No.   Insured   Premium        For Each Person        Premium               Limit                Premium             Premium
 NJ16      $5,000    $          16

 NJ17      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ18      $5,000    $          16

 NJ19      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ20      $5,000    $          164                                     $           1,000,000        $      181              INCL
Total
Premium
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                       (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                           in the corresponding ITEM TWO column applies instead.)
                                                SPECIFIED CAUSES
                COMPREHENSIVE                          OF LOSS                     COLLISION                   TOWING & LABOR
               Limit                             Limit                          Limit
             Stated In                         Stated In                      Stated In
            ITEM TWO                         ITEM TWO                        ITEM TWO
              Minus                             Minus                          Minus
            Deductible                       Deductible                      Deductible
Covered       Shown                             Shown                          Shown                       Limit Per
Auto No.      Below          Premium            Below           Premium        Below      Premium       Disablement         Premium
 NJ16         $ 1,000       $         34                                     $ 1,000    $         121

 NJ17         $ 1,000       $         83                                     $ 1,000    $         583

 NJ18         $ 1,000       $         55                                     $ 1,000    $         247

 NJ19         $ 1,000       $         63                                     $ 1,000    $         282

 NJ20         $ 1,000       $         47                                     $ 1,000    $         212
Total
Premium




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  ITEM THREE
  SCHEDULE OF COVERED AUTOS YOU OWN (Continued)
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                     (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                          in the corresponding ITEM TWO column applies instead.)
                                        MEDICAL EXPENSE AND
              AUTO MEDICAL
                                       INCOME LOSS BENEFITS                                                          UNDERINSURED
                 PAYMENTS
                                             (Virginia Only)                   UNINSURED MOTORISTS                     MOTORISTS
                                      Limit Stated
                                     In The Medical
                                      Expense and
                                      Income Loss
            Limit                        Benefits
Covered     Each                     Endorsement
Auto No.   Insured   Premium        For Each Person        Premium               Limit                Premium             Premium
 NJ21      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ22      $5,000    $          16

 NJ23      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ24      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ25      $5,000    $          164                                     $           1,000,000        $      181              INCL
Total
Premium
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                       (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                           in the corresponding ITEM TWO column applies instead.)
                                                SPECIFIED CAUSES
                COMPREHENSIVE                          OF LOSS                     COLLISION                   TOWING & LABOR
               Limit                             Limit                          Limit
             Stated In                         Stated In                      Stated In
            ITEM TWO                         ITEM TWO                        ITEM TWO
              Minus                             Minus                          Minus
            Deductible                       Deductible                      Deductible
Covered       Shown                             Shown                          Shown                       Limit Per
Auto No.      Below          Premium            Below           Premium        Below      Premium       Disablement         Premium
 NJ21         $ 1,000       $         82                                     $ 1,000    $         529

 NJ22         $ 1,000       $         55                                     $ 1,000    $         247

 NJ23         $ 1,000       $         61                                     $ 1,000    $         266

 NJ24         $ 1,000       $         105                                    $ 1,000    $         687

 NJ25         $ 1,000       $         114                                    $ 1,000    $         626
Total
Premium




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  ITEM THREE
  SCHEDULE OF COVERED AUTOS YOU OWN (Continued)
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                     (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                          in the corresponding ITEM TWO column applies instead.)
                                        MEDICAL EXPENSE AND
              AUTO MEDICAL
                                       INCOME LOSS BENEFITS                                                          UNDERINSURED
                 PAYMENTS
                                             (Virginia Only)                   UNINSURED MOTORISTS                     MOTORISTS
                                      Limit Stated
                                     In The Medical
                                      Expense and
                                      Income Loss
            Limit                        Benefits
Covered     Each                     Endorsement
Auto No.   Insured   Premium        For Each Person        Premium               Limit                Premium             Premium
 NJ26      $5,000    $          16

 NJ27      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ28                                                                   $           1,000,000        $      240              INCL

 NJ29                                                                   $           1,000,000        $      240              INCL

 NJ30                                                                   $           1,000,000        $      240              INCL
Total
Premium
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                       (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                           in the corresponding ITEM TWO column applies instead.)
                                                SPECIFIED CAUSES
                COMPREHENSIVE                          OF LOSS                     COLLISION                   TOWING & LABOR
               Limit                             Limit                          Limit
             Stated In                         Stated In                      Stated In
            ITEM TWO                         ITEM TWO                        ITEM TWO
              Minus                             Minus                          Minus
            Deductible                       Deductible                      Deductible
Covered       Shown                             Shown                          Shown                       Limit Per
Auto No.      Below          Premium            Below           Premium        Below      Premium       Disablement         Premium
 NJ26         $ 1,000       $         84                                     $ 1,000    $         368

 NJ27         $ 1,000       $         130                                    $ 1,000    $         760

 NJ28         $ 1,000       $         102                                    $ 1,000    $         454      $ 50        $              3

 NJ29         $ 1,000       $         297                                    $ 1,000    $       1,259      $ 50        $              3

 NJ30         $ 1,000       $         200                                    $ 1,000    $         808      $ 50        $              3
Total
Premium




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  ITEM THREE
  SCHEDULE OF COVERED AUTOS YOU OWN (Continued)
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                     (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                          in the corresponding ITEM TWO column applies instead.)
                                        MEDICAL EXPENSE AND
              AUTO MEDICAL
                                       INCOME LOSS BENEFITS                                                          UNDERINSURED
                 PAYMENTS
                                             (Virginia Only)                   UNINSURED MOTORISTS                     MOTORISTS
                                      Limit Stated
                                     In The Medical
                                      Expense and
                                      Income Loss
            Limit                        Benefits
Covered     Each                     Endorsement
Auto No.   Insured   Premium        For Each Person        Premium               Limit                Premium             Premium
 NJ31      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ32      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ33      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ34      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ35      $5,000    $          164                                     $           1,000,000        $      181              INCL
Total
Premium
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                       (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                           in the corresponding ITEM TWO column applies instead.)
                                                SPECIFIED CAUSES
                COMPREHENSIVE                          OF LOSS                     COLLISION                   TOWING & LABOR
               Limit                             Limit                          Limit
             Stated In                         Stated In                      Stated In
            ITEM TWO                         ITEM TWO                        ITEM TWO
              Minus                             Minus                          Minus
            Deductible                       Deductible                      Deductible
Covered       Shown                             Shown                          Shown                       Limit Per
Auto No.      Below          Premium            Below           Premium        Below      Premium       Disablement         Premium
 NJ31         $ 1,000       $         101                                    $ 1,000    $         541

 NJ32         $ 3,000       $         157                                    $ 3,000    $       1,760

 NJ33         $ 3,000       $         124                                    $ 3,000    $       1,031

 NJ34         $ 1,000       $         84                                     $ 1,000    $         461

 NJ35         $ 1,000       $         114                                    $ 1,000    $         678
Total
Premium




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  ITEM THREE
  SCHEDULE OF COVERED AUTOS YOU OWN (Continued)
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                     (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                          in the corresponding ITEM TWO column applies instead.)
                                        MEDICAL EXPENSE AND
              AUTO MEDICAL
                                       INCOME LOSS BENEFITS                                                          UNDERINSURED
                 PAYMENTS
                                             (Virginia Only)                   UNINSURED MOTORISTS                     MOTORISTS
                                      Limit Stated
                                     In The Medical
                                      Expense and
                                      Income Loss
            Limit                        Benefits
Covered     Each                     Endorsement
Auto No.   Insured   Premium        For Each Person        Premium               Limit                Premium             Premium
 NJ36                                                                   $           1,000,000        $      240              INCL

 NJ37      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ38      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ39      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ40      $5,000    $          164                                     $           1,000,000        $      181              INCL
Total
Premium
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                       (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                           in the corresponding ITEM TWO column applies instead.)
                                                SPECIFIED CAUSES
                COMPREHENSIVE                          OF LOSS                     COLLISION                   TOWING & LABOR
               Limit                             Limit                          Limit
             Stated In                         Stated In                      Stated In
            ITEM TWO                         ITEM TWO                        ITEM TWO
              Minus                             Minus                          Minus
            Deductible                       Deductible                      Deductible
Covered       Shown                             Shown                          Shown                       Limit Per
Auto No.      Below          Premium            Below           Premium        Below      Premium       Disablement         Premium
 NJ36         $ 1,000       $         359                                    $ 1,000    $       1,327      $ 50        $              3

 NJ37         $ 1,000       $         101                                    $ 1,000    $         691

 NJ38         $ 1,000       $         193                                    $ 1,000    $       2,136

 NJ39         $ 1,000       $         135                                    $ 1,000    $       1,077

 NJ40         $ 1,000       $         169                                    $ 1,000    $       1,579
Total
Premium




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  ITEM THREE
  SCHEDULE OF COVERED AUTOS YOU OWN (Continued)
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                     (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                          in the corresponding ITEM TWO column applies instead.)
                                        MEDICAL EXPENSE AND
              AUTO MEDICAL
                                       INCOME LOSS BENEFITS                                                          UNDERINSURED
                 PAYMENTS
                                             (Virginia Only)                   UNINSURED MOTORISTS                     MOTORISTS
                                      Limit Stated
                                     In The Medical
                                      Expense and
                                      Income Loss
            Limit                        Benefits
Covered     Each                     Endorsement
Auto No.   Insured   Premium        For Each Person        Premium               Limit                Premium             Premium
 FL41      $5,000    $          16                                      $           1,000,000        $      352              INCL

 FL42      $5,000    $          16                                      $           1,000,000        $      352              INCL

 NJ43                                                                   $           1,000,000        $      240              INCL

 NJ44      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ45                                                                   $           1,000,000        $      240              INCL
Total
Premium
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                       (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                           in the corresponding ITEM TWO column applies instead.)
                                                SPECIFIED CAUSES
                COMPREHENSIVE                          OF LOSS                     COLLISION                   TOWING & LABOR
               Limit                             Limit                          Limit
             Stated In                         Stated In                      Stated In
            ITEM TWO                         ITEM TWO                        ITEM TWO
              Minus                             Minus                          Minus
            Deductible                       Deductible                      Deductible
Covered       Shown                             Shown                          Shown                       Limit Per
Auto No.      Below          Premium            Below           Premium        Below      Premium       Disablement         Premium
 FL41         $ 1,000       $         289                                    $ 1,000    $         494

 FL42         $ 1,000       $         289                                    $ 1,000    $         528

 NJ43         $ 1,000       $         105                                    $ 1,000    $         471      $ 50        $              3

 NJ44         $ 1,000       $         101                                    $ 1,000    $         577

 NJ45         $ 1,000       $         134                                    $ 1,000    $         619      $ 50        $              3
Total
Premium




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  ITEM THREE
  SCHEDULE OF COVERED AUTOS YOU OWN (Continued)
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                     (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                          in the corresponding ITEM TWO column applies instead.)
                                        MEDICAL EXPENSE AND
              AUTO MEDICAL
                                       INCOME LOSS BENEFITS                                                          UNDERINSURED
                 PAYMENTS
                                             (Virginia Only)                   UNINSURED MOTORISTS                     MOTORISTS
                                      Limit Stated
                                     In The Medical
                                      Expense and
                                      Income Loss
            Limit                        Benefits
Covered     Each                     Endorsement
Auto No.   Insured   Premium        For Each Person        Premium               Limit                Premium             Premium
 NJ46      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ47                                                                   $           1,000,000        $      240              INCL

 NJ48      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ49      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ50      $5,000    $          164                                     $           1,000,000        $      181              INCL
Total
Premium
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                       (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                           in the corresponding ITEM TWO column applies instead.)
                                                SPECIFIED CAUSES
                COMPREHENSIVE                          OF LOSS                     COLLISION                   TOWING & LABOR
               Limit                             Limit                          Limit
             Stated In                         Stated In                      Stated In
            ITEM TWO                         ITEM TWO                        ITEM TWO
              Minus                             Minus                          Minus
            Deductible                       Deductible                      Deductible
Covered       Shown                             Shown                          Shown                       Limit Per
Auto No.      Below          Premium            Below           Premium        Below      Premium       Disablement         Premium
 NJ46         $ 1,000       $         206                                    $ 1,000    $       1,817

 NJ47         $ 1,000       $         189                                    $ 1,000    $         760      $ 50        $              3

 NJ48         $ 1,000       $         83                                     $ 1,000    $         627

 NJ49         $ 1,000       $         113                                    $ 1,000    $         770

 NJ50         $ 1,000       $         111                                    $ 1,000    $         802
Total
Premium




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  ITEM THREE
  SCHEDULE OF COVERED AUTOS YOU OWN (Continued)
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                     (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                          in the corresponding ITEM TWO column applies instead.)
                                        MEDICAL EXPENSE AND
              AUTO MEDICAL
                                       INCOME LOSS BENEFITS                                                          UNDERINSURED
                 PAYMENTS
                                             (Virginia Only)                   UNINSURED MOTORISTS                     MOTORISTS
                                      Limit Stated
                                     In The Medical
                                      Expense and
                                      Income Loss
            Limit                        Benefits
Covered     Each                     Endorsement
Auto No.   Insured   Premium        For Each Person        Premium               Limit                Premium             Premium
 NJ51      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ52                                                                   $           1,000,000        $      240              INCL

 NJ53      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ54      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ55      $5,000    $          164                                     $           1,000,000        $      181              INCL
Total
Premium
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                       (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                           in the corresponding ITEM TWO column applies instead.)
                                                SPECIFIED CAUSES
                COMPREHENSIVE                          OF LOSS                     COLLISION                   TOWING & LABOR
               Limit                             Limit                          Limit
             Stated In                         Stated In                      Stated In
            ITEM TWO                         ITEM TWO                        ITEM TWO
              Minus                             Minus                          Minus
            Deductible                       Deductible                      Deductible
Covered       Shown                             Shown                          Shown                       Limit Per
Auto No.      Below          Premium            Below           Premium        Below      Premium       Disablement         Premium
 NJ51         $ 1,000       $         114                                    $ 1,000    $         650

 NJ52         $ 1,000       $         152                                    $ 1,000    $         703      $ 50        $              3

 NJ53         $ 1,000       $         214                                    $ 1,000    $       2,456

 NJ54         $ 1,000       $         214                                    $ 3,000    $       2,272

 NJ55         $ 1,000       $         214                                    $ 1,000    $       2,456
Total
Premium




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  ITEM THREE
  SCHEDULE OF COVERED AUTOS YOU OWN (Continued)
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                     (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                          in the corresponding ITEM TWO column applies instead.)
                                        MEDICAL EXPENSE AND
              AUTO MEDICAL
                                       INCOME LOSS BENEFITS                                                          UNDERINSURED
                 PAYMENTS
                                             (Virginia Only)                   UNINSURED MOTORISTS                     MOTORISTS
                                      Limit Stated
                                     In The Medical
                                      Expense and
                                      Income Loss
            Limit                        Benefits
Covered     Each                     Endorsement
Auto No.   Insured   Premium        For Each Person        Premium               Limit                Premium             Premium
 NJ56      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ57      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ58      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ59      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ60      $5,000    $          164                                     $           1,000,000        $      181              INCL
Total
Premium
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                       (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                           in the corresponding ITEM TWO column applies instead.)
                                                SPECIFIED CAUSES
                COMPREHENSIVE                          OF LOSS                     COLLISION                   TOWING & LABOR
               Limit                             Limit                          Limit
             Stated In                         Stated In                      Stated In
            ITEM TWO                         ITEM TWO                        ITEM TWO
              Minus                             Minus                          Minus
            Deductible                       Deductible                      Deductible
Covered       Shown                             Shown                          Shown                       Limit Per
Auto No.      Below          Premium            Below           Premium        Below      Premium       Disablement         Premium
 NJ56         $ 1,000       $         106                                    $ 1,000    $         731

 NJ57         $ 1,000       $         114                                    $ 1,000    $         650

 NJ58         $ 1,000       $         75                                     $ 1,000    $         417

 NJ59         $ 1,000       $         67                                     $ 1,000    $         303

 NJ60         $ 1,000       $         214                                    $ 1,000    $       2,456
Total
Premium




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  ITEM THREE
  SCHEDULE OF COVERED AUTOS YOU OWN (Continued)
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                     (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                          in the corresponding ITEM TWO column applies instead.)
                                        MEDICAL EXPENSE AND
              AUTO MEDICAL
                                       INCOME LOSS BENEFITS                                                          UNDERINSURED
                 PAYMENTS
                                             (Virginia Only)                   UNINSURED MOTORISTS                     MOTORISTS
                                      Limit Stated
                                     In The Medical
                                      Expense and
                                      Income Loss
            Limit                        Benefits
Covered     Each                     Endorsement
Auto No.   Insured   Premium        For Each Person        Premium               Limit                Premium             Premium
 NJ61                                                                   $           1,000,000        $      240              INCL

 NJ62      $5,000    $          164                                     $           1,000,000        $      181              INCL

 FL63      $5,000    $          16                                      $           1,000,000        $      352              INCL

 NJ64      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ65      $5,000    $          164                                     $           1,000,000        $      181              INCL
Total
Premium
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                       (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                           in the corresponding ITEM TWO column applies instead.)
                                                SPECIFIED CAUSES
                COMPREHENSIVE                          OF LOSS                     COLLISION                   TOWING & LABOR
               Limit                             Limit                          Limit
             Stated In                         Stated In                      Stated In
            ITEM TWO                         ITEM TWO                        ITEM TWO
              Minus                             Minus                          Minus
            Deductible                       Deductible                      Deductible
Covered       Shown                             Shown                          Shown                       Limit Per
Auto No.      Below          Premium            Below           Premium        Below      Premium       Disablement         Premium
 NJ61         $ 1,000       $         209                                    $ 1,000    $         902      $ 50        $              3

 NJ62         $ 1,000       $         219                                    $ 1,000    $       2,453

 FL63         $ 1,000       $         360                                    $ 1,000    $         661

 NJ64         $ 1,000       $         224                                    $ 1,000    $       2,566

 NJ65         $ 1,000       $         113                                    $ 1,000    $         770
Total
Premium




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  ITEM THREE
  SCHEDULE OF COVERED AUTOS YOU OWN (Continued)
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                     (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                          in the corresponding ITEM TWO column applies instead.)
                                        MEDICAL EXPENSE AND
              AUTO MEDICAL
                                       INCOME LOSS BENEFITS                                                          UNDERINSURED
                 PAYMENTS
                                             (Virginia Only)                   UNINSURED MOTORISTS                     MOTORISTS
                                      Limit Stated
                                     In The Medical
                                      Expense and
                                      Income Loss
            Limit                        Benefits
Covered     Each                     Endorsement
Auto No.   Insured   Premium        For Each Person        Premium               Limit                Premium             Premium
 NJ66      $5,000    $          164                                     $           1,000,000        $      181              INCL

 FL67      $5,000    $          21                                      $           1,000,000        $      531              INCL

 NJ68      $5,000    $          164                                     $           1,000,000        $      181              INCL

 NJ69      $5,000    $          164                                     $           1,000,000        $      181              INCL



Total
                     $      8,201                                                                    $     12,856               INCL
Premium
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                       (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                           in the corresponding ITEM TWO column applies instead.)
                                                SPECIFIED CAUSES
                COMPREHENSIVE                          OF LOSS                     COLLISION                   TOWING & LABOR
               Limit                             Limit                          Limit
             Stated In                         Stated In                      Stated In
            ITEM TWO                         ITEM TWO                        ITEM TWO
              Minus                             Minus                          Minus
            Deductible                       Deductible                      Deductible
Covered       Shown                             Shown                          Shown                       Limit Per
Auto No.      Below          Premium            Below           Premium        Below      Premium       Disablement         Premium
 NJ66         $ 1,000       $          113                                   $ 1,000    $         770

 FL67         $ 1,000       $          180                                   $ 1,000    $         414      $ 50        $              3

 NJ68         $ 1,000       $          121                                   $ 1,000    $         893

 NJ69         $ 1,000       $           83                                   $ 1,000    $         583



Total
Premium                     $         9,030                                             $       56,384                 $            33




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

             COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your
                       Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage           NJ                                    IF ANY                   $                   313
     Excess Coverage

                                                           TOTAL HIRED AUTO PREMIUM                               INCL
For "autos" used in your motor carrier operations, cost of hire means:
1.   The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
     semitrailers), and if not included therein,
2.   The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver by
     lessor or an "employee" of the lessee, or any other third party, and
3.   The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with operating
     the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or owner, or paid to
     others.


          COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your
                      Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage

                                                           TOTAL HIRED AUTO PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire of
 "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their family
 members). Cost of hire does not include charges for services performed by motor carriers of property or passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)

                        Physical Damage Coverages --- Cost Of Hire Rating Basis For All Autos
                                     (Other Than Mobile or Farm Equipment)
                                                                                ESTIMATED
                                                                                  ANNUAL
                                                                               COST OF HIRE
                                                                             FOR EACH STATE
                                                                              (Excluding Autos
                                                                                 Hired With
   COVERAGE           STATE             LIMIT OF INSURANCE                        A Driver)               PREMIUM
                              ACTUAL CASH VALUE OR COST OF
                                                                                 IF ANY               $             25
COMPREHENSIVE         FL      REPAIR, WHICHEVER IS LESS, MINUS
                              $     100      DEDUCTIBLE FOR EACH
                              COVERED AUTO, BUT NO DEDUCTIBLE
                              APPLIES TO LOSS CAUSED BY FIRE OR
                              LIGHTNING.
                                ACTUAL CASH VALUE OR COST OF
SPECIFIED                       REPAIR, WHICHEVER IS LESS, MINUS
CAUSES                                       DEDUCTIBLE FOR EACH
OF LOSS                         COVERED AUTO FOR LOSS CAUSED BY
                                MISCHIEF OR VANDALISM.
                                ACTUAL CASH VALUE OR COST OF                        IF ANY            $             25
COLLISION             FL        REPAIR, WHICHEVER IS LESS, MINUS
                                $ 1,000     DEDUCTIBLE FOR EACH
                                COVERED AUTO.

                                                                  TOTAL HIRED AUTO PREMIUM
 For Physical Damage Coverages, cost of hire means the total amount you incur for the hire of "autos" you don’t own
 (not including "autos" you borrow or rent from your partners or "employees" or their family members). Cost of hire does
 not include charges for any "auto" that is leased, hired, rented or borrowed with a driver.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)

                        Physical Damage Coverages --- Cost Of Hire Rating Basis For All Autos
                                     (Other Than Mobile or Farm Equipment)
                                                                                ESTIMATED
                                                                                  ANNUAL
                                                                               COST OF HIRE
                                                                             FOR EACH STATE
                                                                              (Excluding Autos
                                                                                 Hired With
   COVERAGE           STATE             LIMIT OF INSURANCE                        A Driver)               PREMIUM
                              ACTUAL CASH VALUE OR COST OF
                                                                                 IF ANY               $             25
COMPREHENSIVE         NJ      REPAIR, WHICHEVER IS LESS, MINUS
                              $ 1,000        DEDUCTIBLE FOR EACH
                              COVERED AUTO, BUT NO DEDUCTIBLE
                              APPLIES TO LOSS CAUSED BY FIRE OR
                              LIGHTNING.
                                ACTUAL CASH VALUE OR COST OF
SPECIFIED                       REPAIR, WHICHEVER IS LESS, MINUS
CAUSES                                       DEDUCTIBLE FOR EACH
OF LOSS                         COVERED AUTO FOR LOSS CAUSED BY
                                MISCHIEF OR VANDALISM.
                                ACTUAL CASH VALUE OR COST OF                        IF ANY            $             25
COLLISION             NJ        REPAIR, WHICHEVER IS LESS, MINUS
                                $ 1,000     DEDUCTIBLE FOR EACH
                                COVERED AUTO.

                                                                  TOTAL HIRED AUTO PREMIUM            $           100
 For Physical Damage Coverages, cost of hire means the total amount you incur for the hire of "autos" you don’t own
 (not including "autos" you borrow or rent from your partners or "employees" or their family members). Cost of hire does
 not include charges for any "auto" that is leased, hired, rented or borrowed with a driver.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)


          Cost Of Hire Rating Basis For Mobile Or Farm Equipment ---- Other Than Physical Damage Coverages
                                                ESTIMATED ANNUAL
                                                                                               PREMIUM
                                           COST OF HIRE FOR EACH STATE
        COVERAGE               STATE
                                               Mobile          Farm                    Mobile             Farm
                                             Equipment       Equipment               Equipment          Equipment

Covered Autos Liability ----
Primary Coverage

Covered Autos Liability ----
Excess Coverage

Personal Injury Protection

Medical Expense Benefits
(Virginia Only)

Income Loss Benefits
(Virginia Only)

Auto Medical Payments


                                              TOTAL HIRED AUTO PREMIUM

 Cost of hire means the total amount you incur for the hire of "autos" you don’t own (not including "autos" you
 borrow or rent from your partners or "employees" or their family members). Cost of hire does not include charges for
 services performed by motor carriers of property or passengers.




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 ITEM FOUR
 SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)


                Cost Of Hire Rating Basis For Mobile or Farm Equipment ---- Physical Damage Coverages

                                                            ESTIMATED ANNUAL
                                                              COST OF HIRE
                                                             FOR EACH STATE
                                                           (Excluding Autos Hired
                                                                With A Driver)                      PREMIUM
                                                           Mobile            Farm            Mobile           Farm
  COVERAGE          STATE    LIMIT OF INSURANCE          Equipment        Equipment        Equipment        Equipment
                            ACTUAL CASH VALUE
                            OR COST OF REPAIR,
                            WHICHEVER IS LESS,
                            MINUS
                            DEDUCTIBLE FOR
COMPREHENSIVE               EACH COVERED
                            AUTO, BUT NO
                            DEDUCTIBLE APPLIES
                            TO LOSS CAUSED BY
                            FIRE OR LIGHTNING.
                            ACTUAL CASH VALUE
                            OR COST OF REPAIR,
                            WHICHEVER IS LESS,
SPECIFIED                   MINUS
CAUSES                      DEDUCTIBLE FOR
OF LOSS                     EACH COVERED AUTO
                            FOR LOSS CAUSED
                            BY MISCHIEF OR
                            VANDALISM.
                            ACTUAL CASH VALUE
                            OR COST OF REPAIR,
                            WHICHEVER IS LESS,
COLLISION                   MINUS
                            DEDUCTIBLE FOR
                            EACH COVERED
                            AUTO.
                                                           TOTAL HIRED AUTO PREMIUM

 For Physical Damage Coverages, cost of hire means the total amount you incur for the hire of "autos" you don’t own
 (not including "autos" you borrow or rent from your partners or "employees" or their family members). Cost of hire does
 not include charges for any auto that is leased, hired, rented or borrowed with a driver.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)

                               Rental Period Rating Basis For Mobile Or Farm Equipment
                                                                   ESTIMATED
                                                                 NUMBER OF DAYS
                                                                                                 PREMIUM
                                                                 EQUIPMENT WILL
                                                                   BE RENTED
                                  TOWN AND STATE
                                 WHERE THE JOB SITE              Mobile       Farm         Mobile       Farm
       COVERAGE                     IS LOCATED                 Equipment    Equipment    Equipment    Equipment
Covered Autos Liability ----
Primary Coverage
Covered Autos Liability ----
Excess Coverage

Personal Injury
Protection

Medical Expense
Benefits (Virginia Only)
Income Loss Benefits
(Virginia Only)

Auto Medical Payments

                                                         TOTAL HIRED AUTO PREMIUMS


ITEM FIVE
SCHEDULE FOR NON-OWNERSHIP COVERED AUTOS LIABILITY

     NAMED INSURED’S
        BUSINESS                           RATING BASIS               NUMBER                    PREMIUM
Other Than Garage Service        Number Of Employees                                     $                260
Operations And Other Than
Social Service Agencies          Number Of Partners
                                 (Active and Inactive)

Garage Service Operations        Number Of Employees Whose
                                 Principal Duty Involves
                                 The Operation Of Autos

                                 Number Of Partners
                                 (Active and Inactive)
Social Service Agencies          Number Of Employees

                                 Number Of Volunteers Who
                                 Regularly Use Autos
                                 To Transport Clients

                                 Number Of Partners
                                 (Active and Inactive)
                   TOTAL NON-OWNERSHIP COVERED AUTOS LIABILITY PREMIUM                   $                260



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ITEM SIX
SCHEDULE FOR GROSS RECEIPTS OR MILEAGE BASIS


Type Of Risk (Check one):          Public Autos                       Leasing Or Rental Concerns

Rating Basis (Check one):          Gross Receipts (Per $100)          Mileage (Per Mile)

Estimated Yearly (Check One):      Gross Receipts (Per $100)          Mileage
                                                    Premiums
Covered Autos Liability
Personal Injury Protection
Added Personal Injury Protection
Property Protection Insurance (Michigan Only)
Auto Medical Payments
Medical Expense And Income Loss Benefits (Virginia Only)
Comprehensive
Specified Causes Of Loss
Collision
Towing And Labor

When used as a premium basis:
  FOR PUBLIC AUTOS
  Gross receipts means the total amount earned by the named insured for transporting passengers, mail and
  merchandise.
  Gross receipts does not include:
      1. Amounts paid to air, sea or land carriers operating under their own permits.
      2. Advertising revenue.
      3. Taxes collected as a separate item and paid directly to the government.
      4. C.O.D. collections for cost of mail or merchandise including collection fees.
  Mileage means the total live and dead mileage of all revenue producing "autos" during the policy period.


  FOR RENTAL OR LEASING CONCERNS
  Gross receipts means the total amount earned by the named insured for the leasing or renting of "autos" to
  others without drivers.
  Mileage means the total live and dead mileage of all "autos" you leased or rented to others without drivers.




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                                                                                           COMMERCIAL AUTO
                                                                                               CA 00 01 10 13

                    BUSINESS AUTO COVERAGE FORM
Various provisions in this policy restrict coverage.       SECTION I – COVERED AUTOS
Read the entire policy carefully to determine rights,      Item Two of the Declarations shows the "autos" that
duties and what is and is not covered.                     are covered "autos" for each of your coverages. The
Throughout this policy the words "you" and "your"          following numerical symbols describe the "autos" that
refer to the Named Insured shown in the Declarations.      may be covered "autos". The symbols entered next to
The words "we", "us" and "our" refer to the company        a coverage on the Declarations designate the only
providing this insurance.                                  "autos" that are covered "autos".
Other words and phrases that appear in quotation           A. Description Of Covered Auto Designation
marks have special meaning. Refer to Section V –               Symbols
Definitions.

 Symbol                           Description Of Covered Auto Designation Symbols
   1    Any "Auto"
   2    Owned "Autos"        Only those "autos" you own (and for Covered Autos Liability Coverage any
        Only                 "trailers" you don't own while attached to power units you own). This includes
                             those "autos" you acquire ownership of after the policy begins.
    3      Owned Private     Only the private passenger "autos" you own. This includes those private
           Passenger         passenger "autos" you acquire ownership of after the policy begins.
           "Autos" Only
    4      Owned             Only those "autos" you own that are not of the private passenger type (and for
           "Autos" Other     Covered Autos Liability Coverage any "trailers" you don't own while attached to
           Than Private      power units you own). This includes those "autos" not of the private passenger
           Passenger         type you acquire ownership of after the policy begins.
           "Autos" Only
    5      Owned "Autos"     Only those "autos" you own that are required to have no-fault benefits in the state
           Subject To        where they are licensed or principally garaged. This includes those "autos" you
           No-fault          acquire ownership of after the policy begins provided they are required to have no-
                             fault benefits in the state where they are licensed or principally garaged.
    6      Owned "Autos"     Only those "autos" you own that because of the law in the state where they are
           Subject To A      licensed or principally garaged are required to have and cannot reject Uninsured
           Compulsory        Motorists Coverage. This includes those "autos" you acquire ownership of after the
           Uninsured         policy begins provided they are subject to the same state uninsured motorists
           Motorists Law     requirement.
    7      Specifically      Only those "autos" described in Item Three of the Declarations for which a
           Described         premium charge is shown (and for Covered Autos Liability Coverage any "trailers"
           "Autos"           you don't own while attached to any power unit described in Item Three).
    8      Hired "Autos"     Only those "autos" you lease, hire, rent or borrow. This does not include any "auto"
           Only              you lease, hire, rent or borrow from any of your "employees", partners (if you are a
                             partnership), members (if you are a limited liability company) or members of their
                             households.
    9      Non-owned         Only those "autos" you do not own, lease, hire, rent or borrow that are used in
           "Autos" Only      connection with your business. This includes "autos" owned by your "employees",
                             partners (if you are a partnership), members (if you are a limited liability company)
                             or members of their households but only while used in your business or your
                             personal affairs.




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    19       Mobile           Only those "autos" that are land vehicles and that would qualify under the definition
             Equipment        of "mobile equipment" under this policy if they were not subject to a compulsory or
             Subject To       financial responsibility law or other motor vehicle insurance law where they are
             Compulsory Or    licensed or principally garaged.
             Financial
             Responsibility
             Or Other Motor
             Vehicle
             Insurance Law
             Only

B. Owned Autos You Acquire After The Policy                 SECTION II – COVERED AUTOS LIABILITY
   Begins                                                   COVERAGE
   1. If Symbols 1, 2, 3, 4, 5, 6 or 19 are entered         A. Coverage
      next to a coverage in Item Two of the                    We will pay all sums an "insured" legally must pay
      Declarations, then you have coverage for                 as damages because of "bodily injury" or "property
      "autos" that you acquire of the type described           damage" to which this insurance applies, caused
      for the remainder of the policy period.                  by an "accident" and resulting from the ownership,
   2. But, if Symbol 7 is entered next to a coverage           maintenance or use of a covered "auto".
       in Item Two of the Declarations, an "auto" you          We will also pay all sums an "insured" legally must
       acquire will be a covered "auto" for that               pay as a "covered pollution cost or expense" to
       coverage only if:                                       which this insurance applies, caused by an
       a. We already cover all "autos" that you own            "accident" and resulting from the ownership,
           for that coverage or it replaces an "auto"          maintenance or use of covered "autos". However,
           you previously owned that had that                  we will only pay for the "covered pollution cost or
           coverage; and                                       expense" if there is either "bodily injury" or
       b. You tell us within 30 days after you acquire         "property damage" to which this insurance applies
           it that you want us to cover it for that            that is caused by the same "accident".
           coverage.                                           We have the right and duty to defend any
C. Certain Trailers, Mobile Equipment And                      "insured" against a "suit" asking for such damages
   Temporary Substitute Autos                                  or a "covered pollution cost or expense". However,
                                                               we have no duty to defend any "insured" against a
   If Covered Autos Liability Coverage is provided by          "suit" seeking damages for "bodily injury" or
   this Coverage Form, the following types of                  "property damage" or a "covered pollution cost or
   vehicles are also covered "autos" for Covered               expense" to which this insurance does not apply.
   Autos Liability Coverage:                                   We may investigate and settle any claim or "suit"
   1. "Trailers" with a load capacity of 2,000 pounds          as we consider appropriate. Our duty to defend or
       or less designed primarily for travel on public         settle ends when the Covered Autos Liability
       roads.                                                  Coverage Limit of Insurance has been exhausted
   2. "Mobile equipment" while being carried or                by payment of judgments or settlements.
       towed by a covered "auto".                              1. Who Is An Insured
   3. Any "auto" you do not own while used with the                The following are "insureds":
      permission of its owner as a temporary                       a. You for any covered "auto".
      substitute for a covered "auto" you own that is
      out of service because of its:                               b. Anyone else while using with your
                                                                      permission a covered "auto" you own, hire
      a. Breakdown;                                                   or borrow except:
      b. Repair;                                                     (1) The owner or anyone else from whom
         c. Servicing;                                                    you hire or borrow a covered "auto".
         d. "Loss"; or                                                    This exception does not apply if the
         e. Destruction.                                                  covered "auto" is a "trailer" connected to
                                                                          a covered "auto" you own.




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         (2) Your "employee" if the covered "auto" is                 These payments will not reduce the Limit of
             owned by that "employee" or a member                     Insurance.
             of his or her household.                              b. Out-of-state Coverage Extensions
         (3) Someone using a covered "auto" while                     While a covered "auto" is away from the
             he or she is working in a business of                    state where it is licensed, we will:
             selling, servicing, repairing, parking or
             storing "autos" unless that business is                 (1) Increase the Limit of Insurance for
             yours.                                                      Covered Autos Liability Coverage to
                                                                         meet the limits specified by a
         (4) Anyone other than your "employees",                         compulsory or financial responsibility
             partners (if you are a partnership),                        law of the jurisdiction where the covered
             members (if you are a limited liability                     "auto" is being used. This extension
             company) or a lessee or borrower or                         does not apply to the limit or limits
             any of their "employees", while moving                      specified by any law governing motor
             property to or from a covered "auto".                       carriers of passengers or property.
         (5) A partner (if you are a partnership) or a                (2) Provide the minimum amounts and
             member (if you are a limited liability                       types of other coverages, such as no-
             company) for a covered "auto" owned by                       fault, required of out-of-state vehicles by
             him or her or a member of his or her                         the jurisdiction where the covered "auto"
             household.                                                   is being used.
      c. Anyone liable for the conduct of an                           We will not pay anyone more than once for
         "insured" described above but only to the                     the same elements of loss because of
         extent of that liability.                                     these extensions.
   2. Coverage Extensions                                   B. Exclusions
      a. Supplementary Payments                                This insurance does not apply to any of the
         We will pay for the "insured":                        following:
         (1) All expenses we incur.                            1. Expected Or Intended Injury
         (2) Up to $2,000 for cost of bail bonds                  "Bodily injury" or "property damage" expected
             (including bonds for related traffic law             or intended from the standpoint of the
             violations) required because of an                   "insured".
             "accident" we cover. We do not have to            2. Contractual
             furnish these bonds.
                                                                  Liability assumed under any contract or
         (3) The cost of bonds to release                         agreement.
             attachments in any "suit" against the
             "insured" we defend, but only for bond               But this exclusion does not apply to liability for
             amounts within our Limit of Insurance.               damages:
         (4) All reasonable expenses incurred by the              a. Assumed in a contract or agreement that is
             "insured" at our request, including actual               an "insured contract", provided the "bodily
             loss of earnings up to $250 a day                        injury" or "property damage" occurs
             because of time off from work.                           subsequent to the execution of the contract
                                                                      or agreement; or
         (5) All court costs taxed against the
             "insured" in any "suit" against the                  b. That the "insured" would have in the
             "insured" we defend. However, these                      absence of the contract or agreement.
             payments do not include attorneys' fees           3. Workers' Compensation
             or attorneys' expenses taxed against the
                                                                  Any obligation for which the "insured" or the
             "insured".                                           "insured's" insurer may be held liable under
         (6) All interest on the full amount of any               any workers' compensation, disability benefits
             judgment that accrues after entry of the             or unemployment compensation law or any
             judgment in any "suit" against the                   similar law.
             "insured" we defend, but our duty to pay
             interest ends when we have paid,
             offered to pay or deposited in court the
             part of the judgment that is within our
             Limit of Insurance.




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   4. Employee Indemnification And Employer's                     b. After it is moved from the covered "auto" to
      Liability                                                       the place where it is finally delivered by the
      "Bodily injury" to:                                             "insured".
      a. An "employee" of the "insured" arising out            8. Movement Of Property By Mechanical
         of and in the course of:                                 Device
        (1) Employment by the "insured"; or                       "Bodily injury" or "property damage" resulting
                                                                  from the movement of property by a
        (2) Performing the duties related to the                  mechanical device (other than a hand truck)
             conduct of the "insured's" business; or              unless the device is attached to the covered
      b. The spouse, child, parent, brother or sister             "auto".
         of that "employee" as a consequence of                9. Operations
         Paragraph a. above.
                                                                  "Bodily injury" or "property damage" arising out
      This exclusion applies:                                     of the operation of:
         (1) Whether the "insured" may be liable as               a. Any equipment listed in Paragraphs 6.b.
             an employer or in any other capacity;                   and 6.c. of the definition of "mobile
             and                                                     equipment"; or
         (2) To any obligation to share damages with              b. Machinery or equipment that is on, attached
             or repay someone else who must pay                      to or part of a land vehicle that would
             damages because of the injury.                          qualify under the definition of "mobile
      But this exclusion does not apply to "bodily                   equipment" if it were not subject to a
      injury" to domestic "employees" not entitled to                compulsory or financial responsibility law or
      workers' compensation benefits or to liability                 other motor vehicle insurance law where it
      assumed by the "insured" under an "insured                     is licensed or principally garaged.
      contract". For the purposes of the Coverage             10. Completed Operations
      Form, a domestic "employee" is a person
      engaged in household or domestic work                       "Bodily injury" or "property damage" arising out
      performed principally in connection with a                  of your work after that work has been
      residence premises.                                         completed or abandoned.
   5. Fellow Employee                                             In this exclusion, your work means:
      "Bodily injury" to:                                         a. Work or operations performed by you or on
                                                                      your behalf; and
      a. Any fellow "employee" of the "insured"
          arising out of and in the course of the fellow          b. Materials, parts or equipment furnished in
          "employee's"      employment      or     while              connection with such work or operations.
          performing duties related to the conduct of             Your       work      includes      warranties   or
          your business; or                                       representations made at any time with respect
      b. The spouse, child, parent, brother or sister             to the fitness, quality, durability or performance
          of that fellow "employee" as a consequence              of any of the items included in Paragraph a. or
          of Paragraph a. above.                                  b. above.
   6. Care, Custody Or Control                                    Your work will be deemed completed at the
                                                                  earliest of the following times:
      "Property damage" to or "covered pollution cost
      or expense" involving property owned or                        (1) When all of the work called for in your
      transported by the "insured" or in the                             contract has been completed;
      "insured's" care, custody or control. But this                 (2) When all of the work to be done at the
      exclusion does not apply to liability assumed                      site has been completed if your contract
      under a sidetrack agreement.                                       calls for work at more than one site; or
   7. Handling Of Property                                           (3) When that part of the work done at a job
      "Bodily injury" or "property damage" resulting                     site has been put to its intended use by
      from the handling of property:                                     any person or organization other than
                                                                         another contractor or subcontractor
      a. Before it is moved from the place where it is                   working on the same project.
         accepted by the "insured" for movement
         into or onto the covered "auto"; or




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      Work that may need service, maintenance,                    Paragraphs b. and c. above of this exclusion
      correction, repair or replacement, but which is             do not apply to "accidents" that occur away
      otherwise complete, will be treated as                      from premises owned by or rented to an
      completed.                                                  "insured" with respect to "pollutants" not in or
  11. Pollution                                                   upon a covered "auto" if:
      "Bodily injury" or "property damage" arising out                  (a) The "pollutants" or any property in
      of the actual, alleged or threatened discharge,                       which the "pollutants" are contained
      dispersal, seepage, migration, release or                             are upset, overturned or damaged as
      escape of "pollutants":                                               a result of the maintenance or use of
                                                                            a covered "auto"; and
      a. That are, or that are contained in any
          property that is:                                             (b) The discharge, dispersal, seepage,
                                                                            migration, release or escape of the
         (1) Being transported or towed by, handled                         "pollutants" is caused directly by
              or handled for movement into, onto or                         such upset, overturn or damage.
              from the covered "auto";
                                                              12. War
         (2) Otherwise in the course of transit by or
              on behalf of the "insured"; or                      "Bodily injury" or "property damage" arising
                                                                  directly or indirectly out of:
         (3) Being stored, disposed of, treated or
              processed in or upon the covered                    a. War, including undeclared or civil war;
              "auto";                                             b. Warlike action by a military force, including
      b. Before the "pollutants" or any property in                  action in hindering or defending against an
          which the "pollutants" are contained are                   actual or expected attack, by any
          moved from the place where they are                        government, sovereign or other authority
          accepted by the "insured" for movement                     using military personnel or other agents; or
          into or onto the covered "auto"; or                     c. Insurrection, rebellion, revolution, usurped
      c. After the "pollutants" or any property in                   power or action taken by governmental
           which the "pollutants" are contained are                  authority in hindering or defending against
           moved from the covered "auto" to the place                any of these.
           where they are finally delivered, disposed of      13. Racing
           or abandoned by the "insured".                          Covered "autos" while used in any professional
      Paragraph a. above does not apply to fuels,                  or organized racing or demolition contest or
      lubricants, fluids, exhaust gases or other                   stunting activity, or while practicing for such
      similar "pollutants" that are needed for or result           contest or activity. This insurance also does
      from the normal electrical, hydraulic or                     not apply while that covered "auto" is being
      mechanical functioning of the covered "auto" or              prepared for such a contest or activity.
      its parts if:                                         C. Limit Of Insurance
          (1) The "pollutants" escape, seep, migrate           Regardless of the number of covered "autos",
               or are discharged, dispersed or released        "insureds", premiums paid, claims made or
               directly from an "auto" part designed by        vehicles involved in the "accident", the most we
               its manufacturer to hold, store, receive        will pay for the total of all damages and "covered
               or dispose of such "pollutants"; and            pollution cost or expense" combined resulting from
         (2) The "bodily injury", "property damage" or         any one "accident" is the Limit Of Insurance for
             "covered pollution cost or expense"               Covered Autos Liability Coverage shown in the
             does not arise out of the operation of            Declarations.
             any equipment listed in Paragraphs 6.b.
             and 6.c. of the definition of "mobile
             equipment".




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   All "bodily injury", "property damage" and "covered         3. Glass Breakage – Hitting A Bird Or Animal –
   pollution cost or expense" resulting from                      Falling Objects Or Missiles
   continuous or repeated exposure to substantially               If you carry Comprehensive Coverage for the
   the same conditions will be considered as                      damaged covered "auto", we will pay for the
   resulting from one "accident".                                 following under Comprehensive Coverage:
   No one will be entitled to receive duplicate                   a. Glass breakage;
   payments for the same elements of "loss" under
   this Coverage Form and any Medical Payments                    b. "Loss" caused by hitting a bird or animal;
   Coverage endorsement, Uninsured Motorists                          and
   Coverage endorsement or Underinsured Motorists                 c. "Loss" caused by falling objects or missiles.
   Coverage endorsement attached to this Coverage                 However, you have the option of having glass
   Part.                                                          breakage caused by a covered "auto's"
SECTION III – PHYSICAL DAMAGE COVERAGE                            collision or overturn considered a "loss" under
A. Coverage                                                       Collision Coverage.
   1. We will pay for "loss" to a covered "auto" or its        4. Coverage Extensions
      equipment under:                                            a. Transportation Expenses
      a. Comprehensive Coverage                                      We will pay up to $20 per day, to a
         From any cause except:                                      maximum       of     $600,     for  temporary
                                                                     transportation expense incurred by you
         (1) The covered "auto's"        collision   with            because of the total theft of a covered
             another object; or                                      "auto" of the private passenger type. We
        (2) The covered "auto's" overturn.                           will pay only for those covered "autos" for
      b. Specified Causes Of Loss Coverage                           which you carry either Comprehensive or
                                                                     Specified Causes Of Loss Coverage. We
         Caused by:                                                  will pay for temporary transportation
         (1) Fire, lightning or explosion;                           expenses incurred during the period
         (2) Theft;                                                  beginning 48 hours after the theft and
                                                                     ending, regardless of the policy's expiration,
        (3) Windstorm, hail or earthquake;                           when the covered "auto" is returned to use
        (4) Flood;                                                   or we pay for its "loss".
        (5) Mischief or vandalism; or                             b. Loss Of Use Expenses
        (6) The sinking, burning, collision or                       For Hired Auto Physical Damage, we will
            derailment     of    any    conveyance                   pay expenses for which an "insured"
            transporting the covered "auto".                         becomes legally responsible to pay for loss
                                                                     of use of a vehicle rented or hired without a
      c. Collision Coverage                                          driver under a written rental contract or
         Caused by:                                                  agreement. We will pay for loss of use
        (1) The covered "auto's" collision with                      expenses if caused by:
            another object; or                                      (1) Other than collision only if the
        (2) The covered "auto's" overturn.                               Declarations          indicates       that
                                                                         Comprehensive Coverage is provided
   2. Towing                                                             for any covered "auto";
      We will pay up to the limit shown in the                      (2) Specified Causes Of Loss only if the
      Declarations for towing and labor costs                            Declarations indicates that Specified
      incurred each time a covered "auto" of the                         Causes Of Loss Coverage is provided
      private passenger type is disabled. However,                       for any covered "auto"; or
      the labor must be performed at the place of
      disablement.




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         (3) Collision only if the Declarations                   b. Any device designed or used to detect
             indicates that Collision Coverage is                    speed-measuring equipment, such as radar
             provided for any covered "auto".                        or laser detectors, and any jamming
          However, the most we will pay for any                      apparatus intended to elude or disrupt
          expenses for loss of use is $20 per day, to                speed-measuring equipment.
          a maximum of $600.                                      c. Any electronic equipment, without regard to
B. Exclusions                                                        whether this equipment is permanently
                                                                     installed, that reproduces, receives or
   1. We will not pay for "loss" caused by or resulting              transmits audio, visual or data signals.
      from any of the following. Such "loss" is
      excluded regardless of any other cause or                   d. Any accessories used with the electronic
      event that contributes concurrently or in any                  equipment described in Paragraph c.
      sequence to the "loss".                                        above.
      a. Nuclear Hazard                                        5. Exclusions 4.c. and 4.d. do not apply to
                                                                  equipment designed to be operated solely by
         (1) The explosion of any weapon employing                use of the power from the "auto's" electrical
             atomic fission or fusion; or                         system that, at the time of "loss", is:
         (2) Nuclear reaction or radiation, or                    a. Permanently installed in or upon the
             radioactive contamination, however                      covered "auto";
             caused.
                                                                  b. Removable from a housing unit which is
      b. War Or Military Action                                      permanently installed in or upon the
        (1) War, including undeclared or civil war;                  covered "auto";
        (2) Warlike action by a military force,                   c. An integral part of the same unit housing
            including action in hindering or                         any electronic equipment described in
            defending against an actual or expected                  Paragraphs a. and b. above; or
            attack, by any government, sovereign or               d. Necessary for the normal operation of the
            other authority using military personnel                 covered "auto" or the monitoring of the
            or other agents; or                                      covered "auto's" operating system.
         (3) Insurrection,     rebellion,    revolution,       6. We will not pay for "loss" to a covered "auto"
               usurped power or action taken by                   due to "diminution in value".
               governmental authority in hindering or
               defending against any of these.              C. Limits Of Insurance
   2. We will not pay for "loss" to any covered "auto"         1. The most we will pay for:
      while used in any professional or organized                 a. "Loss" to any one covered "auto" is the
      racing or demolition contest or stunting activity,              lesser of:
      or while practicing for such contest or activity.              (1) The actual cash value of the damaged
      We will also not pay for "loss" to any covered                     or stolen property as of the time of the
      "auto" while that covered "auto" is being                          "loss"; or
      prepared for such a contest or activity.
                                                                     (2) The cost of repairing or replacing the
   3. We will not pay for "loss" due and confined to:                    damaged or stolen property with other
      a. Wear and tear, freezing, mechanical or                          property of like kind and quality.
          electrical breakdown.                                   b. All electronic equipment that reproduces,
      b. Blowouts, punctures or other road damage                    receives or transmits audio, visual or data
          to tires.                                                  signals in any one "loss" is $1,000, if, at the
      This exclusion does not apply to such "loss"                   time of "loss", such electronic equipment is:
      resulting from the total theft of a covered                   (1) Permanently installed in or upon the
      "auto".                                                            covered "auto" in a housing, opening or
   4. We will not pay for "loss" to any of the                           other location that is not normally used
      following:                                                         by the "auto" manufacturer for the
                                                                         installation of such equipment;
      a. Tapes, records, discs or other similar audio,
          visual or data electronic devices designed
          for use with audio, visual or data electronic
          equipment.




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         (2) Removable from a permanently installed                 (2) The "insured's" name and address; and
              housing unit as described in Paragraph                (3) To the extent possible, the names and
              b.(1) above; or                                            addresses of any injured persons and
         (3) An integral part of such equipment as                       witnesses.
              described in Paragraphs b.(1) and b.(2)             b. Additionally, you and any other involved
              above.                                                 "insured" must:
   2. An adjustment for depreciation and physical                   (1) Assume no obligation, make no
      condition will be made in determining actual                       payment or incur no expense without
      cash value in the event of a total "loss".                         our consent, except at the "insured's"
   3. If a repair or replacement results in better than                  own cost.
      like kind or quality, we will not pay for the                 (2) Immediately send us copies of any
      amount of the betterment.                                          request,     demand,      order,    notice,
D. Deductible                                                            summons or legal paper received
   For each covered "auto", our obligation to pay for,                   concerning the claim or "suit".
   repair, return or replace damaged or stolen                      (3) Cooperate with us in the investigation or
   property will be reduced by the applicable                            settlement of the claim or defense
   deductible shown in the Declarations. Any                             against the "suit".
   Comprehensive Coverage deductible shown in the                   (4) Authorize us to obtain medical records
   Declarations does not apply to "loss" caused by                       or other pertinent information.
   fire or lightning.
                                                                    (5) Submit to examination, at our expense,
SECTION IV – BUSINESS AUTO CONDITIONS                                    by physicians of our choice, as often as
The following conditions apply in addition to the                        we reasonably require.
Common Policy Conditions:                                         c. If there is "loss" to a covered "auto" or its
A. Loss Conditions                                                   equipment, you must also do the following:
   1. Appraisal For Physical Damage Loss                            (1) Promptly notify the police if the covered
      If you and we disagree on the amount of "loss",                    "auto" or any of its equipment is stolen.
      either may demand an appraisal of the "loss".                 (2) Take all reasonable steps to protect the
      In this event, each party will select a competent                  covered "auto" from further damage.
      appraiser. The two appraisers will select a                        Also keep a record of your expenses for
      competent and impartial umpire. The                                consideration in the settlement of the
      appraisers will state separately the actual cash                   claim.
      value and amount of "loss". If they fail to agree,            (3) Permit us to inspect the covered "auto"
      they will submit their differences to the umpire.                  and records proving the "loss" before its
      A decision agreed to by any two will be                            repair or disposition.
      binding. Each party will:
                                                                    (4) Agree to examinations under oath at our
      a. Pay its chosen appraiser; and                                   request and give us a signed statement
      b. Bear the other expenses of the appraisal                        of your answers.
          and umpire equally.                                  3. Legal Action Against Us
      If we submit to an appraisal, we will still retain          No one may bring a legal action against us
      our right to deny the claim.                                under this Coverage Form until:
   2. Duties In The Event Of Accident, Claim, Suit                a. There has been full compliance with all the
      Or Loss                                                        terms of this Coverage Form; and
      We have no duty to provide coverage under                   b. Under Covered Autos Liability Coverage,
      this policy unless there has been full                         we agree in writing that the "insured" has an
      compliance with the following duties:                          obligation to pay or until the amount of that
       a. In the event of "accident", claim, "suit" or               obligation has finally been determined by
          "loss", you must give us or our authorized                 judgment after trial. No one has the right
          representative prompt notice of the                        under this policy to bring us into an action
          "accident" or "loss". Include:                             to determine the "insured's" liability.
         (1) How, when and where the "accident" or
              "loss" occurred;




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   4. Loss Payment – Physical Damage                          5. Other Insurance
      Coverages                                                  a. For any covered "auto" you own, this
      At our option, we may:                                        Coverage       Form     provides    primary
      a. Pay for, repair or replace damaged or                      insurance. For any covered "auto" you don't
          stolen property;                                          own, the insurance provided by this
                                                                    Coverage Form is excess over any other
      b. Return the stolen property, at our expense.                collectible insurance. However, while a
          We will pay for any damage that results to                covered "auto" which is a "trailer" is
          the "auto" from the theft; or                             connected to another vehicle, the Covered
      c. Take all or any part of the damaged or                     Autos Liability Coverage this Coverage
          stolen property at an agreed or appraised                 Form provides for the "trailer" is:
          value.                                                   (1) Excess while it is connected to a motor
      If we pay for the "loss", our payment will                        vehicle you do not own; or
      include the applicable sales tax for the                     (2) Primary while it is connected to a
      damaged or stolen property.                                       covered "auto" you own.
   5. Transfer Of Rights Of Recovery Against                     b. For Hired Auto Physical Damage Coverage,
      Others To Us                                                  any covered "auto" you lease, hire, rent or
      If any person or organization to or for whom we               borrow is deemed to be a covered "auto"
      make payment under this Coverage Form has                     you own. However, any "auto" that is
      rights to recover damages from another, those                 leased, hired, rented or borrowed with a
      rights are transferred to us. That person or                  driver is not a covered "auto".
      organization must do everything necessary to               c. Regardless of the provisions of Paragraph
      secure our rights and must do nothing after                   a. above, this Coverage Form's Covered
      "accident" or "loss" to impair them.                          Autos Liability Coverage is primary for any
B. General Conditions                                               liability assumed under an "insured
                                                                    contract".
   1. Bankruptcy
                                                                 d. When this Coverage Form and any other
      Bankruptcy or insolvency of the "insured" or the
                                                                    Coverage Form or policy covers on the
      "insured's" estate will not relieve us of any
                                                                    same basis, either excess or primary, we
      obligations under this Coverage Form.
                                                                    will pay only our share. Our share is the
   2. Concealment, Misrepresentation Or Fraud                       proportion that the Limit of Insurance of our
      This Coverage Form is void in any case of                     Coverage Form bears to the total of the
      fraud by you at any time as it relates to this                limits of all the Coverage Forms and
      Coverage Form. It is also void if you or any                  policies covering on the same basis.
      other "insured", at any time, intentionally             6. Premium Audit
      conceals or misrepresents a material fact
                                                                 a. The estimated premium for this Coverage
      concerning:
                                                                    Form is based on the exposures you told us
      a. This Coverage Form;                                        you would have when this policy began. We
      b. The covered "auto";                                        will compute the final premium due when
                                                                    we determine your actual exposures. The
      c. Your interest in the covered "auto"; or                    estimated total premium will be credited
      d. A claim under this Coverage Form.                          against the final premium due and the first
   3. Liberalization                                                Named Insured will be billed for the
                                                                    balance, if any. The due date for the final
      If we revise this Coverage Form to provide                    premium or retrospective premium is the
      more coverage without additional premium                      date shown as the due date on the bill. If
      charge, your policy will automatically provide                the estimated total premium exceeds the
      the additional coverage as of the day the                     final premium due, the first Named Insured
      revision is effective in your state.                          will get a refund.
   4. No Benefit To Bailee – Physical Damage                     b. If this policy is issued for more than one
      Coverages                                                     year, the premium for this Coverage Form
      We will not recognize any assignment or grant                 will be computed annually based on our
      any coverage for the benefit of any person or                 rates or premiums in effect at the beginning
      organization holding, storing or transporting                 of each year of the policy.
      property for a fee regardless of any other
      provision of this Coverage Form.


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   7. Policy Period, Coverage Territory                       2. Any other land vehicle that is subject to a
      Under this Coverage Form, we cover                         compulsory or financial responsibility law or
      "accidents" and "losses" occurring:                        other motor vehicle insurance law where it is
                                                                 licensed or principally garaged.
      a. During the policy period shown in the
          Declarations; and                                   However, "auto" does not include "mobile
                                                              equipment".
      b. Within the coverage territory.
                                                           C. "Bodily injury" means bodily injury, sickness or
      The coverage territory is:                              disease sustained by a person, including death
         (1) The United States of America;                    resulting from any of these.
         (2) The territories and possessions of the        D. "Covered pollution cost or expense" means any
             United States of America;                        cost or expense arising out of:
         (3) Puerto Rico;                                     1. Any request, demand, order or statutory or
         (4) Canada; and                                         regulatory requirement that any "insured" or
                                                                 others test for, monitor, clean up, remove,
         (5) Anywhere in the world if a covered                  contain, treat, detoxify or neutralize, or in any
               "auto" of the private passenger type is           way respond to, or assess the effects of,
               leased, hired, rented or borrowed                 "pollutants"; or
               without a driver for a period of 30 days
                                                              2. Any claim or "suit" by or on behalf of a
               or less,
                                                                  governmental authority for damages because
      provided that the "insured's" responsibility to             of testing for, monitoring, cleaning up,
      pay damages is determined in a "suit" on the                removing, containing, treating, detoxifying or
      merits, in the United States of America, the                neutralizing, or in any way responding to, or
      territories and possessions of the United States            assessing the effects of, "pollutants".
      of America, Puerto Rico or Canada, or in a
      settlement we agree to.                                 "Covered pollution cost or expense" does not
                                                              include any cost or expense arising out of the
      We also cover "loss" to, or "accidents"                 actual, alleged or threatened discharge, dispersal,
      involving, a covered "auto" while being                 seepage, migration, release or escape of
      transported between any of these places.                "pollutants":
   8. Two Or More Coverage Forms Or Policies                      a. That are, or that are contained in any
      Issued By Us                                                    property that is:
      If this Coverage Form and any other Coverage                   (1) Being transported or towed by, handled
      Form or policy issued to you by us or any                           or handled for movement into, onto or
      company affiliated with us applies to the same                      from the covered "auto";
      "accident", the aggregate maximum Limit of
      Insurance under all the Coverage Forms or                      (2) Otherwise in the course of transit by or
      policies shall not exceed the highest applicable                    on behalf of the "insured"; or
      Limit of Insurance under any one Coverage                      (3) Being stored, disposed of, treated or
      Form or policy. This condition does not apply to                    processed in or upon the covered
      any Coverage Form or policy issued by us or                         "auto";
      an affiliated company specifically to apply as              b. Before the "pollutants" or any property in
      excess insurance over this Coverage Form.                       which the "pollutants" are contained are
SECTION V – DEFINITIONS                                               moved from the place where they are
                                                                      accepted by the "insured" for movement
A. "Accident" includes continuous or repeated
   exposure to the same conditions resulting in                       into or onto the covered "auto"; or
   "bodily injury" or "property damage".                          c. After the "pollutants" or any property in
B. "Auto" means:                                                      which the "pollutants" are contained are
                                                                      moved from the covered "auto" to the place
   1. A land motor vehicle, "trailer" or semitrailer                  where they are finally delivered, disposed of
      designed for travel on public roads; or                         or abandoned by the "insured".




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      Paragraph a. above does not apply to fuels,              5. That part of any other contract or agreement
      lubricants, fluids, exhaust gases or other                   pertaining to your business (including an
      similar "pollutants" that are needed for or result           indemnification of a municipality in connection
      from the normal electrical, hydraulic or                     with work performed for a municipality) under
      mechanical functioning of the covered "auto" or              which you assume the tort liability of another to
      its parts, if:                                               pay for "bodily injury" or "property damage" to a
          (1) The "pollutants" escape, seep, migrate               third party or organization. Tort liability means
              or are discharged, dispersed or released             a liability that would be imposed by law in the
              directly from an "auto" part designed by             absence of any contract or agreement; or
              its manufacturer to hold, store, receive         6. That part of any contract or agreement entered
              or dispose of such "pollutants"; and                 into, as part of your business, pertaining to the
          (2) The "bodily injury", "property damage" or            rental or lease, by you or any of your
              "covered pollution cost or expense"                  "employees", of any "auto". However, such
              does not arise out of the operation of               contract or agreement shall not be considered
              any equipment listed in Paragraph 6.b.               an "insured contract" to the extent that it
              or 6.c. of the definition of "mobile                 obligates you or any of your "employees" to
              equipment".                                          pay for "property damage" to any "auto" rented
                                                                   or leased by you or any of your "employees".
      Paragraphs b. and c. above do not apply to
      "accidents" that occur away from premises                An "insured contract" does not include that part of
      owned by or rented to an "insured" with respect          any contract or agreement:
      to "pollutants" not in or upon a covered "auto"              a. That indemnifies a railroad for "bodily injury"
      if:                                                              or "property damage" arising out of
            (a) The "pollutants" or any property in                    construction or demolition operations, within
                 which the "pollutants" are contained                  50 feet of any railroad property and
                 are upset, overturned or damaged as                   affecting any railroad bridge or trestle,
                 a result of the maintenance or use of                 tracks, roadbeds, tunnel, underpass or
                 a covered "auto"; and                                 crossing;
              (b) The discharge, dispersal, seepage,               b. That pertains to the loan, lease or rental of
                  migration, release or escape of the                  an "auto" to you or any of your
                  "pollutants" is caused directly by                   "employees", if the "auto" is loaned, leased
                  such upset, overturn or damage.                      or rented with a driver; or
E. "Diminution in value" means the actual or                       c. That holds a person or organization
   perceived loss in market value or resale value                      engaged in the business of transporting
   which results from a direct and accidental "loss".                  property by "auto" for hire harmless for your
                                                                       use of a covered "auto" over a route or
F. "Employee"       includes    a   "leased    worker".                territory that person or organization is
   "Employee" does not include a "temporary                            authorized to serve by public authority.
   worker".
                                                            I. "Leased worker" means a person leased to you by
G. "Insured" means any person or organization                  a labor leasing firm under an agreement between
   qualifying as an insured in the Who Is An Insured           you and the labor leasing firm to perform duties
   provision of the applicable coverage. Except with           related to the conduct of your business. "Leased
   respect to the Limit of Insurance, the coverage             worker" does not include a "temporary worker".
   afforded applies separately to each insured who is
   seeking coverage or against whom a claim or              J. "Loss" means direct and accidental loss or
   "suit" is brought.                                          damage.
H. "Insured contract" means:                                K. "Mobile equipment" means any of the following
                                                               types of land vehicles, including any attached
   1. A lease of premises;                                     machinery or equipment:
   2. A sidetrack agreement;                                   1. Bulldozers, farm machinery, forklifts and other
   3. Any easement or license agreement, except in                vehicles designed for use principally off public
      connection with construction or demolition                  roads;
      operations on or within 50 feet of a railroad;           2. Vehicles maintained for use solely on or next to
   4. An obligation, as required by ordinance, to                 premises you own or rent;
      indemnify a municipality, except in connection           3. Vehicles that travel on crawler treads;
      with work for a municipality;




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   4. Vehicles, whether self-propelled or not,               However, "mobile equipment" does not include
      maintained primarily to provide mobility to            land vehicles that are subject to a compulsory or
      permanently mounted:                                   financial responsibility law or other motor vehicle
      a. Power cranes, shovels, loaders, diggers or          insurance law where it is licensed or principally
          drills; or                                         garaged. Land vehicles subject to a compulsory or
                                                             financial responsibility law or other motor vehicle
      b. Road construction or resurfacing equipment          insurance law are considered "autos".
          such as graders, scrapers or rollers;
                                                          L. "Pollutants" means any solid, liquid, gaseous or
   5. Vehicles not described in Paragraph 1., 2., 3.         thermal irritant or contaminant, including smoke,
      or 4. above that are not self-propelled and are        vapor, soot, fumes, acids, alkalis, chemicals and
      maintained primarily to provide mobility to            waste. Waste includes materials to be recycled,
      permanently attached equipment of the                  reconditioned or reclaimed.
      following types:
                                                          M. "Property damage" means damage to or loss of
      a. Air compressors, pumps and generators,              use of tangible property.
          including spraying, welding, building
          cleaning, geophysical exploration, lighting     N. "Suit" means a civil proceeding in which:
          and well-servicing equipment; or                   1. Damages because of          "bodily   injury"   or
      b. Cherry pickers and similar devices used to             "property damage"; or
          raise or lower workers; or                         2. A "covered pollution cost or expense";
   6. Vehicles not described in Paragraph 1., 2., 3.         to which this insurance applies, are alleged.
      or 4. above maintained primarily for purposes          "Suit" includes:
      other than the transportation of persons or
      cargo. However, self-propelled vehicles with               a. An arbitration proceeding in which such
      the following types of permanently attached                   damages or "covered pollution costs or
      equipment are not "mobile equipment" but will                 expenses" are claimed and to which the
      be considered "autos":                                        "insured" must submit or does submit with
                                                                    our consent; or
      a. Equipment designed primarily for:
                                                                 b. Any other alternative dispute resolution
        (1) Snow removal;                                           proceeding in which such damages or
        (2) Road maintenance, but not construction                  "covered pollution costs or expenses" are
             or resurfacing; or                                     claimed and to which the insured submits
        (3) Street cleaning;                                        with our consent.
      b. Cherry pickers and similar devices mounted       O. "Temporary worker" means a person who is
         on automobile or truck chassis and used to          furnished to you to substitute for a permanent
         raise or lower workers; and                         "employee" on leave or to meet seasonal or short-
                                                             term workload conditions.
      c. Air compressors, pumps and generators,
         including spraying, welding, building            P. "Trailer" includes semitrailer.
         cleaning, geophysical exploration, lighting
         or well-servicing equipment.




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                                                                                               COMMERCIAL AUTO
                                                                                                   CA 02 67 11 12

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          FLORIDA CHANGES ---
                     CANCELLATION AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to the coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


A. Paragraph A.2.b. of the Common Policy                      D. The following is added to Paragraph A. of the
   Conditions, Cancellation, is changed to read as               Common Policy Conditions, Cancellation:
   follows:                                                      7. If this policy provides Personal Injury
       b. 45 days before the effective date of                      Protection, Property Damage Liability Coverage
           cancellation if we cancel for any other                  or both and:
           reason.                                                  a. It is a new or renewal policy, it may not be
B. Paragraph A.4. of the Common Policy Conditions,                      cancelled by the first Named Insured during
   Cancellation, is replaced by the following:                          the first 60 days immediately following the
   4. Notice of cancellation will state the effective                   effective date of the policy or renewal,
       date of, and reason(s) for, the cancellation. The                except for one of the following reasons:
       policy period will end on that date.                            (1) The covered "auto" is completely
C. Paragraph A.5. of the Common Policy Conditions,                          destroyed such that it is no longer
   Cancellation, is replaced by the following:                              operable;
   5. If this policy is cancelled, we will send the first              (2) Ownership of the covered "auto" is
       Named Insured any premium refund due. If we                          transferred; or
       cancel, the refund will be pro rata. If the first               (3) The Named Insured has purchased
       Named Insured cancels, the refund may be less                        another policy covering the motor
       than pro rata. If the return premium is not                          vehicle insured under this policy.
       refunded with the notice of cancellation or                  b. It is a new policy, we may not cancel it
       when this policy is returned to us, we will mail
                                                                        during the first 60 days immediately
       the refund within 15 working days after the date
                                                                        following the effective date of the policy for
       cancellation takes effect, unless this is an audit               nonpayment of premium unless a check
       policy.                                                          used to pay us is dishonored for any
       If this is an audit policy, then, subject to your                reason or any other type of premium
       full cooperation with us or our agent in                         payment is subsequently determined to be
       securing the necessary data for audit, we will                   rejected or invalid.
       return any premium refund due within 90 days
       of the date cancellation takes effect. If our audit
       is not completed within this time limitation, then
       we shall accept your own audit, and any
       premium refund due shall be mailed within 10
       working days of receipt of your audit.
       The cancellation will be effective even if we
       have not made or offered a refund.



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E. The following condition is added:                          2. If we fail to mail proper notice of nonrenewal
   Nonrenewal                                                    and you obtain other insurance, this policy will
                                                                 end on the effective date of that insurance.
   1. If we decide not to renew or continue this
      policy, we will mail you notice at least 45 days        3. Notice of nonrenewal will state the reason(s)
      before the end of the policy period. If we offer           for the nonrenewal and the effective date of
      to renew or continue and you do not accept,                nonrenewal. The policy period will end on that
      this policy will terminate at the end of the               date.
      current policy period. Failure to pay the
      required renewal or continuation premium
      when due shall mean that you have not
      accepted our offer.




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                                                                                          COMMERCIAL AUTO
                                                                                              CA 01 84 10 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          NEW JERSEY CHANGES –
                       PHYSICAL DAMAGE INSPECTION
For a covered "private passenger auto" licensed or principally garaged in New Jersey, this endorsement modifies
insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


The following provisions are added to Physical                3. When an inspection is required by us, the
Damage Coverage and apply in place of any                        "insured" shall cooperate and make the
conflicting policy provision:                                    "private passenger auto" available for the
A. Changes In Physical Damage Coverage                           inspection.
   Mandatory Inspection For Physical Damage                B. Changes In Definitions
   Coverage                                                   As used in this endorsement:
   1. We have the right to inspect any "private               "Private passenger auto" means a private
      passenger auto", including a non-owned                  passenger "auto" of a private passenger or station
      "private passenger auto", insured or intended           wagon type that is owned or hired and is neither
      to be insured under this Coverage Form,                 used as a public or livery conveyance for
      before Physical Damage Coverage shall be                passengers nor rented to others with a driver; and
      effective.                                              a motor vehicle with a pickup body, a delivery
   2. During the term of the policy, coverage for an          sedan, a van, or a panel truck or camper-type
      additional or replacement "private passenger            vehicle used for recreational purposes owned by
      auto" shall not become effective until the              an individual or by husband and wife who are
      "insured" notifies us and requests coverage for         residents of the same household, not customarily
      the "private passenger auto". However, if the           used in the occupation, profession or business of
      "insured" replaces a "private passenger auto"           the "insured" other than farming or ranching. An
      insured with us for at least 12 months before           "auto" owned by a farm family co-partnership or
      the replacement date with a "private passenger          corporation, which is principally garaged on a farm
      auto" acquired during the policy period, we will        or ranch and otherwise meets the definitions
      provide the same coverage which applied to              contained in this section, shall be considered a
      the replaced "private passenger auto" for three         private passenger auto owned by two or more
      days beginning on the date the "insured"                relatives resident in the same household.
      acquires the replacement "private passenger
      auto". We will also provide an additional day of
      coverage for each Saturday, Sunday or New
      Jersey state holiday falling within the three
      days. After three days, coverage will not apply
      until the "insured" notifies us and requests
      coverage for the "private passenger auto".




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                                                                                           COMMERCIAL AUTO
                                                                                               CA 01 88 10 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 NEW JERSEY CHANGES
For a covered "auto" licensed or principally garaged in New Jersey, this endorsement modifies insurance
provided under the following:

   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


A. Changes In Covered Autos Liability Coverage               B. Changes In Conditions
   1. Paragraph 1.b.(4) of the Who Is An Insured                The following is added to the Loss Payment –
      provision is replaced by the following:                   Physical Damages Coverages Condition:
         (4) Anyone other than your "employees",                   If we pay the amount necessary to repair the
             partners (if you are a partnership),                  stolen or damaged property, you have the
             members (if you are a limited liability               option to use either:
             company), or a lessee or borrower or                  a. An "auto" repair facility with whom we
             any of their "employees", while moving                    have an arrangement; or
             property to or from a covered "auto".
                                                                   b. An "auto" repair facility of your choice;
             However, this paragraph does not
             apply for coverage up to the minimum                  in any repairs to the "auto".
             financial responsibility limits specified              If you choose to use an "auto" repair facility
             in N.J.S.A. 39:6B-1.                                   other than an "auto" repair facility with whom
   2. Exclusion 11. Pollution is amended by the                     we have an arrangement, we will pay you in
      addition of the following:                                    accordance with the terms and conditions,
                                                                    including price, provided by the "auto" repair
      This exclusion does not apply for coverage up                 facility with whom we have an arrangement.
      to the minimum financial responsibility limits
      specified in N.J.S.A. 39:6B-1.




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POLICY NUMBER: BAP         0191409-00                                                       COMMERCIAL AUTO
                                                                                                CA 21 14 10 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         NEW JERSEY UNINSURED AND UNDERINSURED
                  MOTORISTS COVERAGE
For a covered "auto" licensed or principally garaged in, or "auto dealer operations" conducted in, New Jersey, this
endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.

Named Insured:

Endorsement Effective Date:


                                                    SCHEDULE


Limit Of Insurance:     $1,000,000                                                 Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Coverage                                                        b. A tentative settlement has been made
   1. We will pay all sums the "insured" is legally                   between an "insured" and the insurer of an
      entitled to recover as compensatory damages                     "underinsured motor vehicle" and we:
      from the owner or driver of an "uninsured motor                (1) Have been given prompt written notice
      vehicle" or an "underinsured motor vehicle".                       of such tentative settlement; and
      The damages must result from "bodily injury"                   (2) Advance payment to the "insured" in an
      sustained by the "insured", or "property                            amount equal to the tentative settlement
      damage" caused by an "accident". The owner's                        within 30 days after receipt of
      or driver's liability for these damages must                        notification.
      result from the ownership, maintenance or use
      of an "uninsured motor vehicle" or an                    3. Any judgment for damages arising out of a
      "underinsured motor vehicle".                               "suit" brought without our written consent is not
                                                                  binding on us.
   2. With respect to damages resulting from an
      "accident" with an "underinsured motor                B. Who Is An Insured
      vehicle", we will pay under this coverage only if        If the Named Insured is designated in the
      Paragraph a. or b. below applies:                        Schedule or Declarations as:
       a. The limit of any applicable liability bonds or       1. An individual, then the following are "insureds":
          policies has been exhausted by judgments                 a. The Named Insured and any "family
          or payments; or
                                                                      members".




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      b. Anyone else "occupying" a covered "auto"               8. "Property damage" caused by a hit-and-run
         or a temporary substitute for a covered                   vehicle.
         "auto". The covered "auto" must be out of              9. Punitive or exemplary damages.
         service because of its breakdown, repair,
         servicing, "loss" or destruction.                     10. "Bodily injury" or "property damage" sustained
                                                                   by any "insured" who is an owner of a motor
      c. Anyone for damages he or she is entitled to               vehicle:
         recover because of "bodily injury" sustained
         by another "insured".                                     a. Insured under a basic automobile insurance
                                                                      policy issued in accordance with New
   2. A partnership, limited liability company,                       Jersey law or regulation; or
      corporation or any other form of organization,
      then the following are "insureds":                           b. Required to be insured in accordance with
                                                                      New Jersey law or regulation, but not
      a. Anyone "occupying" a covered "auto" or a                     insured for this coverage or any similar
         temporary substitute for a covered "auto".                   coverage.
         The covered "auto" must be out of service
         because of its breakdown, repair, servicing,              However, this exclusion does not apply to an
         "loss" or destruction.                                    individual Named Insured, and such Named
                                                                   Insured's spouse, unless the individual Named
      b. Anyone for damages he or she is entitled to               Insured or such Named Insured's spouse is
         recover because of "bodily injury" sustained              "occupying", at the time of an "accident", a
         by another "insured".                                     motor vehicle described in Subparagraph a. or
      c. The Named Insured for "property damage"                   b. above.
         only.                                                 11. "Bodily injury" or "property damage" arising
C. Exclusions                                                      directly or indirectly out of:
   This insurance does not apply to any of the                     a. War, including undeclared or civil war;
   following:                                                      b. Warlike action by a military force, including
   1. With respect to an "uninsured motor vehicle",                    action in hindering or defending against an
      any claim settled without our consent.                           actual or expected attack, by any
   2. Damages for pain, suffering and inconvenience                    government, sovereign or other authority
      resulting from "bodily injury" caused by an                      using military personnel or other agents; or
      "accident" involving an "uninsured motor                     c. Insurrection, rebellion, revolution, usurped
      vehicle" or an "underinsured motor vehicle",                     power, or action taken by governmental
      unless the injured person has a legal right to                   authority in hindering or defending against
      recover damages for such pain, suffering and                     any of these.
      inconvenience under the New Jersey                     D. Limit Of Insurance
      Automobile Reparation Reform Act. The
      injured person's legal right to recover damages           1. Regardless of the number of covered "autos",
      for pain, suffering and inconvenience under the              "insureds", premiums paid, claims made or
      New Jersey Automobile Reparation Reform Act                  vehicles involved in the "accident", the Limit Of
      will be determined by the liability tort limitation,         Insurance shown in the Schedule or
      if any, applicable to that person.                           Declarations for Uninsured Motorists Coverage
                                                                   and Underinsured Motorists Coverage is the
   3. The direct or indirect benefit of any insurer or             most we will pay for all damages resulting from
      self-insurer under any workers' compensation,                any one "accident" with an "uninsured motor
      disability benefits or similar law.                          vehicle" or an "underinsured motor vehicle".
   4. The direct or indirect benefit of any insurer of             a. However, subject to our maximum Limit of
      property.                                                        Insurance for this coverage, if:
   5. Anyone using a vehicle without a reasonable                     (1) An "insured" is not the individual Named
      belief that the person is entitled to do so.                        Insured under this policy;
   6. "Property damage" for which the "insured" has                   (2) That "insured" is an individual Named
      been or is entitled to be compensated by other                      Insured under one or more other
      property or physical damage insurance.                              policies providing similar coverage; and
   7. The first $500 of the amount of "property                       (3) All such other policies have a Limit of
      damage" to the property of each "insured" as                        Insurance for similar coverage which is
      the result of any one "accident".                                   less than the Limit of Insurance for this
                                                                          coverage;



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          then the most we will pay for all damages        E. Changes In Conditions
          resulting from any one "accident" with an           The Conditions are changed for Uninsured And
          "uninsured      motor     vehicle"   or    an       Underinsured Motorists Coverage as follows:
          "underinsured motor vehicle" shall not
          exceed the highest applicable Limit of              1. Other Insurance in the Auto Dealers and
          Insurance under any Coverage Form or                   Business Auto Coverage Forms and Other
          policy providing coverage to that "insured"            Insurance – Primary And Excess Insurance
          as an individual Named Insured.                        Provisions in the Motor Carrier Coverage
                                                                 Form are replaced by the following:
      b. However, subject to our maximum Limit of
          Insurance for this coverage, if:                       If there is other applicable insurance available
                                                                 under one or more policies or provisions of
         (1) An "insured" is not the individual Named            coverage:
              Insured under this policy or any other
              policy;                                            a. The maximum recovery under all Coverage
                                                                     Forms or policies combined may equal but
         (2) That "insured" is insured as a "family                  not exceed the highest applicable limit for
              member" under one or more other                        any one vehicle under any Coverage Form
              policies providing similar coverage; and               or policy providing coverage on either a
         (3) All such other policies have a Limit of                 primary or excess basis.
              Insurance for similar coverage which is                However, if an "insured" is:
              less than the Limit of Insurance for this
              coverage;                                             (1) An individual Named Insured under one
                                                                         or more policies providing similar
          then the most we will pay for all damages                      coverage;
          resulting from any one "accident" with an
          "uninsured      motor     vehicle"   or    an             (2) Not "occupying" a vehicle owned by that
          "underinsured motor vehicle" shall not                         individual Named Insured; and
          exceed the highest applicable Limit of                    (3) Not an "employee" of a business or
          Insurance under any Coverage Form or                           corporate entity designated in the
          policy providing coverage to that "insured"                    Schedule or Declarations as a Named
          as a "family member".                                          Insured;
      However, Paragraphs D.1.a. and D.1.b. do not                   then any recovery for damages for "bodily
      apply to "employees" of a business or                          injury" or "property damage" for that
      corporate entity designated in the Schedule or                 "insured" may equal but not exceed the
      Declarations as a Named Insured.                               highest applicable limit for any one vehicle
   2. With respect to damages resulting from an                      under any Coverage Form or policy
      "accident" involving an "uninsured motor                       providing coverage to that "insured" as an
      vehicle", we will not make a duplicate payment                 individual Named Insured.
      under this coverage for any element of "loss"                  However, if an "insured" is:
      for which payment has been made by or for
                                                                        (a) Insured as a "family member" under
      anyone who is legally responsible.
                                                                             one or more policies providing
   3. With respect to damages resulting from an                              similar coverage;
      "accident" involving an "underinsured motor
                                                                        (b) Not an individual Named Insured
      vehicle", the Limit of Insurance shall be
                                                                             under this or any other policy; and
      reduced by all sums paid by or for anyone who
      may be legally responsible, including all sums                    (c) Not an "employee" of a business or
      paid under this Coverage Form's Covered                               corporate entity designated in the
      Autos Liability Coverage.                                             Schedule or Declarations as a
                                                                            Named Insured;
   4. No one will be entitled to receive duplicate
      payments for the same elements of "loss"                       then any recovery for damages for "bodily
      under this Coverage Form and any Liability                     injury" or "property damage" for that
      Coverage form attached to this Coverage Part.                  "insured" may equal but not exceed the
                                                                     highest applicable limit for any one vehicle
      We will not pay for any element of "loss" if a                 under any Coverage Form or policy
      person is entitled to receive payment for the                  providing coverage to that "insured" as a
      same element of "loss" under any personal
                                                                     "family member".
      injury protection benefits.




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      b. Any insurance we provide with respect to a             3. Transfer Of Rights Of Recovery Against
         vehicle:                                                  Others To Us is changed by adding the
        (1) The Named Insured does not own; or                     following:
        (2) Owned by the Named Insured or, if the                  If we make any payment and the "insured"
            Named Insured is an individual, any                    recovers from another party, the "insured" shall
            "family member", that is not a covered                 hold the proceeds in trust for us and pay us
            "auto" for Uninsured And Underinsured                  back the amount we have paid.
            Motorists Coverage under this Coverage                 Our rights do not apply under this provision
            Form,                                                  with respect to damages caused by an
         shall be excess over any other collectible                "accident" with an "underinsured motor vehicle"
         uninsured motorists or underinsured                       if we:
         motorists insurance providing coverage on                 a. Have been given prompt notice, in writing,
         a primary basis.                                              of a tentative settlement between an
      c. If the coverage under this Coverage Form                      "insured" and the insurer of an
         is provided:                                                  "underinsured motor vehicle"; and
        (1) On a primary basis, we will pay only our               b. Fail to advance payment to the "insured" in
              share of the loss that must be paid                     an amount equal to the tentative settlement
              under insurance providing coverage on                   within 30 days after receipt of notification.
              a primary basis. Our share is the                       If we advance payment to the "insured" in
              proportion that our limit of liability bears            an amount equal to the tentative settlement
              to the total of all applicable limits of                within 30 days after receipt of notification:
              liability for coverage on a primary basis.             (1) That payment will be separate from any
        (2) On an excess basis, we will pay only our                      amount the "insured" is entitled to
              share of the loss that must be paid                         recover under the provisions of this
              under insurance providing coverage on                       endorsement; and
              an excess basis. Our share is the                      (2) We also have a right to recover the
              proportion that our limit of liability bears                advanced payment.
              to the total of all applicable limits of
              liability for coverage on an excess basis.        4. The following condition is added:
   2. Duties In The Event Of Accident, Claim, Suit                 Arbitration
      Or Loss in the Business Auto and Motor                       a. If we and an "insured" disagree whether the
      Carrier Coverage Forms and Duties In The                        "insured" is legally entitled to recover
      Event Of Accident, Claim, Offense, Suit,                        damages from the owner or driver of an
      Loss Or Acts, Errors Or Omissions in the                        "uninsured      motor     vehicle"   or     an
      Auto Dealers Coverage Form are changed by                       "underinsured motor vehicle" or do not
      adding the following:                                           agree as to the amount of damages that are
      a. Promptly notify the police if a hit-and-run                  recoverable by that "insured", then the
         driver is involved; and                                      matter may be arbitrated. However,
                                                                      disputes concerning coverage under this
      b. Promptly send us copies of the legal papers                  endorsement may not be arbitrated. Either
         if a "suit" is brought.                                      party may make a written demand for
      c. A person seeking coverage under this                         arbitration. In this event, each party will
         endorsement must also promptly notify us,                    select an arbitrator. The two arbitrators will
         in writing, of a tentative settlement between                select a third. If they cannot agree within 30
         the "insured" and the insurer of an                          days, either may request that selection be
         "underinsured motor vehicle", and allow us                   made by a judge of a court having
         to advance payment to that "insured" in an                   jurisdiction. Each party will pay the
         amount equal to the tentative settlement                     expenses it incurs and bear the expenses
         within 30 days after receipt of notification to              of the third arbitrator equally.
         preserve our rights against the insurer,
         owner or operator of such "underinsured
         motor vehicle".




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      b. Unless both parties agree otherwise,                         (3) Owned by any governmental unit or
          arbitration will take place in the county in                    agency;
          which the "insured" lives. Local rules of law               (4) Insured under a basic automobile
          as to arbitration procedure and evidence                        insurance policy issued in accordance
          will apply. A decision agreed to by two of                      with New Jersey law or regulation;
          the arbitrators will be binding.
                                                                      (5) Operated on rails or crawler treads;
F. Additional Definitions
                                                                      (6) Designed for use mainly off public roads
   As used in this endorsement:                                           while not on public roads; or
   1. "Property damage" means damage to a                             (7) While located for use as a residence or
      covered "auto", or to any property of an                            premises.
      "insured" while contained in a covered "auto".
                                                               5. "Underinsured motor vehicle" means the
   2. "Family member" means a person related to an                following:
      individual Named Insured by blood, marriage,
      or adoption, who is a resident of such Named                a. With respect to an "insured" who:
      Insured's household, including a ward or foster                (1) Is not the individual Named Insured
      child.                                                             under this policy;
   3. "Occupying" means in, upon, getting in, on, out                (2) Is an individual Named Insured under
      or off.                                                            one or more other policies providing
   4. "Uninsured motor vehicle" means a land motor                       similar coverage; and
      vehicle or "trailer":                                         (3) Is not an "employee" of a business or
      a. For which no liability bond or policy applies                   corporate entity designated in the
          at the time of an "accident";                                  Schedule or Declarations as a Named
                                                                         Insured;
      b. For which an insuring or bonding company
          denies coverage or is or becomes                           "underinsured motor vehicle" means a land
          insolvent;                                                 motor vehicle or "trailer" of any type to
                                                                     which a liability bond or policy applies at the
      c. That, with respect to damages for "bodily                   time of an "accident", but its limit of liability
          injury" only, is a hit-and-run vehicle whose               is less than the highest applicable limit of
          operator or owner cannot be identified and                 liability under any Coverage Form or policy
          that hits, or causes an "accident" resulting               providing coverage to that "insured" as an
          in "bodily injury" without hitting:                        individual Named Insured.
         (1) An individual Named Insured or any                   b. With respect to an "insured" who:
              "family member";
                                                                    (1) Is not the individual Named Insured
         (2) A vehicle that the Named Insured or any                     under this policy or any other policy;
              "family member", if the Named Insured
              is an individual, is "occupying"; or                  (2) Is insured as a "family member" under
                                                                         one or more other policies providing
         (3) A covered "auto"; or                                        similar coverage; and
      d. For which the only available coverage is a                 (3) Is not an "employee" of a business or
          special automobile policy, as defined by                       corporate entity designated in the
          New Jersey law.                                                Schedule or Declarations as a Named
      However, an "uninsured motor vehicle" does                         Insured;
      not include any vehicle:                                        "underinsured motor vehicle" means a land
        (1) Owned by or furnished or available for                    motor vehicle or "trailer" of any type to
             the regular use of the Named Insured or                  which a liability bond or policy applies at the
             any "family member", if the Named                        time of an "accident", but its limit of liability
             Insured is an individual;                                is less than the highest applicable limit of
         (2) Owned or operated by a self-insurer                      liability under any Coverage Form or policy
             under any applicable motor vehicle law,                  providing coverage to that "insured" as a
             except a self-insurer who is or becomes                  "family member".
             insolvent and cannot provide the
             amounts required by that motor vehicle
             law;




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      c. With respect to any other "insured" who is                   (2) Owned by any governmental unit or
         not described in Paragraph a. or b. above,                       agency;
         "underinsured motor vehicle" means a land                    (3) Operated on rails or crawler treads;
         motor vehicle or "trailer" of any type to
         which a liability bond or policy applies at the              (4) Designed for use mainly off public roads
         time of an "accident", but its limit of liability                while not on public roads;
         is less than the Limit of Insurance for this                 (5) While located for use as a residence or
         coverage.                                                        premises; or
      However, an "underinsured motor vehicle"                        (6) Owned by or furnished or available for
      does not include any vehicle:                                       the regular use of the Named Insured
        (1) Owned or operated by a self-insurer                           or, if the Named Insured is an individual,
             under any applicable motor vehicle law;                      any "family member".




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POLICY NUMBER: BAP         0191409-00                                                        COMMERCIAL AUTO
                                                                                                 CA 21 72 10 09

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       FLORIDA UNINSURED MOTORISTS
                         COVERAGE --- NONSTACKED
For a covered ‘‘auto’’ licensed or principally garaged in, or ‘‘garage operations’’ conducted in, Florida, this en-
dorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Named Insured:

Endorsement Effective Date:


                                                    SCHEDULE


Limit Of Insurance:    $     1,000,000                               Each ‘‘Accident’’

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Coverage                                                        b. A tentative settlement has been made be-
   1. We will pay all sums the ‘‘insured’’ is legally                  tween an ‘‘insured’’ and the insurer of the
      entitled to recover as compensatory damages                      ‘‘underinsured motor vehicle’’ and we:
      from the owner or driver of an ‘‘uninsured mo-                  (1) Have been given prompt written notice
      tor vehicle’’. The damages must result from                          of such tentative settlement; and
      ‘‘bodily injury’’ sustained by the ‘‘insured’’                  (2) Advance payment to the ‘‘insured’’ in an
      caused by an ‘‘accident’’. The owner’s or                            amount equal to the tentative settlement
      driver’s liability for these damages must result                     within 30 days after receipt of notifica-
      from the ownership, maintenance or use of the                        tion.
      ‘‘uninsured motor vehicle’’.
                                                               3. Any judgment for damages arising out of a
   2. With respect to damages resulting from an
                                                                    ‘‘suit’’ brought without our written consent is
      ‘‘accident’’ with a vehicle described in Para-                not binding on us.
      graph b. of the definition of ‘‘uninsured motor
      vehicle’’, we will pay under this coverage only if    B. Who Is An Insured
      Paragraph a. or b. below applies:                        If the Named Insured is designated in the Declara-
       a. The limit of any applicable liability bonds or       tions as:
          policies has been exhausted by payment of            1. An individual, then the following are ‘‘insureds’’:
          judgments or settlements; or
                                                                     a. The Named Insured and any ‘‘family mem-
                                                                        bers’’.




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      b. Anyone else ‘‘occupying’’ a covered ‘‘auto’’              d. Any ‘‘insured’’ with respect to damages for
          or a temporary substitute for a covered                       pain, suffering, mental anguish or inconven-
          ‘‘auto’’. The covered ‘‘auto’’ must be out of                 ience unless the ‘‘bodily injury’’ consists in
          service because of its breakdown, repair,                     whole or in part of:
          servicing, ‘‘loss’’ or destruction.                          (1) Significant and permanent loss of an
       c. Anyone for damages he or she is entitled to                       important bodily function;
          recover because of ‘‘bodily injury’’ sustained               (2) Permanent injury within a reasonable
           by another ‘‘insured’’.                                          degree of medical probability, other than
   2. A partnership, limited liability company, corpo-                      scarring or disfigurement;
      ration or any other form of organization, then                   (3) Significant and permanent scarring or
      the following are ‘‘insureds’’:                                       disfigurement; or
       a. Anyone ‘‘occupying’’ a covered ‘‘auto’’ or a                 (4) Death.
           temporary substitute for a covered ‘‘auto’’.
          The covered ‘ auto’’ must be out of service           5. Punitive or exemplary damages.
           because of its breakdown, repair, servicing,         6. ‘‘Bodily injury’’ arising directly or indirectly out
          ‘‘loss’’ or destruction.                                 of:
      b. Anyone for damages he or she is entitled to                a. War, including undeclared or civil war;
          recover because of ‘‘bodily injury’’ sustained
                                                                   b. Warlike action by a military force, including
           by another ‘‘insured’’.
                                                                        action in hindering or defending against an
C. Exclusions                                                           actual or expected attack, by any govern-
   This insurance does not apply to:                                    ment, sovereign or other authority using
                                                                        military personnel or other agents; or
   1. Any claim settled or judgment reached without
      our consent, unless our right to recover pay-                c. Insurrection, rebellion, revolution, usurped
      ment has not been prejudiced by such settle-                     power, or action taken by governmental au-
      ment or judgment. However, this exclusion                        thority in hindering or defending against
      does not apply to a settlement made with the                     any of these.
      insurer of a vehicle described in Paragraph b.         D. Limit Of Insurance
      of the definition of an ‘‘uninsured motor vehi-
                                                                1. Regardless of the number of covered ‘‘autos’’,
      cle’’.
                                                                   ‘‘insureds’’, premiums paid, claims made or ve-
   2. The direct or indirect benefit of any insurer or             hicles involved in the ‘‘accident’’, the most we
      self-insurer under any workers’ compensation,                will pay for all damages resulting from any one
      disability benefits or similar law.                          ‘‘accident’’ is the limit of Uninsured Motorists
   3. Anyone using a vehicle without a reasonable                  Coverage shown in the Schedule or Declara-
      belief that the person is entitled to do so.                 tions.
   4. ‘‘Bodily injury’’ sustained by:                           2. No one will be entitled to receive duplicate
                                                                   payments for the same elements of ‘‘loss’’ un-
       a. An individual Named Insured while ‘‘occupy-              der this coverage form and any Liability Cover-
          ing’’ or when struck by a vehicle owned by               age form, No-fault Coverage endorsement,
           that individual Named Insured that is not a             Medical Payments Coverage endorsement, or
          covered ‘‘auto’’ for Uninsured Motorists                 Uninsured Motorists Coverage endorsement at-
          Coverage under this coverage form;                       tached to this Coverage Part.
      b. Any ‘‘family member’’ while ‘‘occupying’’ or           3. We will not make a duplicate payment under
          when struck by any vehicle owned by that                 this coverage for any element of ‘‘loss’’ for
          ‘‘family member’’ that is not a covered ‘‘auto’’         which payment has been made by or for any-
          for Uninsured Motorists Coverage under                   one who is legally responsible.
           this coverage form;
                                                                4. We will not pay for any element of ‘‘loss’’ if a
      c. Any ‘‘family member’’ while ‘‘occupying’’ or              person is entitled to receive payment for the
          when struck by any vehicle owned by the                  same element of ‘‘loss’’ under any workers’
          Named Insured that is insured for Unin-                  compensation, disability benefits or similar law.
          sured Motorists Coverage on a primary ba-
          sis under any other coverage form or pol-
          icy; or
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E. Changes In Conditions                                                 (2) On an excess basis, we will pay only our
   The Conditions are changed for Uninsured Motor-                             share of the loss that must be paid un-
   ists Coverage Nonstacked as follows:                                        der insurance providing coverage on an
                                                                               excess basis. Our share is the propor-
   1. Other Insurance in the Business Auto and                                 tion that our limit of liability bears to the
       Garage Coverage Forms and Other Insurance                               total of all applicable limits of liability for
       ---- Primary And Excess Insurance Provisions in                         coverage on an excess basis.
       the Truckers and Motor Carrier Coverage
       Forms are replaced by the following:                        2. Duties In The Event Of Accident, Claim, Suit Or
                                                                      Loss is changed by adding the following:
        a. If there is other applicable insurance avail-
             able under one or more coverage forms,                   a. Promptly notify the police if a hit-and-run
             policies or provisions of coverage, any re-                  driver is involved; and
             covery for damages sustained by an indi-                 b. Promptly send us copies of the legal papers
             vidual Named Insured or any ‘‘family mem-                    if a ‘‘suit’’ is brought.
             ber’’:                                                   c. A person seeking Uninsured Motorists
            (1) While ‘‘occupying’’ a vehicle owned by                    Coverage must also promptly notify us in
                 that Named Insured or any ‘‘family mem-                  writing by certified or registered mail of a
                 ber’’ may equal, but not exceed, the limit               tentative settlement between the ‘‘insured’’
                 of insurance for Uninsured Motorists                     and the insurer of the vehicle described in
                 Coverage applicable to that vehicle.                     Paragraph b. of the definition of an ‘‘unin-
            (2) While ‘‘occupying’’ a vehicle not owned                   sured motor vehicle’’ and allow us 30 days
                 by that Named Insured or any ‘‘family                    to advance payment to that ‘‘insured’’ in an
                 member’’ may equal, but not exceed, the                  amount equal to the tentative settlement to
                 sum of:                                                  preserve our rights against the insurer,
                                                                          owner or operator of such vehicle de-
                (a) The limit of insurance for Uninsured                  scribed in Paragraph b. of the definition of
                     Motorists Coverage applicable to the                 an ‘‘uninsured motor vehicle’’.
                     vehicle such Named Insured or any
                     ‘‘family member’’ was ‘‘occupying’’ at        3. Transfer Of Rights Of Recovery Against Others
                     the time of the ‘‘accident’’; and                To Us is changed by adding the following:
                (b) The highest limit of insurance for                If we make any payment and the ‘‘insured’’ re-
                     Uninsured Motorists Coverage appli-              covers from another party, the ‘‘insured’’ shall
                     cable to any one vehicle under any               hold the proceeds in trust for us and pay us
                     one policy affording coverage to                 back the amount we have paid.
                     such Named Insured or any ‘‘family               Our rights do not apply under this provision
                     member’’.                                        with respect to Uninsured Motorists Coverage
            (3) While not ‘‘occupying’’ any vehicle may               if we:
                 equal, but not exceed, the highest limit             a. Have been given prompt written notice of a
                 of insurance for Uninsured Motorists                     tentative settlement between an ‘‘insured’’
                 Coverage applicable to any one vehicle                   and the insurer of a vehicle described in
                 under any one policy affording coverage                  Paragraph b. of the definition of an ‘‘unin-
                 to an individual Named Insured or any                    sured motor vehicle’’; and
                 ‘‘family member’’.                                   b. Fail to advance payment to the ‘‘insured’’ in
       b. Any insurance we provide with respect to a                      an amount equal to the tentative settlement
             vehicle the Named Insured does not own                       within 30 days after receipt of notification.
             shall be excess over any collectible unin-               If we advance payment to the ‘‘insured’’ in an
             sured motorists insurance providing cover-               amount equal to the tentative settlement within
             age on a primary basis.                                  30 days after receipt of notification:
        c. If the coverage under this coverage form is                a. That payment will be separate from any
             provided:                                                    amount the ‘‘insured’’ is entitled to recover
            (1) On a primary basis, we will pay only our                  under the provisions of Uninsured Motor-
                 share of the loss that must be paid un-                  ists Coverage; and
                 der insurance providing coverage on a                b. We also have a right to recover the ad-
                 primary basis. Our share is the propor-                  vanced payment.
                 tion that our limit of liability bears to the
                 total of all applicable limits of liability for
                 coverage on a primary basis.
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4. The following condition is added:                               (2) A written request for mediation must be
   a. Arbitration                                                       filed with the Florida Department of Fi-
                                                                        nancial Services on an approved form,
      (1) If we and an ‘‘insured’’ do not agree:                        which may be obtained from the Florida
          (a) Whether that person is legally entitled                   Department of Financial Services.
                to recover damages under this en-                  (3) The request must state:
               dorsement; or
                                                                       (a) Why mediation is being requested.
          (b) As to the amount of damages that
                are recoverable by that person;                       (b) The issues in dispute, which are to
                                                                             be mediated.
           Then the matter may be mediated, in ac-
           cordance with the Mediation Provision                   (4) The Florida Department of Financial
           contained in General Conditions, if the                      Services will randomly select mediators.
           damages resulting from ‘‘bodily injury’’                     Each party may reject one mediator, ei-
           are for $10,000 or less, or arbitrated.                      ther before or after the opposing side
           However, disputes concerning coverage                        has rejected a mediator. The mediator
           under this endorsement may not be arbi-                      will notify the parties of the date, time
           trated. Both parties must agree to arbi-                     and place of the mediation conference.
           tration. In this event, each party will se-                  The mediation conference will be held
           lect an arbitrator. The two arbitrators will                 within 45 days of the request for media-
           select a third. If they cannot agree within                  tion. The conference will be held by tele-
           30 days, either may request that selec-                      phone, if feasible. Participants in the
           tion be made by a judge of a court hav-                      mediation conference must have the au-
           ing jurisdiction.                                            thority to make a binding decision, and
                                                                        must mediate in good faith. Each party
      (2) Each party will pay the expenses it in-                       will bear the expenses of the mediation
           curs and bear the expenses of the third                      equally, unless the mediator determines
           arbitrator equally.                                          that one party has not mediated in good
      (3) Unless both parties agree otherwise,                          faith.
           arbitration will take place in the county in            (5) Only one mediation may be requested
           which the ‘‘insured’’ lives. Local rules of                  for each claim unless all parties agree to
           law as to arbitration procedure and evi-                     further mediation. A party demanding
           dence will apply. A decision agreed to by                    mediation shall not be entitled to de-
           two of the arbitrators will be binding.                      mand or request mediation after a suit is
   b. Florida Arbitration Act                                           filed relating to the same facts already
       If we and an ‘‘insured’’ agree to arbitration,                   mediated.
       the Florida Arbitration Act will not apply.                 (6) The mediation shall be conducted as an
                                                                        informal process and formal rules of evi-
   c. Mediation
                                                                        dence and procedures need not be ob-
      (1) In any claim filed by an ‘‘insured’’ with us                  served.
           for:
                                                          F. Additional Definitions
          (a) ‘‘Bodily injury’’ in an amount of
                $10,000 or less, arising out of the          As used in this endorsement:
                ownership, operation, use or mainte-         1. ‘‘Family member’’ means a person related to an
                nance of a covered ‘‘auto’’;                    individual Named Insured by blood, marriage
          (b) ‘‘Property damage’’ in any amount,                or adoption who is a resident of such Named
                arising out of the ownership, opera-            Insured’s household, including a ward or foster
                tion, maintenance or use of a cov-              child.
                ered ‘‘auto’’; or                            2. ‘‘Occupying’’ means in, upon, getting in, on,
          (c) ‘‘Loss’’ to a covered ‘‘auto’’ or its             out or off.
                equipment, in any amount;                    3. ‘‘Uninsured motor vehicle’’ means a land motor
                                                                vehicle or ‘‘trailer’’:
          either party may make a written demand
          for mediation of the claim prior to the in-            a. For which no liability bond or policy applies
          stitution of litigation.                                  at the time of an ‘‘accident’’;
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b. That is an underinsured motor vehicle. An                       If there is no physical contact with the land
    underinsured motor vehicle is a land motor                     motor vehicle or ‘‘trailer’’, the facts of the
    vehicle or ‘‘trailer’’ for which a ‘‘bodily injury’’           ‘‘accident’’ must be proved. We will only ac-
    liability bond or policy applies at the time of                cept competent evidence other than the tes-
    an ‘‘accident’’ but the amount paid under                      timony of a person making claims under
    that bond or policy to an ‘‘insured’’ is not                   this or any similar coverage.
    enough to pay the full amount the ‘‘insured’’              However, ‘‘uninsured motor vehicle’’ does not
    is legally entitled to recover as damages                  include any vehicle:
    caused by the ‘‘accident’’;
                                                               a. Owned by a governmental unit or agency;
c. For which an insuring or bonding company
    denies coverage or is or becomes insolvent;                b. Designed for use mainly off public roads
    or                                                             while not on public roads; or
d. For which neither the driver nor owner can                  c. Owned by or furnished or available for the
    be identified. The land motor vehicle or                       regular use of the Named Insured, or if the
    ‘‘trailer’’ must:                                              Named Insured is an individual, any ‘‘family
                                                                   member’’ unless it is a covered ‘‘auto’’ to
   (1) Hit an individual Named Insured or any                      which the coverage form’s Liability Cover-
         ‘‘family member’’, a covered ‘‘auto’’ or a                age applies and liability coverage is ex-
         vehicle such Named Insured or any                         cluded for any person or organization other
         ‘‘family member’’ is ‘‘occupying’’; or
                                                                   than the Named Insured, or if the Named
   (2) Cause an ‘‘accident’’ resulting in ‘‘bodily                 Insured is an individual, any ‘‘family mem-
       injury’’ to an individual Named Insured                     ber’’.
       or any ‘‘family member’’ without hitting
       that Named Insured, any ‘‘family mem-
       ber’’, a covered ‘‘auto’’ or a vehicle such
       Named Insured or any ‘‘family member’’
       is ‘‘occupying’’.
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  POLICY NUMBER: BAP         0191409-00                                                        COMMERCIAL AUTO
                                                                                                   CA 22 10 01 13

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                FLORIDA PERSONAL INJURY PROTECTION
  For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in, Florida, this
  endorsement modifies insurance provided under the following:

     BUSINESS AUTO COVERAGE FORM
     GARAGE COVERAGE FORM
     MOTOR CARRIER COVERAGE FORM
     TRUCKERS COVERAGE FORM

  With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
  modified by the endorsement.
  This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
  below.

   Named Insured:

   Endorsement Effective Date:


  We agree with the "named insured", subject to all the provisions of this endorsement and to all of the provisions of
  the policy except as modified herein, as follows that:

                                                     SCHEDULE

  Any Personal Injury Protection deductible shown in the Declarations of
  is applicable to     the following "named insured" only:


       Work loss for "named insured" does not apply.
       Work loss for "named insured" and dependent "family member" does not apply.
   Benefits                                                 Limit Per Person
   Total Aggregate Limit for all Personal Injury Protection $10,000
   Benefits, except Death Benefits
   Death Benefits                                          $5,000

   Medical Expenses                                        80% of medical expenses subject to the total aggregate limit
                                                           and the provisions of Paragraphs D.2.a. and b. under Limit
                                                           Of Insurance.
   Work Loss                                               60% of work loss subject to the total aggregate limit
   Replacement Services Expenses                           subject to the total aggregate limit
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




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A. Coverage                                                            (4) An entity wholly owned by one or more
   We will pay Personal Injury Protection benefits in                       licensed       physicians,    osteopathic
   accordance with the Florida Motor Vehicle No-                            physicians, chiropractic physicians or
   fault Law to or for an "insured" who sustains                            dentists; or by such practitioners and
   "bodily injury" in an "accident" arising out of the                      the spouse, parent, child, or sibling of
   ownership, maintenance or use of a "motor                                such practitioners;
   vehicle". Subject to the limits shown in the                        (5) An entity that owns or is wholly owned,
   Schedule, these Personal Injury Protection                               directly or indirectly, by a hospital or
   benefits consist of the following:                                       hospitals;
   1. Medical Expenses                                                 (6) A licensed physical therapist, based
       a. All reasonable "medically necessary"                              upon referral by a provider described
          expenses for medical, surgical, X-ray,                            in Paragraph A.1.b; or
          dental, ambulance, hospital, professional                    (7) A health care clinic licensed under the
          nursing     and     rehabilitative services,                      Florida Health Care Clinic Act:
          including prosthetic devices. However, we                        (a) Which is accredited by the Joint
          will pay for these benefits only if the                                Commission on Accreditation of
          "insured" receives initial services and care                           Healthcare      Organizations,     the
          within 14 days after the "motor vehicle"                               American Osteopathic Association,
          "accident" that are:
                                                                                 the Commission on Accreditation of
         (1) Lawfully provided, supervised, ordered                              Rehabilitation Facilities or the
              or prescribed by a licensed physician,                             Accreditation     Association       for
              dentist or chiropractic physician;                                 Ambulatory Health Care, Inc.; or
         (2) Provided in a hospital or in a facility                      (b) Which:
              that owns, or is wholly owned by, a                                (i) Has a licensed medical director;
              hospital; or
                                                                                (ii) Has been continuously licensed
         (3) Provided by a person or entity licensed                                 for more than three years or is a
              to provide emergency transportation                                    publicly traded corporation that
              and treatment;                                                         issues securities traded on an
          as authorized by the Florida Motor Vehicle                                 exchange registered with the
          No-fault Law.                                                              United States Securities and
      b. Upon referral by a licensed health care                                     Exchange Commission as a
          provider described in Paragraph A.1.a.(1),                                 national securities exchange;
          (2) or (3), follow-up services and care                                    and
          consistent with the underlying medical                               (iii) Provides at least four of the
          diagnosis rendered pursuant to Paragraph                                   following medical specialties:
          A.1.a., if provided, supervised, ordered or                               i. General medicine;
          prescribed only by a licensed:
                                                                                   ii. Radiography;
         (1) Physician,      osteopathic     physician,
              chiropractic physician or dentist; or                               iii. Orthopedic medicine;
         (2) Physician assistant or advanced                                      iv. Physical medicine;
              registered nurse practitioner, under the                             v. Physical therapy;
              supervision     of    such     physician,                           vi. Physical rehabilitation;
              osteopathic     physician chiropractic
              physician or dentist;                                               vii. Prescribing or dispensing
                                                                                       outpatient       prescription
              as authorized by the Florida Motor                                       medication; or
              Vehicle No-fault Law.
                                                                                 viii. Laboratory services;
          Follow-up services and care may also be
          provided by:                                                  as authorized by the Florida Motor Vehicle
                                                                        No-fault Law.
         (3) A licensed hospital or ambulatory
              surgical center;                                       However, with respect to Paragraph A.1.,
                                                                     medical expenses do not include massage or
                                                                     acupuncture, regardless of the person, entity
                                                                     or licensee providing the massage or
                                                                     acupuncture;


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   2. Replacement Services Expenses                             6. To any person, other than the "named
      With respect to the period of disability of the              insured", if that person is the "owner" of a
      injured person, all expenses reasonably                      "motor vehicle" for which security is required
      incurred in obtaining from others ordinary                   under the Florida Motor Vehicle No-fault Law;
      and necessary services in lieu of those that,             7. To any person, other than the "named
      but for such injury, the injured person would                insured", or any "family member", who is
      have performed without income for the benefit                entitled to personal injury protection benefits
      of his or her household;                                     from the owner of a "motor vehicle" that is not
   3. Work Loss                                                    a covered "motor vehicle" under this
                                                                   insurance or from the "owner’s" insurer; or
      With respect to the period of disability of the
      injured person, any loss of income and                    8. To any person who sustains "bodily injury"
      earning capacity from inability to work                      while "occupying" a "motor vehicle" located for
      proximately caused by the injury sustained by                use as a residence or premises.
      the injured person; and                                D. Limit Of Insurance
   4. Death Benefits                                            1. Regardless of the number of persons insured,
B. Who Is An Insured                                               policies or bonds applicable, premiums paid,
                                                                   vehicles involved or claims made, the total
   1. The "named insured".                                         aggregate limit of personal injury protection
   2. If the "named insured" is an individual, any                 benefits, available under the Florida Motor
      "family member".                                             Vehicle No-fault Law from all sources
   3. Any other person while "occupying" a covered                 combined, including this policy, for or on
      "motor vehicle" with the "named insured’s"                   behalf of any one person who sustains "bodily
      consent.                                                     injury" as the result of any one "accident",
                                                                   shall be:
   4. A "pedestrian" if the "accident" involves the
      covered "motor vehicle".                                     a. $10,000 for medical expenses, work loss
                                                                       and replacement services; and
C. Exclusions
                                                                   b. $5,000 for death benefits.
   We will not pay Personal Injury Protection
   benefits for "bodily injury":                                2. Subject to Paragraph D.1.a., we will pay:
                                                                   a. Up to $10,000 for medical expenses, if a
   1. Sustained by the "named insured" or any
                                                                       licensed physician, dentist, physician
      "family member" while "occupying" any "motor
                                                                       assistant or an advanced registered nurse
      vehicle" owned by the "named insured" that is
                                                                       practitioner authorized by the Florida
      not a covered "motor vehicle";
                                                                       Motor Vehicle No-fault Law has determined
   2. Sustained by any person while operating the                      that the "insured" had an "emergency
      covered "motor vehicle" without the "named                       medical condition"; or
      insured’s" expressed or implied consent;
                                                                   b. Up to $2,500 for medical expenses, if any
   3. Sustained by any person, if such person’s                       health care provider described in
      conduct contributed to his or her "bodily                       Paragraph A.1.a. or A.1.b. has determined
      injury" under        any of the following                        that the "insured" did not have an
      circumstances:                                                  "emergency medical condition".
      a. Causing "bodily injury" to himself or                  3. Any amount paid under this coverage will be
          herself intentionally; or                                reduced by the amount of benefits an injured
      b. While committing a felony;                                person has been paid or is entitled to be paid
                                                                   for the same elements of "loss" under any
   4. To the "named insured" or any "family                        workers’ compensation law.
      member" for work loss if an entry in the
      Schedule or Declarations indicates that
      coverage for work loss does not apply;
   5. To any "pedestrian", other than the "named
      insured" or any "family member", not a legal
      resident of the state of Florida;




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   4. If personal injury protection benefits, under                 A person seeking personal injury protection
      the Florida Motor Vehicle No-fault Law, have                  benefits must submit to an examination under
      been received from any insurer for the same                   oath. The scope of questioning during the
      elements of loss and expense benefits                         examination under oath is limited to relevant
      available under this policy, we will not make                 information or information that could
      duplicate payments to or for the benefit of the               reasonably be expected to lead to relevant
      injured person. The insurer paying the                        information.
      benefits shall be entitled to recover from us its          2. Legal Action Against Us is replaced by the
      pro rata share of the benefits paid and                       following:
      expenses incurred in handling the claim.
                                                                    Legal Action Against Us
   5. The deductible amount shown in the
      Schedule will be deducted from the total                      a. No legal action may be brought against us
      amount of expenses and losses listed in                            until there has been full compliance with all
      Paragraphs A.1., A.2. and A.3. of this                             terms of this policy. In addition, no legal
      endorsement before the application of any                          action may be brought against us:
      percentage limitation for each "insured" to                       (1) Until the claim for benefits is overdue
      whom the deductible applies. The deductible                            in accordance with Paragraph F.2. of
      does not apply to the death benefit.                                   this endorsement; and
   6. Any amount paid under this coverage for                           (2) Until we are provided with a demand
      medical expenses may be limited by the                                 letter in accordance with the Florida
      medical fee schedule prescribed by the                                 Motor Vehicle No-fault Law sent to us
      Florida Motor Vehicle No-fault Law.                                    via U.S. certified or registered mail; and
E. Changes In Conditions                                                (3) With respect to the overdue claim
   The Conditions are changed for Personal Injury                            specified in the demand letter, if, within
   Protection as follows:                                                    30 days of receipt of the demand letter,
                                                                             we:
   1. Duties In The Event Of Accident, Claim, Suit
      Or Loss is replaced by the following:                                 (a) Pay the overdue claim; or
      Compliance with the following duties is a                             (b) Agree to pay for future treatment
      condition precedent to receiving benefits:                                 not yet rendered;
      In the event of an "accident", the "named                              in accordance with the requirements of
      insured" must give us or our authorized                                the Florida Motor Vehicle No-fault Law.
      representative prompt written notice of the                    b. If legal action is brought against us, all
      "accident".                                                        claims related to the same health care
      If any injured person or his or her legal                          provider or facility shall be brought in a
      representative institutes a legal action to                        single action, unless good cause can be
      recover damages for "bodily injury" against a                      shown why such claims should be
      third party, a copy of the summons, complaint                      brought separately.
      or other process served in connection with
      that legal action must be forwarded to us as
      soon as possible by the injured person or his
      or her legal representative.
      A person seeking personal injury protection
      benefits must, as soon as possible, give us
      written proof of claim, under oath if required,
      containing full particulars concerning the
      injuries and treatment received and / or
      contemplated, and send us any other
      information that will assist us in determining
      the amount due and payable.




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   3. Transfer Of Rights Of Recovery Against                   4. Concealment, Misrepresentation Or Fraud is
      Others To Us is replaced by the following:                  replaced by the following:
      Transfer Of Rights Of Recovery Against                      Concealment, Misrepresentation Or Fraud
      Others To Us                                                We do not provide coverage under this
      Unless prohibited by the Florida Motor Vehicle              endorsement for an "insured" if that "insured"
      No-fault Law, in the event of payment to or for             has committed, by a material act or omission,
      the benefit of any injured person under this                insurance fraud relating to personal injury
      coverage:                                                   protection coverage under this form, if fraud
      a. We will be reimbursed for those payments,                is admitted to in a sworn statement by the
         not including reasonable attorneys’ fees                 "insured" or if the fraud is established in a
         and other reasonable expenses, from the                  court of competent jurisdiction. Any insurance
         proceeds of any settlement or judgment                   fraud voids all personal injury protection
         resulting from any right of recovery of the              coverage arising from the claim with respect
         injured person against any person or                     to the "insured" who committed the fraud. Any
         organization legally responsible for the                 benefits paid prior to the discovery of the
         "bodily injury" from which the payment                   fraud are recoverable from that "insured".
         arises. We will also have a lien on those             5. Policy Period, Coverage Territory is replaced
         proceeds.                                                by the following:
      b. If any person to or for whom we pay                       Policy Period, Coverage Territory
         benefits has rights to recover benefits                   The insurance under this section applies only
         from another, those rights are transferred                to "accidents" which occur during the policy
         to us. That person must do everything                     period:
         necessary to secure our rights and must
         do nothing after loss to impair them.                     a. In the state of Florida;
      c. The insurer providing personal injury                     b. As respects the "named insured" or any
         protection benefits on a private passenger                    "family member", while "occupying" the
         "motor vehicle", as defined in the Florida                    covered "motor vehicle" outside the state
         Motor Vehicle No-fault Law, shall be                          of Florida but within the United States of
         entitled to reimbursement to the extent of                    America, its territories or possessions or
         the payment of personal injury protection                     Canada; and
         benefits from the "owner" or the insurer of               c. As respects the "named insured", while
         the "owner" of a commercial "motor                            "occupying" a "motor vehicle" of which a
         vehicle", as defined in the Florida Motor                     "family member" is the "owner" and for
         Vehicle No-fault Law, if such injured                         which security is maintained under the
         person sustained the injury while                             Florida Motor Vehicle No-fault Law outside
         "occupying", or while a "pedestrian"                          the state of Florida but within the United
         through being struck by, such commercial                      States of America, its territories or
         "motor vehicle". However, such insurer’s                      possessions or Canada.
         right of reimbursement under this
         Paragraph c. does not apply to an "owner"
         or registrant of a "motor vehicle" used as a
         taxicab.




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F. Additional Conditions                                           f. The mediation shall be conducted as an
   The following conditions are added:                                informal process and formal rules of
                                                                      evidence and procedures need not be
   1. Mediation                                                       observed.
      a. In any claim filed by an "insured" with us            2. Payment Of Benefits
          for:
                                                                  Personal injury protection benefits payable
         (1) "Bodily injury" in an amount of $10,000              under this Coverage Form, whether the full or
               or less, arising out of the ownership,             partial amount, may be overdue if not paid
               operation, use or maintenance of a                 within 30 days after we are furnished with
               covered "auto";                                    written notice of the covered loss and the
         (2) "Property damage" in any amount,                     amount of the covered loss in accordance
               arising out of        the ownership,               with the Florida Motor Vehicle No-fault Law.
               operation, maintenance or use of a                 However, if we have a reasonable belief that a
               covered "auto"; or                                 fraudulent insurance act has been committed
         (3) "Loss" to a covered "auto" or its                    relating to personal injury protection coverage
               equipment, in any amount,                          under this Coverage Form, we will notify the
                                                                  "insured" in writing, within 30 days after the
          either party may make a written demand
                                                                  submission of the claim, that the claim is
          for mediation of the claim prior to the
                                                                  being investigated for suspected fraud. No
          institution of litigation.
                                                                  later than 90 days after the submission of the
      b. A written request for mediation must be                  claim, we will either deny or pay the claim, in
          filed with the Florida Department of                    accordance with the Florida Motor Vehicle No-
          Financial Services on an approved form,                 fault Law.
          which may be obtained from the Florida
          Department of Financial Services.                       If we pay only a portion of a claim or reject a
                                                                  claim due to an alleged error in the claim, we,
      c. The request must state:                                  at the time of the partial payment or rejection,
         (1) Why mediation is being requested.                    will provide an itemized specification or
                                                                  explanation of benefits due to the specified
         (2) The issues in dispute, which are to be
                                                                  error. Upon receiving the specification or
               mediated.
                                                                  explanation, the person making the claim, at
      d. The Florida Department of Financial                      the person’s option and without waiving any
         Services will randomly select mediators.                 other legal remedy for payment, has 15 days
         Each party may reject one mediator, either               to submit a revised claim, which will be
         before or after the opposing side has                    considered a timely submission of written
         rejected a mediator. The mediator will                   notice of a claim.
         notify the parties of the date, time and              3. Modification Of Policy Coverages
         place of the mediation conference. The
         mediation conference will be held within 45              Any Automobile Medical Payments Coverage
         days of the request for mediation. The                   and any Uninsured Motorists Coverage
         conference will be held by telephone, if                 afforded by the policy shall be excess over
         feasible. Participants in the mediation                  any personal injury protection benefits paid or
         conference must have the authority to                    payable.
         make a binding decision, and must                        Regardless of whether the full amount of
         mediate in good faith. Each party will bear              personal injury protection benefits has been
         the expenses of the mediation equally,                   exhausted, any Medical Payments Coverage
         unless the mediator determines that one                  afforded by the policy shall pay the portion of
         party has not mediated in good faith.                    any claim for personal injury protection
      e. Only one mediation may be requested for                  medical expenses which are otherwise
         each claim unless all parties agree to                   covered but not payable due to the limitation
         further mediation. A party demanding                     of 80% of medical expense benefits but shall
         mediation shall not be entitled to demand                not be payable for the amount of the
         or request mediation after a suit is filed               deductible selected.
         relating to the same facts already
         mediated.




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   4. Medical Reports And Examinations; Payment                     If the final premium thus recomputed exceeds
      Of Claim Withheld                                             the premium shown in the Declarations, the
      As soon as practicable, the person making                     "named insured" shall pay to us the excess as
      the claim shall submit to mental and physical                 well as the amount of any return premium
      examinations at our expense when and as                       previously credited or refunded.
      often as we may reasonably require and a                   6. Special Provisions For Rented Or Leased
      copy of the medical report shall be forwarded                 Vehicles
      to such person if requested. If the person                    Notwithstanding any provision of this
      unreasonably refuses to submit to, or fails to                coverage to the contrary, if a person is injured
      appear at, an examination, we will not be liable              while "occupying", or through being struck
      for subsequent personal injury protection                     by, a "motor vehicle" rented or leased under a
      benefits. Such person’s refusal to submit to,                 rental or lease agreement which does not
      or failure to appear at, two examinations,                    specify otherwise in language required by
      raises a rebuttable presumption that such                     FLA. STAT. SECTION 627.7263(2) in at least
      person’s refusal or failure was unreasonable.                 10-point type on the face of the agreement,
      Whenever a person making a claim as a result                  the personal injury protection benefits
      of an injury sustained while committing a                     available under the Florida Motor Vehicle No-
      felony is charged with committing that felony,                fault Law and afforded under the lessor’s
      we shall withhold benefits until, at the trial                policy shall be primary.
      level, the prosecution makes a formal entry on             7. Insured’s Right To Personal Injury Protection
      the record that it will not prosecute the case
                                                                    Information
      against the person, the charge is dismissed or
      the person is acquitted.                                      a. In a dispute between us and an "insured",
                                                                         or between us and an assignee of the
   5. Provisional Premium                                                "insured’s" personal injury protection
      In the event of any change in the rules, rates,                    benefits, we will, upon request, notify such
      rating plan, premiums or minimum premiums                          "insured" or assignee that the limits for
      applicable to the insurance afforded, because                      Personal Injury Protection have been
      of an adverse judicial finding as to the                           reached. We will provide such information
      constitutionality of any provisions of the                         within 15 days after the limits for Personal
      Florida Motor Vehicle No-fault Law providing                       Injury Protection have been reached.
      for the exemption of persons from tort liability,             b. If legal action is commenced, we will, upon
      the premium stated in the Declarations for any                     request, provide an "insured" with a copy
      Liability, Medical Payments and Uninsured                          of a log of personal injury protection
      Motorists insurance shall be deemed                                benefits paid by us on behalf of the
      provisional and subject to recomputation. If                       "insured". We will provide such information
      this policy is a renewal policy, such                              within 30 days of receipt of the request for
      recomputation      shall    also   include      a                  the log from the "insured".
      determination of the amount of any return
      premium previously credited or refunded to
      the "named insured" pursuant to the Florida
      Motor Vehicle No-fault Law with respect to
      insurance afforded under a previous policy.




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G. Additional Definitions                                       4. "Named insured" means the person or
   As used in this endorsement:                                    organization named in the Declarations of the
                                                                   policy and, if an individual, shall include the
   1. "Emergency medical condition" means a                        spouse if a resident of the same household.
      medical condition manifesting itself by acute
      symptoms of sufficient severity, which may                5. "Occupying" means in or upon or entering
      include severe pain, such that the absence of                into or alighting from.
      immediate medical attention could reasonably              6. "Owner" means a person or organization who
      be expected to result in any of the following:               holds the legal title to a "motor vehicle" and
      a. Serious jeopardy to "insured’s" health;                   also includes:
      b. Serious impairment to bodily functions; or                a. A debtor having the right to possession, in
                                                                       the event a "motor vehicle" is the subject of
      c. Serious dysfunction of any bodily organ                       a security agreement;
          part.
                                                                   b. A lessee having the right to possession, in
   2. "Motor vehicle" means any self-propelled                         the event a "motor vehicle" is the subject of
      vehicle with four or more wheels which is of a                   a lease with option to purchase and such
      type both designed and required to be                            lease agreement is for a period of six
      licensed for use on the highways of Florida                      months or more; and
      and any trailer or semitrailer designed for use
      with such vehicle.                                           c. A lessee having the right to possession, in
                                                                      the event a "motor vehicle" is the subject of
      However, "motor vehicle" does not include:                      a lease without option to purchase, and
      a. A mobile home;                                               such lease is for a period of six months or
      b. Any "motor vehicle" which is used in mass                    more, and the lease agreement provides
          transit, other       than    public school                  that the lessee shall be responsible for
          transportation, and designed to transport                   securing insurance.
          more than five passengers exclusive of the            7. "Pedestrian" means a person while not an
          operator of the motor vehicle and which is               occupant of any self-propelled vehicle.
          owned by a municipality, a transit authority          8. "Medically necessary" refers to a medical
          or a political subdivision of the state.                 service or supply that a prudent physician
   3. "Family member" means a person related to                    would provide for the purpose of preventing,
      the "named insured" by blood, marriage or                    diagnosing or treating an illness, injury,
      adoption, including a ward or foster child,                  disease or symptom in a manner that is:
      who is a resident of the same household as                   a. In accordance with generally accepted
      the "named insured".                                            standards of medical practice;
                                                                    b. Clinically appropriate in terms of type,
                                                                       frequency, extent, site and duration; and
                                                                    c. Not primarily for the convenience of the
                                                                       patient, physician or other health care
                                                                       provider.




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POLICY NUMBER: BAP         0191409-00                                                       COMMERCIAL AUTO
                                                                                                CA 22 30 11 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         NEW JERSEY PERSONAL INJURY PROTECTION
For a covered "auto" licensed or principally garaged in, or "auto dealer operations" conducted in, New Jersey, this
endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.
This endorsement changes the Policy effective on the inception date of the Policy unless another date is indicated
below.

Named Insured:

Endorsement Effective Date:


                                                   SCHEDULE


                                      Extended Medical Expense Benefits

                      Benefits                                            Limit Of Insurance
Medical Expenses                                        $1,000                       Per Person Per "Accident"
‫ ܆‬Medical Expense Benefits Deductible
    Unless otherwise indicated to the left, medical expense benefits are subject to a deductible of $250 per
    "accident".
    When indicated to the left, medical expense benefits applicable to:
     A. The "named insured" and, if the "named insured" is an individual, any "family members" will be subject to
          a deductible of                           per "accident" instead of the $250 deductible.
     B. "Insured person" other than the "named insured" and, if the "named insured" is an individual, any "family
          members" shall be subject to a separate deductible of $250 per "accident".
X Medical Expense Benefits Copayment
    Medical expense benefits are subject to a copayment of 20% per "accident" for amounts payable between
    the applicable deductible and $5,000.
‫ ܆‬Deletion Of Benefits Other Than Medical Expenses Option
    All Personal Injury Protection benefits other than medical expense benefits are deleted with respect to the
    "named insured" and, if the "named insured" is an individual, any "family members", when indicated to the
    left. Refer to the Deletion Of Benefits Other Than Medical Expenses Provision.
‫ ܆‬Medical Expense Benefits-As-Secondary Option
    If the "named insured" is an individual, medical expense benefits with respect to the "named insured" and
    "family members", are secondary to the health benefits plans under which the "named insured" and "family
    members" are insured, when indicated to the left.
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.



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A. Coverages                                                     b. Income Continuation Benefits
   1. Personal Injury Protection                                    An amount not exceeding a limit of $100
      We will pay personal injury protection benefits               per week and a total limit of $5,200 payable
      for "bodily injury" sustained by an "eligible                 for the loss of income of an "income
      injured person" or an "insured person" caused                 producer" during his or her lifetime, as a
      by an "accident" occurring during the policy                  result of "bodily injury" disability, not to
      period and arising out of the ownership,                      exceed net "income" normally earned
      maintenance or use, including loading or                      during the period in which benefits are
      unloading, of a "private passenger auto" as an                payable.
      auto.                                                      c. Essential Services Benefits
      These Personal Injury Protection Benefits                     An amount not exceeding a limit of $12 per
      consist of:                                                   day and a total limit of $4,380 payable to an
      a. Medical Expense Benefits                                   "eligible injured person" as reimbursement
                                                                    for payments made to others, for substitute
          An amount not exceeding $250,000 per                      essential services of the type actually
          person per "accident" for reasonable and                  rendered during his or her lifetime and
          necessary expenses incurred for medical,                  which he or she would ordinarily have
          surgical, rehabilitative and diagnostic                   performed not for "income" but for the care
          treatments and services, hospital expenses,               and maintenance of himself or herself and
          ambulance or transportation services,                     persons related to the "eligible injured
          medication and nonmedical expenses that                   person" by blood, marriage or adoption
          are prescribed by a treating "health care                 (including a ward or foster child) who are
          provider" for a permanent or significant                  residents of the same household as the
          brain, spinal cord or disfiguring injury.                 "eligible injured person".
          Nonmedical expense means charges for                   d. Death Benefits
          products and devices, not exclusively used
          for medical purposes or as durable medical                The amount or amounts payable in the
          equipment, such as vehicles, durable                      event of the death of an "eligible injured
          goods,       equipment,        appurtenances,             person" as determined below:
          improvements to real or personal property,               (1) If the "eligible injured person" was an
          fixtures and services and activities such as                 "income producer" at the time of the
          recreational activities, trips and leisure                   "accident", an amount equal to the
          activities.                                                  difference between $5,200 and all basic
          All medical expenses must be rendered by                     income continuation benefits paid for
          a "health care provider", be "clinically                     any loss of "income" resulting from his
          supported" and consistent with the                           or her injury prior to his or her death;
          symptoms, diagnosis or indications of the                (2) If the "eligible injured person" ordinarily
          "insured". They must also be consistent                      performed essential services for the
          with the most appropriate level of service                   care and maintenance of himself or
          that is in accordance with the standards of                  herself, his or her family or family
          good practice and standard professional                      household, an amount equal to the
          treatment protocols, including care paths for                difference between $4,380 and all basic
          an "identified injury". They must not be                     essential services benefits paid with
          rendered primarily for the convenience of                    respect to his or her injury prior to death.
          the "insured" or "health care provider" nor            e. Funeral Expense Benefits
          may they involve unnecessary testing or
          treatment.                                                An amount not exceeding $1,000 for
                                                                    reasonable funeral, burial and cremation
          However, medical expenses include any                     expenses incurred.
          nonmedical remedial treatment rendered in
          accordance with recognized religious
          methods of healing.




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   2. Extended Medical Expense Benefits                     B. Exclusions
      We will pay extended medical expense                     1. Personal Injury Protection
      benefits for "bodily injury" sustained by an                We will not pay Personal Injury Protection
      "insured person" caused by an "accident"                    benefits for "bodily injury":
      occurring during the policy period and arising
      out of the ownership, maintenance or use,                   a. To a person whose conduct contributed to
      including loading and unloading, of a "highway                 the "bodily injury" in any of the following
      vehicle" not owned by or furnished or available                ways:
      for the regular use of the "named insured" or                 (1) While committing a high misdemeanor
      any "family member".                                               or felony or seeking to avoid lawful
      Subject to the limits shown in the Schedule or                     apprehension or arrest by a police
      Declarations, Extended Medical Expense                             officer; or
      Benefits consist of the following:                            (2) While acting with specific intent to cause
      Reasonable expenses incurred for medical,                          injury or damage to himself or herself or
      surgical,     rehabilitative   and      diagnostic                 others;
      treatments and services, hospital expenses,                 b. To any person who, at the time of the
      ambulance        or    transportation    services,             "accident", was the owner or registrant of a
      medication and nonmedical expenses that are                    "private passenger auto" registered or
      prescribed by a treating "health care provider"                principally garaged in New Jersey that was
      for a permanent or significant brain, spinal cord              being operated without Personal Injury
      or disfiguring injury.                                         Protection Coverage;
      Nonmedical expense means charges for                        c. To any person other than the "named
      products and devices, not exclusively used for                 insured" or any "family member" or a
      medical purposes or as durable medical                         resident of New Jersey, if the "accident"
      equipment, such as vehicles, durable goods,                    occurs outside of New Jersey;
      equipment, appurtenances, improvements to
                                                                  d. Arising out of the ownership, maintenance
      real or personal property, fixtures and services
                                                                     or use, including loading or unloading, of
      and activities such as recreational activities,
                                                                     any vehicle while located for use as a
      trips and leisure activities.
                                                                     residence or premises other than for
      All medical expenses must be rendered by a                     transitory recreational purposes;
      "health care provider", be "clinically supported"
                                                                  e. Arising directly or indirectly out of:
      and consistent with the symptoms, diagnosis or
      indications of the "insured". They must also be               (1) War, including undeclared or civil war;
      consistent with the most appropriate level of                 (2) Warlike action by a military force,
      service that is in accordance with the                             including action in hindering or
      standards of good practice and standard                            defending against an actual or expected
      professional treatment protocols, including care                   attack, by any government, sovereign or
      paths for an "identified injury". They must not                    other authority using military personnel
      be rendered primarily for the convenience of                       or other agents; or
      the "insured" or "health care provider" nor may
      they involve unnecessary testing or treatment.                (3) Insurrection,      rebellion,      revolution,
                                                                         usurped power, or action taken by
      However, medical expenses include any                              governmental authority in hindering or
      nonmedical remedial treatment rendered in                          defending against any of these.
      accordance with recognized religious methods
      of healing.




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      f. Resulting from the radioactive, toxic,              2. Extended Medical Expense Benefits
         explosive or other hazardous properties of             The exclusions that apply to Personal Injury
         nuclear material;                                      Protection also apply to Extended Medical
      g. To any person, other than the "named                   Expense Benefits. In addition, the following
         insured" or any "family member", if such               exclusions are added to Extended Medical
         person is entitled to New Jersey Personal              Expense Benefits:
         Injury Protection Coverage as a "named                 a. We will not pay Extended Medical Expense
         insured" or "family member" under the                     Benefits for "bodily injury" to any "insured"
         terms of any other policy with respect to                 who is entitled to benefits for the "bodily
         such coverage;                                            injury" under:
      h. To any "family member", if such person is                (1) Personal Injury Protection Coverage; or
         entitled to New Jersey Personal Injury
         Protection Coverage as a "named insured"                 (2) Any:
         under the terms of another policy; or                        (a) Workers' compensation law; or
      i. To any person operating or occupying a                      (b) Medicare provided under federal law.
         "private passenger auto" without the
                                                                b. We will not pay Extended Medical Expense
         permission of the owner or the "named
                                                                   Benefits for "bodily injury" to any "insured"
         insured" under the Policy insuring that
                                                                   who would be entitled to benefits for the
         "auto".
                                                                   "bodily injury" under Personal Injury
      j. For the following "diagnostic tests":                     Protection Coverage, except for the
        (1) Brain mapping, when not done in                        application of a:
            conjunction         with       appropriate             (1) Deductible;
            neurodiagnostic testing;                               (2) Copayment; or
        (2) Iridology;
                                                                   (3) Medical fee schedule promulgated by
        (3) Mandibular tracking and simulation;                        the New Jersey Department of Banking
        (4) Reflexology;                                               and Insurance.
        (5) Spinal diagnostic ultrasound;                 C. Limit Of Insurance
        (6) Surface electromyography (surface                1. Any amount payable by us as Personal Injury
            EMG);                                               Protection benefits for "bodily injury" shall be
                                                                reduced by:
        (7) Surrogate arm mentoring; or
                                                                a. All amounts paid, payable or required to be
        (8) Any other "diagnostic test" that is                    provided under any workers' compensation
            determined to be ineligible for coverage               or employees' temporary disability law.
            under    Personal      Injury  Protection
            Coverage by New Jersey law or                       b. Medicare provided under federal law.
            regulation.                                         c. Benefits actually collected that are provided
      k. For the following "diagnostic tests" when                 under federal law to active and retired
         used to treat temporomandibular joint                     military personnel.
         disorder (TMJ/D):                                   2. Any amount payable by us as medical expense
        (1) Doppler ultrasound;                                 benefits will be limited by medical fee
                                                                schedules, as promulgated by the New Jersey
        (2) Electroencephalogram (EEG);                         Department of Banking and Insurance for
        (3) Needle    electromyography        (needle           specific injuries or services, or the usual,
            EMG);                                               customary and reasonable fee, whichever is
        (4) Sonography;                                         less.
        (5) Thermograms/thermographs; or
        (6) Videofluoroscopy.




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   3. Any amounts payable for medical expense                       (2) If the remaining "allowable expenses"
      benefits as the result of any one "accident"                      are:
      shall be:                                                        (a) Less than the benefits calculated in
      a. Reduced by the applicable deductible                               Paragraph (1) above, we will pay
          indicated in the Schedule or in the                               "actual benefits" equal to the
          Declarations; and                                                 remaining "allowable expenses",
      b. Subject to the copayment of 20% for the                            without reducing the remaining
          amount between the applicable deductible                          "allowable    expenses"      by    the
          and $5,000.                                                       deductible or copayment.
   4. The applicable limit of income continuation                      (b) Greater than the benefits calculated
      benefits applies separately to each full regular                      in Paragraph (1) above, we will pay
      and customary work week of an "eligible                               "actual benefits" equal to the benefits
      injured person". If this disability from work or                      calculated in Paragraph 1. above,
      employment consists of or includes only a part                        without reducing the remaining
      of such a week, we shall be liable for only that                      "allowable    expenses"      by    the
      proportion of such weekly limit that the number                       deductible or copayment.
      of days lost from work or employment during                   (3) We will not reduce the "actual benefits"
      the partial week bears to the number of days in                   determined in Paragraph 2.:
      his or her full work week.                                       (a) By any deductibles or copayments of
   5. If the Schedule or Declarations indicates that                        the health benefits plans which have
      the "named insured" has elected the Medical                           provided primary coverage for
      Expense Benefits-As-Secondary Option, the                             medical expense benefits; or
      following provisions apply to medical expense                    (b) For      any    "allowable   expense"
      benefits:                                                             remaining       uncovered      which
      a. Priority Of Benefits                                               otherwise would not be an "eligible
          (1) The health benefits plans under which                         expense" under Personal Injury
              the "named insured" and any "family                           Protection Coverage, except as set
              member" are insured shall provide                             forth in Paragraph (4) below.
              primary    coverage    for   "allowable               (4) In determining remaining uncovered
              expenses" incurred by the "named                          "allowable expenses", we shall not
              insured" and any "family member"                          consider any amount for items of
              before any medical expense benefits                       expense which exceed the dollar or
              are paid by us.                                           percent amounts recognized by the
          (2) This insurance shall provide secondary                    medical fee schedules promulgated by
              coverage for medical expense benefits                     the New Jersey Department of Banking
              for   "allowable   expenses",     which                   and Insurance.
              remained uncovered.                                   (5) The total amount of medical expense
          (3) The total benefits paid by the health                     benefits for the "named insured" or any
              benefits plans and this insurance shall                   "family member" per "accident" shall not
              not exceed the total amount of                            exceed the maximum amount payable
              "allowable expenses".                                     for medical expense benefits under this
                                                                        Policy.
      b. Determination Of Medical Expense
         Benefits Payable
        (1) To calculate the amount of "actual
            benefits" to be paid by us, we will first
            determine the amount of "eligible
            expenses" which would have been paid
            by us, after application of the deductible
            and copayment indicated in the
            Schedule or Declarations, had the
            "named insured" not elected the Medical
            Expense           Benefits-As-Secondary
            Coverage Option.




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      c. Health Benefits Plan Ineligibility                         (2) All items of medical expense incurred by
        (1) If, after the "named insured" has elected                   the "named insured" or any "family
            the Medical Expense Benefits-As-                            member" for the treatment of "bodily
            Secondary Coverage Option, it is                            injury" shall be "eligible expenses" to the
            determined that the "named insured" or                      extent the treatment or procedure from
            any "family member" did not have a                          which the expenses arose:
            health benefits plan in effect at the time                 (a) Is recognized on the medical fee
            an "accident" occurred which resulted in                        schedules promulgated by the New
            "bodily injury" to the "named insured" or                       Jersey Department of Banking and
            any "family member", medical expense                            Insurance; or
            benefits shall be provided to the "named                   (b) Are     reasonable       expenses      in
            insured" or any "family member", subject                        accordance with Section 4 of the
            to the following:                                               New Jersey Reparation Reform Act.
           (a) Only Paragraph 1. of the Limit Of                    (3) We shall be entitled to recover the
                 Insurance provision will apply with                    difference between:
                 respect to medical expense benefits.
                                                                        (a) The reduced premium paid under
           (b) Any amount payable for medical                               this Policy for the Medical Expense
               expense benefits for the "named                              Benefits-As-Secondary Option; and
               insured" and any "family member" as
               a result of any one "accident" shall:                    (b) The premium which would have
                                                                            been paid under this Policy had the
              (1) Be reduced by a deductible equal                          "named insured" not elected such
                   to the sum of $750 plus the                              option.
                   applicable deductible indicated in
                   the     Schedule    or    in   the                    We will not provide any premium
                   Declarations; and                                     reduction for the Medical Expense
                                                                         Benefits-As-Secondary Option for the
              (2) Be subject to a copayment of                           remainder of the policy period.
                   20% for amounts less than
                   $5,000 after the deductible has            6. The Limit Of Insurance shown in the Schedule
                   been applied.                                 or Declarations for weekly income continuation
                                                                 benefits shall be prorated for any period of
              (3) Be determined:                                 "bodily injury" disability less than one week.
                   (i) By the medical fee schedules        D. Changes In Conditions
                       promulgated by the New
                       Jersey      Department        of       1. The Duties In The Event Of Accident, Claim,
                       Insurance; or                             Suit Or Loss Condition in the Business Auto
                                                                 and Motor Carrier Coverage Forms and Duties
                  (ii) By us, on a reasonable basis,             In The Event Of Accident, Claim, Offense,
                       considering the medical fee               Suit, Loss Or Acts, Errors Or Omissions in
                       schedules for similar services            the Auto Dealers Coverage Form are amended
                       or equipment in the region                by the addition of the following:
                       where     the    service      or
                       equipment was provided, if an             a. If an "eligible injured person", "insured
                       item of expense is not                        person" or the legal representative or
                       included on the medical fee                   survivors of either institutes legal action to
                       schedules.                                    recover damages for injury against a
                                                                     person or organization who is or may be
               (4) Not exceed the maximum amount                     liable in tort therefor, he or she must
                   payable for medical expense                       promptly give us a copy of the summons
                   benefits under this Policy.                       and complaint or other process served in
                                                                     connection with the legal action.




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      b. The "eligible injured person", "insured                5. The following Payment Of Personal Injury
         person" or someone on their behalf must                   Protection Benefits Conditions are added:
         promptly give us written proof of claim                   a. Medical expense benefits and essential
         including:                                                   services benefits may be paid at our option
        (1) Full particulars of the nature and extent                 to the "eligible injured person", "insured
             of the "bodily injury"; and                              person" or the person or organization
        (2) Such other information that will help us                  furnishing the products or services for
             determine the amount due and payable.                    which such benefits are due. These
                                                                      benefits shall not be assignable except to
      c. The "eligible injured person" or "insured                    providers of service benefits. Any such
         person"      must      submit   to  physical                 assignment is not enforceable unless the
         examination by physicians when and as                        provider of service benefits agrees to be
         often as we reasonably require and a copy                    subject to the requirements of our Decision
         of the medical report will be forwarded to                   Point Review Plan. In the event of the death
         such "eligible injured person" or "insured                   of an "eligible injured person" or "insured
         person" if requested.                                        person" any amounts payable, but unpaid
      d. In the event of "accident", claim, "suit" or                 prior to death, for medical expense benefits
          "loss", if the notice, proof of claim or other              are payable to the "eligible injured person's"
          reasonably         obtainable      information              or "insured person's" estate.
          regarding the accident is received by us                 b. Benefits payable under Paragraph A.1.d.(1)
          more than 30 days after the accident, we                     of the description of death benefits are
          may impose an additional medical expense                     payable to the "eligible injured person's"
          benefits copayment in accordance with                        surviving spouse, or if there is no surviving
          New Jersey law or regulation. This                           spouse, to his or her surviving children, or if
          copayment shall be in addition to:                           there is not a surviving spouse or any
         (1) Any       medical     expense       benefits              surviving children, to the "eligible injured
              deductible or copayment; or                              person's" estate.
         (2) Any penalty imposed in accordance with                c. Benefits payable under Paragraph A.1.d.(2)
              our Decision Point Review Plan.                          of the description of death benefits are
   2. The Policy Period, Coverage Territory                            payable to the person who has incurred the
      Condition for Personal Injury Protection and                     expense of providing essential services.
      Extended Medical Expense Benefits, is                        d. Funeral expense benefits are payable to
      replaced by the following:                                       the "eligible injured person's" or "insured
      This Coverage Part applies only to "accidents"                   person's" estate.
      which occur during the policy period anywhere             6. The following Deletion Of Benefits Other
      in the world.                                                Than Medical Expenses Option Condition is
   3. For Extended Medical Expense Benefits, the                   added:
      Two Or More Coverage Forms Or Policies                       When the Schedule or the Declarations
      Issued By Us Condition does not apply.                       indicates that the Deletion Of Benefits Other
      However, no one will be entitled to receive                  Than Medical Expenses Option applies, we will
      duplicate payments for the same elements of                  pay personal injury protection benefits
      "loss".                                                      consisting only of medical expense benefits for
                                                                   the "named insured" and "family members".
   4. The following Reimbursement And Trust
      Condition is added:                                       7. The       following     Employee         Benefits
                                                                   Reimbursement Condition is added:
      Subject to any applicable limitations set forth in
      the New Jersey Automobile Reparation Reform                  If the "eligible injured person" or "insured
      Act, if we make any payment to any "eligible                 person"     fails    to   apply    for   workers'
      injured person" or "insured person" under this               compensation        benefits    or     employees'
      coverage and that person recovers from                       temporary disability benefits for which that
      another party, he or she shall hold the                      person is eligible, we may immediately apply to
      proceeds in trust for us and pay us back the                 the    provider     of    these    benefits   for
      amount we have paid. We will have a lien                     reimbursement of any personal injury
      against such payment, and may give notice of                 protection benefits that we have paid.
      the lien to the person or organization causing
      "bodily injury", his or her agent or insurer or a
      court having jurisdiction in the matter.


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   8. The following Proof Of Health Benefits Plan                         (f) Magnetic resonance imaging (MRI);
      Coverage Condition is added:
                                                                         (g) Nerve conduction velocity (NCV);
      If the "named insured" has elected the Medical
      Expense Benefits-As-Secondary Option, the                          (h) Somasensory         evoked   potential
      "named insured" shall provide proof that the                             (SSEP);
      "named insured" and "family members" are                            (i) Sonogram/ultrasound;
      insured by health insurance coverage or                             (j) Visual evoked potential (VEP);
      benefits in a manner and to an extent approved
      by the New Jersey Department of Banking and                        (k) Any of the following "diagnostic
      Insurance.                                                               tests" when not otherwise excluded
                                                                               under Exclusion j.:
   9. The following Special Requirements For
      Medical Expenses Conditions are added:                                   (i) Brain mapping;
      a. Care Paths For "Identified Injuries"                                 (ii) Doppler ultrasound;
           (Medical Protocols)                                               (iii) Electroencephalogram (EEG);
        (1) The New Jersey Department of Banking                            (iv) Needle        electromyography
            and Insurance has established by                                     (needle EMG);
            regulation the standard courses of
                                                                             (v) Sonography;
            medically necessary diagnosis and
            treatment for "identified injuries". These                      (vi) Thermography/thermograms;
            courses of diagnosis and treatments are                         (vii) Videofluoroscopy; or
            known as care paths.
                                                                          (l) Any other "diagnostic test" that is
            The care paths do not apply to treatment                          subject to the requirements of our
            administered during "emergency care".                             Decision Point Review Plan by New
        (2) Upon notification to us of a "bodily                              Jersey law or regulation.
            injury" covered under this Policy, we will                (2) The "diagnostic tests" listed under
            advise the "insured" of the care path                         Paragraph (1) must be administered in
            requirements established by the New                           accordance       with      New      Jersey
            Jersey Department of Banking and                              Department of Banking and Insurance
            Insurance.                                                    regulations which set forth the
        (3) Where the care paths indicate a                               requirements for the use of "diagnostic
            decision point, further treatment or the                      tests" in evaluating injuries sustained in
            administration of a diagnostic test is                        "auto" "accidents".
            subject to our Decision Point Review
                                                                          However, those requirements do not
            Plan.
                                                                          apply to "diagnostic tests" administered
            A decision point means the juncture in                        during "emergency care".
            treatment where a determination must
                                                                      (3) We will pay for other "diagnostic tests"
            be made about the continuation or                             that are:
            choice of further treatment of an
            "identified injury".                                         (a) Not subject to our Decision Point
      b. Coverage For "Diagnostic Tests"                                      Review Plan; and
        (1) In addition to the care path requirements                    (b) Not specifically excluded under
            for     an     "identified    injury",   the                      Exclusion j.; only if administered in
            administration of any of the following                            accordance with the criteria for
            "diagnostic tests" is also subject to the                         medical expenses as provided in this
            requirements of our Decision Point                                endorsement.
            Review Plan:                                           c. Decision Point Review Plan
           (a) Brain      audio      evoked     potential            (1) Coverage for certain medical expenses
                (BAEP);                                                  under this endorsement is subject to our
            (b) Brain evoked potential (BEP);                            Decision Point Review Plan, which
                                                                         provides    appropriate    notice    and
            (c) Computer assisted tomographic                            procedural requirements that must be
                studies (CT, CAT Scan);                                  adhered to in accordance with New
            (d) Dynatron/cyber station/cybex;                            Jersey law or regulation. We will provide
                                                                         a copy of this plan upon request, or in
            (e) H-reflex Study;
                                                                         the event of any claim for medical
                                                                         expenses under this coverage.


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        (2) Our Decision Point Review Plan                           (6) We may deny reimbursement of further
            includes      the     following    minimum                   treatment, testing or use of durable
            requirements as prescribed by New                            medical       equipment     for   repeated
            Jersey law or regulation:                                    unexcused failure of an "eligible injured
           (a) The requirements of the Decision                          person" or "insured person" to appear
                Point Review Plan only apply after                       for a physical scheduled examination
                the tenth day following the                              required by us in accordance with our
                "accident".                                              plan.
           (b) We must be provided prior notice as                   (7) A penalty will be imposed in accordance
                indicated     in     our    plan,   with                 with our plan if:
                appropriate "clinically supported"                      (a) We do not receive proper notice and
                findings, that additional treatment for                      "clinically supported" findings; or
                an      "identified      injury",    the                (b) Any "eligible injured person" or
                administration of a "diagnostic test"                        "insured person" fails to use a
                listed under Paragraph (1) or the use                        network in accordance with N.J.A.C.
                of durable medical equipment is                              11:3-4.8.
                required.
                                                                        (c) We do not receive proper notice for
                The notice and "clinically supported"                        treatment, "diagnostic tests" or
                findings       may        include      a                     durable medical equipment in
                comprehensive treatment plan for                             accordance with the requirements of
                additional treatment.                                        our Decision Point Review Plan.
        (3) Once we receive such notice with the                         However, no penalty will be imposed
            appropriate       "clinically     supported"                 where the proper notice or findings were
            findings, we will, in accordance with our                    received by us and we thereafter failed
            plan:                                                        to act in accordance with our plan to
           (a) Promptly review the notice and                            request further information, modify or
                supporting materials; and                                deny     reimbursement        of    further
           (b) If required as part of our review,                        treatment, "diagnostic tests" or the use
                request any additional medical                           of durable medical equipment with
                records or schedule a physical                           respect to that notice or those findings.
                examination.                                      d. Dispute Resolution
        (4) We will then determine and notify the                    If we and any person seeking Personal
            "eligible injured person" or the "insured                Injury Protection Coverage do not agree as
            person" whether we will provide                          to the recovery of Personal Injury Protection
            coverage for the additional treatment,                   Coverage under this endorsement, then the
            "diagnostic test" or use of durable                      matter may be submitted to dispute
            medical equipment as indicated in our                    resolution, on the initiative of any party to
            plan and within the applicable three                     the dispute, in accordance with N.J.A.C.
            business day requirements specified in                   11:3-5.6.
            New Jersey Department of Banking and                     However, prior to submitting such matter to
            Insurance regulations.                                   dispute resolution, providers who are
            Any determination we make will be                        assigned service benefits by an "eligible
            based on the determination of a                          injured person" or "insured person", or have
            physician. If the physician prepares a                   a power of attorney from such person, shall
            written      report    concerning     the                be subject to our internal appeals process
            examination we have required, such                       in accordance with New Jersey law or
            report will be made available to the                     regulation. Any request for dispute
            "eligible injured person" upon request.                  resolution may include a request for review
        (5) Any physical examination of an "eligible                 by a medical review organization.
            injured person" or "insured person"
            scheduled by us will be conducted in
            accordance with our plan.




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  10. The following condition is added for Personal             2. The following definitions are added for
      Injury Protection:                                           Personal Injury Protection and Extended
      Coordination And Nonduplication                              Medical Expense Benefits:
      a. Regardless of the number of "autos"                       a. "Actual benefits" means those benefits
          insured for basic personal injury protection                determined to be payable for "allowable
          coverage pursuant to Section 4 of the New                   expenses".
          Jersey Automobile Reparation Reform Act                  b. "Allowable expense" means a medically
          or the number of insurers or policies                       necessary, reasonable and customary item
          providing such coverage, there shall be no                  of expense covered as benefits by the
          duplication of payment of basic personal                    "named insured's" or "family member's"
          injury protection benefits and the aggregate                health benefits plan or personal injury
          maximum amount payable under this and                       protection benefits as an "eligible expense",
          all applicable policies with respect to "bodily             at least in part. When benefits provided are
          injury" to any one person as the result of                  in the form of services, the reasonable
          any one "accident" shall not exceed the                     monetary value of each such service shall
          applicable amounts or limits specified in                   be considered as both an "allowable
          Section 4 of said Act.                                      expense" and a paid benefit.
      b. If an "eligible injured person" under this                c. "Clinically supported" means that a "health
          coverage is also an "eligible injured person"               care provider", prior to selecting, performing
          under other complying policies, the insurer                 or ordering the administration of a treatment
          paying benefits to such person shall be                     or "diagnostic test", has:
          entitled to recover from each of the other                 (1) Physically examined the "eligible injured
          insurers an equitable pro rata share of the                     person" or "insured person" to ensure
          benefits paid. The pro rata share is the                        that the proper medical indications exist
          proportion that the insurer's liability bears to                to justify ordering the treatment or test;
          the total of all applicable limits. Complying
          Policy means a policy of automobile liability              (2) Made an assessment of any current
          insurance maintained pursuant to the                            and/or historical subjective complaints,
          requirements of Section 3 of the New                            observations,        objective    findings,
          Jersey Automobile Reparation Reform Act                         neurologic indications, and physical
          and providing basic personal injury                             tests;
          protection coverage as approved by the                     (3) Considered any and all previously
          Commissioner of Insurance.                                      performed tests that relate to the injury
  11. The following condition is added for Personal                       and the results and which are relevant
      Injury Protection and Extended Medical                              to the proposed treatment or test; and
      Expense Benefits:                                              (4) Recorded and documented these
      Medical Payments Deletion                                           observations, positive and negative
                                                                          findings and conclusions on the
      In consideration of the coverage provided for                       "insureds" medical records.
      Personal Injury Protection and Extended
      Medical Expense Benefits in Paragraphs A.1.                  d. "Diagnostic test(s)" means a medical
      and A.2. of this endorsement, and the                           service or procedure utilizing any means
      adjustment of applicable rates because of                       other than bioanalysis, intended to assist in
      "bodily injury" to an "eligible injured person",                establishing a:
      any auto medical payments coverage provided                    (1) Medical;
      under the Coverage Part is deleted with                        (2) Dental;
      respect to an "auto" which is a covered "auto".
                                                                     (3) Physical therapy;
E. Definitions
                                                                      (4) Chiropractic; or
   The Definitions section is amended as follows:
                                                                      (5) Psychological diagnosis;
   1. The definition of "bodily injury" is replaced by
      the following:                                                   for the purpose of recommending or
                                                                       developing a course of treatment for the
      "Bodily injury" means bodily harm, sickness or                   tested patient to be implemented by the
      disease, including an "identified injury" or death
                                                                       treating practitioner or by the consultant.
      that results.




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      e. "Eligible expense" means:                               h. "Health care provider" means those
        (1) In the case of health benefits plans, that              persons licensed or certified to perform
             portion of the medical expenses                        health     care    treatment      or   services
             incurred for the treatment of "bodily                  compensable as medical expenses and
             injury" which is covered under the terms               shall include, but not be limited to:
             and conditions of the plan, without                   (1) Hospital or health care facilities that are
             application of the deductible(s) and                      maintained by a state or any of its
             copayment(s), if any.                                     political subdivisions or licensed by the
        (2) In the case of personal injury protection                  Department of Health and Senior
             benefits, that portion of the medical                     Services;
             expenses incurred for the treatment of                (2) Other hospitals or health care facilities
             "bodily injury" which, without considering                designated by the Department of Health
             any deductible and copayment, shall not                   and Senior Services to provide health
             exceed:                                                   care services, or other facilities,
           (a) The percent or dollar amounts                           including facilities for radiology and
               specified on the medical fee                            diagnostic        testing,     free-standing
               schedules, or the actual billed                         emergency clinics or offices, and private
               expense, whichever is less; or                          treatment centers;
           (b) The     reasonable    amount,    as                 (3) A nonprofit voluntary visiting nurse
               determined by us, considering the                       organization providing health care
               medical fee schedules for similar                       services other than in a hospital;
               services or equipment in the region                 (4) Hospitals or other health care facilities
               where the service or equipment was                      or treatment centers located in other
               provided, when an incurred medical                      states or nations;
               expense is not included on the                      (5) Physicians licensed to practice medicine
               medical fee schedules.                                  and surgery;
      f. "Emergency care" means all treatment of a                 (6) Licensed        chiropractors,      dentists,
         "bodily injury" which manifests itself by                     optometrists, pharmacists, chiropodists
         acute symptoms of sufficient severity such                    (podiatrists), psychologists, physical
         that absence of immediate attention could                     therapists,        health       maintenance
         reasonably be expected to result in death,                    organizations,          orthotists       and
         serious impairment to bodily functions or                     prosthetists,       professional      nurses
         serious dysfunction to a bodily organ or                      occupational         therapists,     speech
         part. Such emergency care shall include all                   language pathologists, audiologists,
         medically necessary care immediately                          physician assistants, physical therapy
         following an "accident", including but not                    assistants and occupational therapy
         limited to, immediate prehospitalization                      assistants;
         care, transportation to a hospital or trauma
         center, emergency room care, surgery,                     (7) Registered bioanalytical laboratories;
         critical and acute care. Emergency care                   (8) Certified nurse-midwives and nurse
         extends during the period of initial                          practitioners/clinical nurse-specialists; or
         hospitalization   until   the   patient    is
                                                                    (9) Providers of other health care services
         discharged from acute care by the                               or supplies including durable medical
         attending physician. Emergency care shall
                                                                         goods.
         be presumed when medical care is initiated
         at a hospital within 120 hours of the                    i. "Identified injury" means the following
         "accident".                                                 "bodily injuries" for which the New Jersey
                                                                     Department of Banking and Insurance has
      g. "Family member" means a person related to                   established standard courses of medically
         the "named insured" by blood, marriage or                   necessary diagnosis and treatment:
         adoption (including a ward or foster child)
         who is a resident of the same household as                 (1) Cervical Spine: Soft Tissue Injury;
         the "named insured".                                       (2) Cervical        Spine:          Herniated
                                                                        Disc/Radiculopathy;




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        (3) Thoracic Spine: Soft Tissue Injury;                      (b) An auto used as a public or livery
        (4) Thoracic    Spine:    Herniated     Disc/                     conveyance for passengers;
             Radiculopathy;                                           (c) A pickup or panel truck, delivery
        (5) Lumbar-Sacral Spine: Soft Tissue Injury;                      sedan or utility auto customarily used
                                                                          in the occupation, profession or
        (6) Lumbar-Sacral       Spine:     Herniated                      business of an "insured" other than
             Disc/Radiculopathy; and                                      farming or ranching; or
        (7) Any other "bodily injury" for which the                  (d) A utility auto customarily used for the
             New Jersey Department of Banking and                         transportation of passengers other
             Insurance has established standard                           than members of the user's family or
             courses of appropriate diagnosis and                         their guests.
             treatment.
                                                             3. The following definition is added to the
      j. "Income" means salary, wages, tips,                    Definitions section for Personal Injury
         commissions, fees and other earnings                   Protection:
         derived from work or employment.
                                                                "Eligible injured person" means:
      k. "Income producer" means a person who, at
         the time of the "accident", was in an                  a. The "named insured" and, if the "named
         occupational status, earning or producing                  insured" is an individual, any "family
         income.                                                    member", if the "named insured" or the
                                                                    "family member" sustains "bodily injury":
      l. "Named insured" means the person or
         organization named in Item 1 of the                       (1) As a result of any "accident" while
         Declarations and, if an individual, includes                  occupying, using, entering into or
         his or her spouse if the spouse is a resident                 alighting from a "private passenger
         of the household of the "named insured",                      auto"; or
         except that if the spouse ceases to be a                  (2) While a "pedestrian", caused by a
         resident of the same household, the spouse                    "private passenger auto" or by an object
         shall be a "named insured" for the full term                  propelled by or from a "private
         of the Policy in effect at the time of                        passenger auto".
         cessation of residency. If the covered "auto"          b. Any other person who sustains "bodily
         is owned by a farm family copartnership or                injury" while, with your permission, that
         corporation, the term "named insured" also                person is occupying, using, entering into or
         includes the head of the household of each                alighting from the covered "auto".
         family designated in the Policy as having a
         working interest in the farm.                       4. The following are added to the Definitions
                                                                section for Extended Medical Expense
     m. "Pedestrian" means the "named insured"                  Benefits:
         and, if the "named insured" is an individual,
         any "family member" who is not occupying,              a. "Highway vehicle" means a land motor
         using, entering into, or alighting from a                 vehicle or trailer other than:
         vehicle propelled by other than muscular                 (1) A "private passenger auto";
         power and designed primarily for use on                  (2) A farm-type tractor or other equipment
         highways, rails and tracks.                                   designed for use principally off public
      n. "Private passenger auto" means a self-                        roads, while not upon public roads;
         propelled vehicle designed for use
                                                                   (3) A vehicle operated        on   rails   or
         principally on public roads and which is one                  crawlertreads; or
         of the following types:
                                                                  (4) A vehicle while located for use as a
        (1) A private passenger or station wagon                       residence or premises.
             type auto;
                                                                b. "Insured person" means:
        (2) A van, a pickup or panel truck or
            delivery sedan; or                                     (1) The "named insured" and, if the "named
                                                                       insured" is an individual, any "family
        (3) A utility auto designed for personal use
                                                                       member" of the "named insured", if the
            as a camper or motor home or for family                    "named insured" or "family member"
            recreational purposes.                                     sustains "bodily injury":
         A "private passenger auto" does not                          (a) While occupying, using, entering into
         include:                                                         or alighting from a "highway vehicle";
           (a) A motorcycle;                                              or


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           (b) While a "pedestrian", caused by a                 (3) Any other person who sustains "bodily
                "highway vehicle".                                   injury" occupying a covered "auto" if the
        (2) Any other person who sustains "bodily                    covered "auto" is being operated by the
            injury" while occupying a "highway                       "named insured" and, if the "named
            vehicle" (other than a motorcycle or a                   insured" is an individual, a "family
            vehicle while being used as a public or                  member", or any other person using the
            livery conveyance) if such "highway                      covered "auto" with the permission of
            vehicle" is being operated by the                        the "named insured".
            "named insured" and, if the "named
            insured" is an individual, a "family
            member", or any other person using
            such "highway vehicle" with the
            permission of the "named insured"; or




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POLICY NUMBER: BAP        0191409-00                                                          COMMERCIAL AUTO


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        NAMED INDIVIDUALS --- BROADENED PERSONAL
             INJURY PROTECTION COVERAGE
This endorsement modifies insurance provided under the following:
   PERSONAL INJURY PROTECTION ENDORSEMENT


This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Endorsement Effective

Named Insured                                             Countersigned By

                                                                        (Authorized Representative)

                                                   SCHEDULE

                 Name of Individual                                                   State           Premium

ROBERT CAPOFERRI (KATHLEEN & FRANK CAPOFERRI)                                          NJ        INCL
KEN MESSINA (PLUS SPOUSE)                                                              NJ        INCL
STEVEN PLUMMER (SUZANNE PLUMMER)                                                       NJ        INCL
BARBARA LABB (CHILDREN – NICK AND NOEL LABB)                                           NJ        INCL




(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)

An individual named in the Schedule of this endorsement shall be considered a "named insured" for the personal
injury protection coverage provided for the state shown in the Schedule.




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                                                                                           COMMERCIAL AUTO
                                                                                               CA 99 48 10 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       POLLUTION LIABILITY – BROADENED COVERAGE
        FOR COVERED AUTOS – BUSINESS AUTO AND
           MOTOR CARRIER COVERAGE FORMS
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


A. Covered Autos Liability Coverage is changed as                 "Covered pollution cost or expense" does not
   follows:                                                       include any cost or expense arising out of the
   1. Paragraph a. of the Pollution Exclusion                     actual, alleged or threatened discharge,
       applies only to liability assumed under a                  dispersal, seepage, migration, release or
       contract or agreement.                                     escape of "pollutants":
   2. With respect to the coverage afforded by                        a. Before the "pollutants" or any property in
       Paragraph A.1. above, Exclusion B.6. Care,                         which the "pollutants" are contained are
       Custody Or Control does not apply.                                 moved from the place where they are
                                                                          accepted by the "insured" for movement
B. Changes In Definitions                                                 into or onto the covered "auto"; or
   For the purposes of this endorsement, Paragraph                    b. After the "pollutants" or any property in
   D. of the Definitions Section is replaced by the                       which the "pollutants" are contained are
   following:                                                             moved from the covered "auto" to the
   D. "Covered pollution cost or expense" means any                       place where they are finally delivered,
       cost or expense arising out of:                                    disposed of or abandoned by the
       1. Any request, demand, order or statutory or                      "insured".
          regulatory requirement that any "insured" or                Paragraphs a. and b. above do not apply to
          others test for, monitor, clean up, remove,                 "accidents" that occur away from premises
          contain, treat, detoxify or neutralize, or in               owned by or rented to an "insured" with
          any way respond to, or assess the effects                   respect to "pollutants" not in or upon a
          of "pollutants"; or                                         covered "auto" if:
       2. Any claim or "suit" by or on behalf of a                       (1) The "pollutants" or any property in
          governmental authority for damages                                  which the "pollutants" are contained
          because of testing for, monitoring, cleaning                        are upset, overturned or damaged as
          up,     removing,    containing,     treating,                      a result of the maintenance or use of
          detoxifying or neutralizing, or in any way                          a covered "auto"; and
          responding to or assessing the effects of                     (2) The discharge, dispersal, seepage,
          "pollutants".                                                     migration, release or escape of the
                                                                            "pollutants" is caused directly by
                                                                            such upset, overturn or damage.




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Coverage Extension Endorsement

    Policy No.     Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.       Producer No.          Add’l. Prem         Return Prem.




                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
   Business Auto Coverage Form
   Motor Carrier Coverage Form

A. Amended Who Is An Insured
   1. The following is added to the Who Is An Insured Provision in Section II – Covered Autos Liability Coverage:
        The following are also "insureds":
        a. Any "employee" of yours is an "insured" while using a covered "auto" you don't own, hire or borrow for acts
           performed within the scope of employment by you. Any “employee” of yours is also an “insured” while
           operating an “auto” hired or rented under a contract or agreement in an “employee’s” name, with your
           permission, while performing duties related to the conduct of your business.
        b. Anyone volunteering services to you is an "insured" while using a covered "auto" you don’t own, hire or
           borrow to transport your clients or other persons in activities necessary to your business.
        c. Anyone else who furnishes an "auto" referenced in Paragraphs A.1.a. and A.1.b. in this endorsement.
        d. Where and to the extent permitted by law, any person(s) or organization(s) where required by written contract
           or written agreement with you executed prior to any "accident", including those person(s) or organization(s)
           directing your work pursuant to such written contract or written agreement with you, provided the "accident"
           arises out of operations governed by such contract or agreement and only up to the limits required in the
           written contract or written agreement, or the Limits of Insurance shown in the Declarations, whichever is less.
   2. The following is added to the Other Insurance Condition in the Business Auto Coverage Form and the Other
      Insurance – Primary and Excess Insurance Provisions Condition in the Motor Carrier Coverage Form:
        Coverage for any person(s) or organization(s), where required by written contract or written agreement with you
        executed prior to any "accident", will apply on a primary and non-contributory basis and any insurance maintained
        by the additional "insured" will apply on an excess basis. However, in no event will this coverage extend beyond
        the terms and conditions of the Coverage Form.
B. Amendment – Supplementary Payments
   Paragraphs a.(2) and a.(4) of the Coverage Extensions Provision in Section II – Covered Autos Liability
   Coverage are replaced by the following:
   (2) Up to $5,000 for the cost of bail bonds (including bonds for related traffic law violations) required because of an
       "accident" we cover. We do not have to furnish these bonds.
   (4) All reasonable expenses incurred by the "insured" at our request, including actual loss of earnings up to $500 a
       day because of time off from work.




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C. Fellow Employee Coverage
   The Fellow Employee Exclusion contained in Section II – Covered Autos Liability Coverage does not apply.
D. Driver Safety Program Liability and Physical Damage Coverage
   1. The following is added to the Racing Exclusion in Section II – Covered Autos Liability Coverage:
       This exclusion does not apply to covered "autos" participating in a driver safety program event, such as, but not
       limited to, auto or truck rodeos and other auto or truck agility demonstrations.
   2. The following is added to Paragraph 2. in the Exclusions of Section III – Physical Damage Coverage of the
      Business Auto Coverage Form and Paragraph 2.b. in the Exclusions of Section IV – Physical Damage
      Coverage of the Motor Carrier Coverage Form:
       This exclusion does not apply to covered "autos" participating in a driver safety program event, such as, but not
       limited to, auto or truck rodeos and other auto or truck agility demonstrations.
E. Lease or Loan Gap Coverage
   The following is added to the Coverage Provision of the Physical Damage Coverage Section:
   Lease Or Loan Gap Coverage
   In the event of a total "loss" to a covered "auto", we will pay any unpaid amount due on the lease or loan for a covered
   "auto", less:
   a. Any amount paid under the Physical Damage Coverage Section of the Coverage Form; and
   b. Any:
       (1) Overdue lease or loan payments at the time of the "loss";
       (2) Financial penalties imposed under a lease for excessive use, abnormal wear and tear or high mileage;
       (3) Security deposits not returned by the lessor;
       (4) Costs for extended warranties, credit life insurance, health, accident or disability insurance purchased with the
           loan or lease; and
       (5) Carry-over balances from previous leases or loans.
F. Towing and Labor
   Paragraph A.2. of the Physical Damage Coverage Section is replaced by the following:
   We will pay up to $75 for towing and labor costs incurred each time a covered "auto" of the private passenger type is
   disabled. However, the labor must be performed at the place of disablement.
G. Extended Glass Coverage
   The following is added to Paragraph A.3.a. of the Physical Damage Coverage Section:
   If glass must be replaced, the deductible shown in the Declarations will apply. However, if glass can be repaired and
   is actually repaired rather than replaced, the deductible will be waived. You have the option of having the glass
   repaired rather than replaced.
H. Hired Auto Physical Damage – Increased Loss of Use Expenses
   The Coverage Extension for Loss Of Use Expenses in the Physical Damage Coverage Section is replaced by the
   following:
   Loss Of Use Expenses
   For Hired Auto Physical Damage, we will pay expenses for which an "insured" becomes legally responsible to pay for
   loss of use of a vehicle rented or hired without a driver under a written rental contract or written rental agreement. We
   will pay for loss of use expenses if caused by:




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     (1) Other than collision only if the Declarations indicate that Comprehensive Coverage is provided for any covered
         "auto";
     (2) Specified Causes Of Loss only if the Declarations indicate that Specified Causes Of Loss Coverage is provided
         for any covered "auto"; or
     (3) Collision only if the Declarations indicate that Collision Coverage is provided for any covered "auto".
     However, the most we will pay for any expenses for loss of use is $100 per day, to a maximum of $3000.
I.   Personal Effects Coverage
     The following is added to the Coverage Provision of the Physical Damage Coverage Section:
     Personal Effects Coverage
     a. We will pay up to $750 for "loss" to personal effects which are:
         (1) Personal property owned by an "insured"; and
         (2) In or on a covered "auto".
     b. Subject to Paragraph a. above, the amount to be paid for "loss" to personal effects will be based on the lesser of:
         (1) The reasonable cost to replace; or
         (2) The actual cash value.
     c. The coverage provided in Paragraphs a. and b. above, only applies in the event of a total theft of a covered
        "auto". No deductible applies to this coverage. However, we will not pay for "loss" to personal effects of any of
        the following:
         (1) Accounts, bills, currency, deeds, evidence of debt, money, notes, securities, or commercial paper or other
             documents of value.
         (2) Bullion, gold, silver, platinum, or other precious alloys or metals; furs or fur garments; jewelry, watches,
             precious or semi-precious stones.
         (3) Paintings, statuary and other works of art.
         (4) Contraband or property in the course of illegal transportation or trade.
         (5) Tapes, records, discs or other similar devices used with audio, visual or data electronic equipment.
     Any coverage provided by this Provision is excess over any other insurance coverage available for the same "loss".
J. Tapes, Records and Discs Coverage
     1. The Exclusion in Paragraph B.4.a. of Section III – Physical Damage Coverage in the Business Auto Coverage
        Form and the Exclusion in Paragraph B.2.c. of Section IV – Physical Damage Coverage in the Motor Carrier
        Coverage Form does not apply.
     2. The following is added to Paragraph 1.a. Comprehensive Coverage under the Coverage Provision of the
        Physical Damage Coverage Section:
         We will pay for "loss" to tapes, records, discs or other similar devices used with audio, visual or data electronic
         equipment. We will pay only if the tapes, records, discs or other similar audio, visual or data electronic devices:
         (a) Are the property of an "insured"; and
         (b) Are in a covered "auto" at the time of "loss".
         The most we will pay for such "loss" to tapes, records, discs or other similar devices is $500. The Physical
         Damage Coverage Deductible Provision does not apply to such "loss".




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K. Airbag Coverage
   The Exclusion in Paragraph B.3.a. of Section III – Physical Damage Coverage in the Business Auto Coverage Form
   and the Exclusion in Paragraph B.4.a. of Section IV – Physical Damage Coverage in the Motor Carrier Coverage
   Form does not apply to the accidental discharge of an airbag.
L. Two or More Deductibles
   The following is added to the Deductible Provision of the Physical Damage Coverage Section:
   If an accident is covered both by this policy or Coverage Form and by another policy or Coverage Form issued to you
   by us, the following applies for each covered "auto" on a per vehicle basis:
   1. If the deductible on this policy or Coverage Form is the smaller (or smallest) deductible, it will be waived; or
   2. If the deductible on this policy or Coverage Form is not the smaller (or smallest) deductible, it will be reduced by
      the amount of the smaller (or smallest) deductible.
M. Physical Damage – Comprehensive Coverage – Deductible
   The following is added to the Deductible Provision of the Physical Damage Coverage Section:
   Regardless of the number of covered "autos" damaged or stolen, the maximum deductible that will be applied to
   Comprehensive Coverage for all "loss" from any one cause is $5,000 or the deductible shown in the Declarations,
   whichever is greater.
N. Temporary Substitute Autos – Physical Damage
   1. The following is added to Section I – Covered Autos:
       Temporary Substitute Autos – Physical Damage
       If Physical Damage Coverage is provided by this Coverage Form on your owned covered "autos", the following
       types of vehicles are also covered "autos" for Physical Damage Coverage:
       Any "auto" you do not own when used with the permission of its owner as a temporary substitute for a covered
       "auto" you do own but is out of service because of its:
       1. Breakdown;
       2. Repair;
       3. Servicing;
       4. "Loss"; or
       5. Destruction.
   2. The following is added to the Paragraph A. Coverage Provision of the Physical Damage Coverage Section:
       Temporary Substitute Autos – Physical Damage
       We will pay the owner for "loss" to the temporary substitute "auto" unless the "loss" results from fraudulent acts or
       omissions on your part. If we make any payment to the owner, we will obtain the owner's rights against any other
       party.
       The deductible for the temporary substitute "auto" will be the same as the deductible for the covered "auto" it
       replaces.
O. Amended Duties In The Event Of Accident, Claim, Suit Or Loss
   Paragraph a. of the Duties In The Event Of Accident, Claim, Suit Or Loss Condition is replaced by the following:
   a. In the event of "accident", claim, "suit" or "loss", you must give us or our authorized representative prompt notice
      of the "accident", claim, "suit" or "loss". However, these duties only apply when the "accident", claim, "suit" or
      "loss" is known to you (if you are an individual), a partner (if you are a partnership), a member (if you are a limited
      liability company) or an executive officer or insurance manager (if you are a corporation). The failure of any




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       agent, servant or employee of the "insured" to notify us of any "accident", claim, "suit" or "loss" shall not invalidate
       the insurance afforded by this policy.
       Include, as soon as practicable:
       (1) How, when and where the "accident" or "loss" occurred and if a claim is made or "suit" is brought, written
           notice of the claim or "suit" including, but not limited to, the date and details of such claim or "suit";
       (2) The "insured’s" name and address; and
       (3) To the extent possible, the names and addresses of any injured persons and witnesses.
       If you report an "accident", claim, "suit" or "loss" to another insurer when you should have reported to us, your
       failure to report to us will not be seen as a violation of these amended duties provided you give us notice as soon
       as practicable after the fact of the delay becomes known to you.
P. Waiver of Transfer Of Rights Of Recovery Against Others To Us
   The following is added to the Transfer Of Rights Of Recovery Against Others To Us Condition:
   This Condition does not apply to the extent required of you by a written contract, executed prior to any "accident" or
   "loss", provided that the "accident" or "loss" arises out of operations contemplated by such contract. This waiver only
   applies to the person or organization designated in the contract.
Q. Employee Hired Autos – Physical Damage
   Paragraph b. of the Other Insurance Condition in the Business Auto Coverage Form and Paragraph f. of the Other
   Insurance – Primary and Excess Insurance Provisions Condition in the Motor Carrier Coverage Form are replaced
   by the following:
   For Hired Auto Physical Damage Coverage, the following are deemed to be covered "autos" you own:
   (1) Any covered "auto" you lease, hire, rent or borrow; and
   (2) Any covered "auto" hired or rented under a written contract or written agreement entered into by an "employee" or
       elected or appointed official with your permission while being operated within the course and scope of that
       "employee's" employment by you or that elected or appointed official’s duties as respect their obligations to you.
   However, any "auto" that is leased, hired, rented or borrowed with a driver is not a covered "auto".
R. Unintentional Failure to Disclose Hazards
   The following is added to the Concealment, Misrepresentation Or Fraud Condition:
   However, we will not deny coverage under this Coverage Form if you unintentionally:
   (1) Fail to disclose any hazards existing at the inception date of this Coverage Form; or
   (2) Make an error, omission, improper description of "autos" or other misstatement of information.
   You must notify us as soon as possible after the discovery of any hazards or any other information that was not
   provided to us prior to the acceptance of this policy.
S. Hired Auto – World Wide Coverage
   Paragraph 7a.(5) of the Policy Period, Coverage Territory Condition is replaced by the following:
   (5) Anywhere in the world if a covered "auto" is leased, hired, rented or borrowed for a period of 60 days or less,
T. Bodily Injury Redefined
   The definition of "bodily injury" in the Definitions Section is replaced by the following:
   "Bodily injury" means bodily injury, sickness or disease, sustained by a person including death or mental anguish,
   resulting from any of these at any time. Mental anguish means any type of mental or emotional illness or disease.




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U. Expected Or Intended Injury
    The Expected Or Intended Injury Exclusion in Paragraph B. Exclusions under Section II – Covered Auto Liability
    Coverage is replaced by the following:
    Expected Or Intended Injury
    "Bodily injury" or "property damage" expected or intended from the standpoint of the "insured". This exclusion does
    not apply to "bodily injury" or "property damage" resulting from the use of reasonable force to protect persons or
    property.
V. Physical Damage – Additional Temporary Transportation Expense Coverage
    Paragraph A.4.a. of Section III – Physical Damage Coverage is replaced by the following:
    4. Coverage Extensions
        a. Transportation Expenses
            We will pay up to $50 per day to a maximum of $1,000 for temporary transportation expense incurred by you
            because of the total theft of a covered "auto" of the private passenger type. We will pay only for those
            covered "autos" for which you carry either Comprehensive or Specified Causes of Loss Coverage. We will
            pay for temporary transportation expenses incurred during the period beginning 48 hours after the theft and
            ending, regardless of the policy's expiration, when the covered "auto" is returned to use or we pay for its
            "loss".
W. Replacement of a Private Passenger Auto with a Hybrid or Alternative Fuel Source Auto
    The following is added to Paragraph A. Coverage of the Physical Damage Coverage Section:
    In the event of a total "loss" to a covered "auto" of the private passenger type that is replaced with a hybrid "auto" or
    "auto" powered by an alternative fuel source of the private passenger type, we will pay an additional 10% of the cost
    of the replacement "auto", excluding tax, title, license, other fees and any aftermarket vehicle upgrades, up to a
    maximum of $2500. The covered "auto" must be replaced by a hybrid "auto" or an "auto" powered by an alternative
    fuel source within 60 calendar days of the payment of the "loss" and evidenced by a bill of sale or new vehicle lease
    agreement.
    To qualify as a hybrid "auto", the "auto" must be powered by a conventional gasoline engine and another source of
    propulsion power. The other source of propulsion power must be electric, hydrogen, propane, solar or natural gas,
    either compressed or liquefied. To qualify as an "auto" powered by an alternative fuel source, the "auto" must be
    powered by a source of propulsion power other than a conventional gasoline engine. An "auto" solely propelled by
    biofuel, gasoline or diesel fuel or any blend thereof is not an "auto" powered by an alternative fuel source.
X. Return of Stolen Automobile
    The following is added to the Coverage Extension Provision of the Physical Damage Coverage Section:
    If a covered “auto” is stolen and recovered, we will pay the cost of transport to return the “auto” to you. We will pay
    only for those covered “autos" for which you carry either Comprehensive or Specified Causes of Loss Coverage.


All other terms, conditions, provisions and exclusions of this policy remain the same.




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Who Is An Insured Amendment – Broad Form

    Policy No.      Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.       Producer No.          Add’l. Prem         Return Prem.




                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the:
   Business Auto Coverage Form
   Motor Carrier Coverage Form


1. The following is added to the Who Is An Insured Provision of Section II - Covered Autos Liability Coverage:
   A. Broadened Named Insured
        1. Any organization of yours that has been acquired or formed prior to this policy period (other than a
           partnership, limited liability company or joint venture) but is not shown in the Declarations as of the effective
           date of this Coverage Form, will nevertheless qualify as a Named Insured if:
             a. You maintain an ownership interest of more than 50% of such organization; and
             b. Such organization has been incorporated or organized under the laws of the United States of America
                (including any state thereof), its territories or possessions.
             Each such organization remains qualified as a Named Insured only while you maintain an ownership interest
             of more than 50% in the organization during the current policy period.
        2. However, regardless of the provisions of Paragraph 1. above, no such organization will qualify as a Named
           Insured under this Coverage Form if the organization:
             a. Was newly acquired or formed by you in the preceding policy period in which we provided coverage, but
                was not reported to us before the end of that preceding policy period;
             b. Is also an insured under another policy, other than a policy written to apply specifically in excess of this
                Coverage Form; or
             c. Would be an insured under another policy, regardless of coverage termination or the exhaustion of its
                limits of insurance.
   B. Newly Acquired or Formed Organizations as Named Insureds
        1. Newly Acquired Or Formed Organizations Other Than Partnerships, Joint Ventures or Limited Liability
           Companies
             Any organization you newly acquire or form during this policy period (other than a partnership, limited liability
             company or joint venture) will qualify as a Named Insured if:
             a. You have an ownership interest of more than 50% in such organization; and
             b. Such organization has been incorporated or organized under the laws of the United States of America
                (including any state thereof), its territories or possessions.
             Each newly acquired or formed organization shall remain qualified as a Named Insured only while you
             maintain an ownership interest of more than 50% in the organization during the current policy period.



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        2. However, regardless of the provisions of Paragraph 1. above:
            a. No such organization will qualify as a Named Insured under this Coverage Form if the organization:
                (1) Is also an insured under another policy, other than a policy written to apply specifically in excess of
                    this Coverage Form; or
                (2) Would be an insured under another policy, regardless of coverage termination or the exhaustion of its
                    limits of insurance; and
            b. Coverage will be afforded to any such organization qualifying as a Named Insured only until the end of
               this policy period if the organization is not reported to us during this policy period.
        3. Newly Formed Partnerships, Limited Liability Companies, or Joint Ventures
            Any partnership, limited liability company or joint venture you newly form during this policy period, where:
            a. You maintain an ownership interest;
            b. As respects any joint venture, you have agreed in the Joint Venture Agreement to name the joint venture
               as a Named insured to your policy; and
            c. Such partnership, limited liability company or joint venture has been organized under the laws of the
               United States of America (including any state thereof), its territories or possessions,
            will qualify as a Named Insured, provided no other similar insurance was purchased for the partnership,
                                                                                                                             th
            limited liability company or joint venture. However, coverage under this provision is afforded only until the 90
            day after you form the partnership, limited liability company or joint venture, or the end of the policy period,
            whichever is earlier, if the organization is not reported to us during this policy period.
        4. With regard to Paragraphs 1. and 3. above, the following additional provision applies:
            No coverage shall apply to "bodily injury" or "property damage" that results from an "accident" that occurred
            before you acquired or formed the organization.


All other terms, conditions, provisions and exclusions of this policy remain the same.




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                                                                                          COMMERCIAL AUTO
                                                                                              CA 99 03 10 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 AUTO MEDICAL PAYMENTS COVERAGE
This endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


A. Coverage                                                  3. "Bodily injury" sustained by any "family
   We will pay reasonable expenses incurred for                 member" while "occupying" or struck by any
   necessary medical and funeral services to or for             vehicle (other than a covered "auto") owned by
   an "insured" who sustains "bodily injury" caused             or furnished or available for the regular use of
   by "accident". We will pay only those expenses               any "family member".
   incurred, for services rendered within three years        4. "Bodily injury" to your "employee" arising out of
   from the date of the "accident".                             and in the course of employment by you.
B. Who Is An Insured                                            However, we will cover "bodily injury" to your
                                                                domestic "employees" if not entitled to workers'
   1. You while "occupying" or, while a pedestrian,             compensation benefits. For the purposes of
      when struck by any "auto".                                this endorsement, a domestic "employee" is a
   2. If you are an individual, any "family member"             person engaged in household or domestic
       while "occupying" or, while a pedestrian, when           work performed principally in connection with a
       struck by any "auto".                                    residence premises.
   3. Anyone else "occupying" a covered "auto" or a          5. "Bodily injury" to an "insured" while working in
       temporary substitute for a covered "auto". The           a business of selling, servicing, repairing or
       covered "auto" must be out of service because            parking "autos" unless that business is yours.
       of its breakdown, repair, servicing, loss or          6. "Bodily injury" arising directly or indirectly out
       destruction.                                             of:
C. Exclusions                                                   a. War, including undeclared or civil war;
   This insurance does not apply to any of the                  b. Warlike action by a military force, including
   following:                                                       action in hindering or defending against an
   1. "Bodily injury" sustained by an "insured" while               actual or expected attack, by any
       "occupying" a vehicle located for use as a                   government, sovereign or other authority
       premises.                                                    using military personnel or other agents; or
   2. "Bodily injury" sustained by you or any "family           c. Insurrection, rebellion, revolution, usurped
       member" while "occupying" or struck by any                   power, or action taken by governmental
       vehicle (other than a covered "auto") owned by               authority in hindering or defending against
       you or furnished or available for your regular               any of these.
       use.




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   7. "Bodily injury" to anyone using a vehicle               E. Changes In Conditions
       without a reasonable belief that the person is            The Conditions are changed for Auto Medical
       entitled to do so.                                        Payments Coverage as follows:
   8. "Bodily Injury" sustained by an "insured" while            1. The Transfer Of Rights Of Recovery Against
       "occupying" any covered "auto" while used in                 Others To Us Condition does not apply.
       any professional racing or demolition contest or
       stunting activity, or while practicing for such           2. The reference in Other Insurance in the Auto
       contest or activity. This insurance also does                Dealers and Business Auto Coverage Forms
       not apply to any "bodily injury" sustained by an             and Other Insurance – Primary And Excess
       "insured" while the "auto" is being prepared for             Insurance Provisions in the Motor Carrier
       such a contest or activity.                                  Coverage Form to "other collectible insurance"
                                                                    applies only to other collectible auto medical
D. Limit Of Insurance                                               payments insurance.
   Regardless of the number of covered "autos",               F. Additional Definitions
   "insureds", premiums paid, claims made or
   vehicles involved in the "accident", the most we              As used in this endorsement:
   will pay for "bodily injury" for each "insured" injured       1. "Family member" means a person related to
   in any one "accident" is the Limit Of Insurance for              you by blood, marriage or adoption who is a
   Auto Medical Payments Coverage shown in the                      resident of your household, including a ward or
   Declarations.                                                    foster child.
   No one will be entitled to receive duplicate                  2. "Occupying" means in, upon, getting in, on, out
   payments for the same elements of "loss" under                   or off.
   this coverage and any Liability Coverage Form,
   Uninsured Motorists Coverage Endorsement or
   Underinsured Motorists Coverage Endorsement
   attached to this Coverage Part.




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POLICY NUMBER:                                                                                        COMMERCIAL AUTO
                                                                                                          CA 99 10 03 10

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          DRIVE OTHER CAR COVERAGE – BROADENED
              COVERAGE FOR NAMED INDIVIDUALS
This endorsement modifies insurance provided under the following:
   BUSINESS AUTO COVERAGE FORM
   BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM
With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.

Named Insured: Asphalt Paving System, Inc.

Endorsement Effective Date:       4/1/2016 – 4/1/2017


                                                    SCHEDULE

 Name Of Individual: Robert, Kathleen and Frank Capoferri; Ken Messina (and spouse); Steven Plummer
 Suzanne Plummer; Barbara Labb (children - Nick and Noel Labb)

 Liability                  Limit:         $ 1,000,000                     Premium: $ Included
 Auto Medical Payments Limit:              $ 5,000                         Premium: $ Included
 Comprehensive              Deductible: $ 1,000                            Premium: $ Included
 Collision                  Deductible: $ 1,000                            Premium: $ Included
 Uninsured Motorists        Limit:         $ 1,000,000                     Premium: $ Included
 Underinsured Motorists Limit:             $ 1,000,000                     Premium: $ Included
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

Note – When Uninsured Motorists Coverage is provided at limits higher than the basic limits required by a finan-
cial responsibility law, Underinsured Motorists Coverage is included, unless otherwise noted. If Underinsured
Motorists Coverage is provided as a separate coverage, make appropriate entry in the Schedule above.


A. This endorsement changes only those coverages                       b. Any "auto" used by that individual or his or
   where a premium is shown in the Schedule.                              her spouse while working in a business of
B. Changes In Liability Coverage                                          selling, servicing, repairing or parking
                                                                          "autos".
   1. Any "auto" you don't own, hire or borrow is a
      covered "auto" for Liability Coverage while be-              2. The following is added to Who Is An Insured:
      ing used by any individual named in the                          Any individual named in the Schedule and his
      Schedule or by his or her spouse while a resi-                   or her spouse, while a resident of the same
      dent of the same household except:                               household, are "insureds" while using any cov-
      a. Any "auto" owned by that individual or by                     ered "auto" described in Paragraph B.1. of this
         any member of his or her household.                           endorsement.




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C. Changes In Auto Medical Payments And                            1. Any "auto" owned by that individual or by any
   Uninsured And   Underinsured Motorists                             member of his or her household.
   Coverages
                                                                   2. Any "auto" used by that individual or his or her
   The following is added to Who Is An Insured:                       spouse while working in a business of selling,
   Any individual named in the Schedule and his or                    servicing, repairing or parking "autos".
   her "family members" are "insureds" while "occu-            E. Additional Definition
   pying" or while a pedestrian when being struck by
   any "auto" you don’t own except:                                As used in this endorsement:
   Any "auto" owned by that individual or by any                   "Family member" means a person related to the
   "family member".                                                individual named in the Schedule by blood, mar-
                                                                   riage or adoption who is a resident of the individ-
D. Changes In Physical Damage Coverage                             ual's household, including a ward or foster child.
   Any private passenger type "auto" you don't own,
   hire or borrow is a covered "auto" while in the
   care, custody or control of any individual named in
   the Schedule or his or her spouse while a resident
   of the same household except:




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POLICY NUMBER: BAP         0191409-00                                                        COMMERCIAL AUTO
                                                                                                 CA 99 16 10 13

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            HIRED AUTOS SPECIFIED AS
                            COVERED AUTOS YOU OWN
This endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


 Named Insured:

 Endorsement Effective Date:


                                                   SCHEDULE

Description Of Auto:
Autos leased by the insured for 180 days or more




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Any ‘‘auto’’ described in the Schedule will be
   considered a covered ‘‘auto’’ you own and not a
   covered ‘‘auto’’ you hire, borrow or lease.
B. Changes In Covered Autos Liability Coverage
   The following is added to the Who Is An Insured
   provision:
   While any covered ‘‘auto’’ described in the
   Schedule is rented or leased to you and is being
   used by or for you, its owner or anyone else from
   whom you rent or lease it is an ‘‘insured’’ but only
   for that covered ‘‘auto’’.




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POLICY NUMBER: BAP       0191409-00                                                          COMMERCIAL AUTO
                                                                                                 CA 99 23 10 13

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  RENTAL REIMBURSEMENT COVERAGE
This endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Named Insured:

Endorsement Effective Date:


                                                   SCHEDULE

                                                                 Maximum Payment
                                                                Each Covered "Auto"
                       Designation Or Description                      No.
                      Of Covered "Autos" To Which         Any One       Of        Any One
    Coverage             This Insurance Applies             Day        Days        Period             Premium
Comprehensive       FL  67 ONLY
                     PPT'S
                    2012 FORD                              $ 40        30        $ 1,200        $ INCL          25
                    1FMCU0D78CKC76293
Collision           FL  67 ONLY
                     PPT'S
                    2012 FORD                              $ 40        30        $ 1,200        $ INCL          42
                    1FMCU0D78CKC76293
Specified
Causes Of Loss


                                                                               Total Premium $ INCL           787
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. This endorsement provides only those coverages          C. We will pay only for those expenses incurred
   where a premium is shown in the Schedule. It               during the policy period beginning 24 hours after
   applies only to a covered "auto" described or              the "loss" and ending, regardless of the policy’s
   designated in the Schedule.                                expiration, with the lesser of the following number
B. We will pay for rental reimbursement expenses              of days:
   incurred by you for the rental of an "auto" because        1. The number of days reasonably required to
   of "loss" to a covered "auto". Payment applies in              repair or replace the covered "auto". If "loss" is
   addition to the otherwise applicable amount of                 caused by theft, this number of days is added
   each coverage you have on a covered "auto". No                 to the number of days it takes to locate the
   deductibles apply to this coverage.                            covered "auto" and return it to you.


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   2. The number of days shown in the Schedule.            E. This coverage does not apply while there are spare
D. Our payment is limited to the lesser of the                or reserve "autos" available to you for your
   following amounts:                                         operations.
   1. Necessary and actual expenses incurred.              F. If "loss" results from the total theft of a covered
                                                              "auto" of the private passenger type, we will pay
   2. The maximum payment stated in the Schedule              under this coverage only that amount of your
       applicable to "any one day" or "any one period".       rental reimbursement expenses which is not
                                                              already provided for under the Physical Damage
                                                              Coverage Extension.




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FORM MCS-90   Revised 06/12/2014                                                                                         OMB No.: 2126-0008 Expiration: 06/30/2016


               A Federal Agency may not conduct or sponsor, and a person is not required to respond to, nor shall a person be subject to a penalty for failure to comply
               with a collection of information subject to the requirements of the Paperwork Reduction Act unless that collection of information displays a current
               valid OMB Control Number. The OMB Control Number for this information collection is 2126-0008. Public reporting for this collection of information
               is estimated to be approximately 2 minutes per response, including the time for reviewing instructions, gathering the data needed, and completing and
               reviewing the collection of information. All responses to this collection of information are mandatory. Send comments regarding this burden estimate or
               any other aspect of this collection of information, including suggestions for reducing this burden to: Information Collection Clearance Officer, Federal
               Motor Carrier Safety Administration, MC-RRA, Washington, D.C. 20590.


       United States Department of Transportation
       Federal Motor Carrier Safety Administration


               Endorsement for Motor Carrier Policies of Insurance for Public Liability
               under Sections 29 and 30 of the Motor Carrier Act of 1980

               FORM MCS-90
               Issued to ASPHALT PAVING SYSTEM, INC. of              500 N EGG HARBOR ROAD
                           (Motor Carrier name)                                                                        (Motor Carrier state)

               Dated at PHILADELPHIA on this           1ST day of      APRIL , 16

               Amending Policy Number:              BAP 0191409-00            Effective Date:       04-01-2016

               Name of Insurance Company: ZURICH AMERICAN INSURANCE COMPANY




               The policy to which this endorsement is attached provides primary or excess insurance, as indicated for the limits shown (check only one):
                      ‫ ܈‬This insurance is primary and the company shall not be liable for amounts in excess of $1,000,000 for each accident.
                      ‫ ܆‬This insurance is excess and the company shall not be liable for amounts in excess of   for each accident in excess of the underlying limit of
                          for each accident.
               Whenever required by the Federal Motor Carrier Safety Administration (FMCSA), the company agrees to furnish the FMCSA a duplicate of
               said policy and all its endorsements. The company also agrees, upon telephone request by an authorized representative of the FMCSA ,
               to verify that the policy is in force as of a particular date. The telephone number to call is: 1-215-861-6745 .
               Cancellation of this endorsement may be effected by the company of the insured by giving (1) thirty-five (35) days notice in writing to
               the other party (said 35 days notice to commence from the date the notice is mailed, proof of mailing shall be sufficient proof of notice),
               and (2) if the insured is subject to the FMCSA’s registration requirements under 49 U.S.C. 13901, by providing thirty (30) days notice to the
               FMCSA (said 30 days notice to commence from the date the notice is received by the FMCSA at its office in Washington, DC).


  DEFINITIONS AS USED IN THIS ENDORSEMENT

               Accident includes continuous or repeated exposure to conditions or                 Environmental Restoration means restitution for the loss, damage,
               which results in bodily injury, property damage, or environmental                  or destruction of natural resources arising out of the accidental
               damage which the insured neither expected nor intended.                            discharge, dispersal, release or escape into or upon the land,
               Motor Vehicle means a land vehicle, machine, truck, tractor, trailer, or           atmosphere, watercourse, or body of water, of any commodity
               semitrailer propelled or drawn by mechanical power and used on a                   transported by a motor carrier. This shall include the cost of
               highway for transporting property, or any combination thereof.                     removal and the cost of necessary measures taken to minimize or
               Bodily Injury means injury to the body, sickness, or disease to any                mitigate damage to human health, the natural environment, fish,
               person, including death resulting from any of these.                               shellfish, and wildlife.
               Property Damage means damage to or loss of use of tangible                         Public Liability means liability for bodily injury, property damage,
               property.                                                                          and environmental restoration.


                                                                                                                                                      (continued on next page)

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FORM MCS-90   Revised 06/12/2014                                                                                  OMB No.: 2126-0008 Expiration: 06/30/2016



               The insurance policy to which this endorsement is attached               or violation thereof, shall relieve the company from liability or
               provides automobile liability insurance and is amended to assure         from the payment of any final judgment, within the limits of
               compliance by the insured, within the limits stated herein, as a         liability herein described, irrespective of the financial condition,
               motor carrier of property, with Sections 29 and 30 of the Motor          insolvency or bankruptcy of the insured. However, all terms,
               Carrier Act of 1980 and the rules and regulations of the Federal         conditions, and limitations in the policy to which the
               Motor Carrier Safety Administration (FMCSA).                             endorsement is attached shall remain in full force and effect as
               In consideration of the premium stated in the policy to which this       binding between the insured and the company. The insured
               endorsement is attached, the insurer (the company) agrees to pay,        agrees to reimburse the company for any payment made by the
               within the limits of liability described herein, any final judgment      company on account of any accident, claim, or suit involving a
               recovered against the insured for public liability resulting from        breach of the terms of the policy, and for any payment that the
               negligence in the operation, maintenance or use of motor vehicles company would not have been obligated to make under the
               subject to the financial responsibility requirements of Sections 29      provisions of the policy except for the agreement contained in
               and 30 of the Motor Carrier Act of 1980 regardless of whether or not this endorsement
               each motor vehicle is specifically described in the policy and           It is further understood and agreed that, upon failure of the
               whether or not such negligence occurs on any route or in any             company to pay any final judgment recovered against the
               territory authorized to be served by the insured or elsewhere. Such insured as provided herein, the judgment creditor may maintain
               insurance as is afforded, for public liability, does not apply to injury an action in any court of competent jurisdiction against the
               to or death of the insured’s employees while engaged in the course company to compel such payment.
               of their employment, or property transported by the insured,             The limits of the company’s liability for the amounts prescribed in
               designated as cargo. It is understood and agreed that no condition, this endorsement apply separately to each accident and any
               provision, stipulation, or limitation contained in the policy, this      payment under the policy because of anyone accident shall not
               endorsement, or any other endorsement thereon,                           operate to reduce the liability of the company for the payment of
                                                                                        final judgments resulting from any other accident.




     SCHEDULE OF LIMITS — PUBLIC LIABILITY

                Type of carriage                                                   Commodity transported                                       January 1, 1985
                (1) For-hire (in interstate or foreign commerce, with a            Property (nonhazardous)                                           $750,000
                gross vehicle weight rating of 10,000 or more pounds).
                (2) For-hire and Private (in interstate, foreign, or               Hazardous substances, as defined in 49 CFR 171.8,                $5,000,000
                intrastate commerce, with a gross vehicle weight rating            transported in cargo tanks, portable tanks, or hopper-
                of 10,000 or more pounds).                                         type vehicles with capacities in excess of 3,500 water
                                                                                   gallons; or in bulk Division 1.1, 1.2, and 1.3 materials,
                                                                                   Division 2.3, Hazard Zone A, or Division 6.1, Packing
                                                                                   Group I, Hazard Zone A material; in bulk Division 2.1 or
                                                                                   2.2; or highway route controlled quantities of a Class 7
                                                                                   material, as defined in 49 CFR 173.403.
                (3) For-hire and Private (in interstate or foreign                 Oil listed in 49 CFR 172.101; hazardous waste,                   $1,000,000
                commerce, in any quantity; or in intrastate commerce,              hazardous materials, and hazardous substances
                in bulk only; with a gross vehicle weight rating of                defined in 49 CFR 171.8 and listed in 49 CFR 172.101,
                10,000 or more pounds).                                            but not mentioned in (2) above or (4) below.
                (4) For-hire and Private (In interstate or foreign                 Any quantity of Division 1.1, 1.2, or 1.3 material; any          $5,000,000
                commerce, with a gross vehicle weight rating of less               quantity of a Division 2.3, Hazard Zone A, or Division
                than 10,000 pounds).                                               6.1, Packing Group I, Hazard Zone A material; or
                                                                                   highway route controlled quantities of a Class 7
                                                                                   material as defined in 49 CFR 173.403.
                *The schedule of limits shown does not provide coverage. The
                 limits shown in the schedule are for information purposes only.




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                                                                                      COMMERCIAL AUTO
                                                                                          CA 99 33 10 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            EMPLOYEES AS INSUREDS
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.

The following is added to the Section II – Covered
Autos Liability Coverage, Paragraph A.1. Who Is
An Insured provision:
      Any "employee" of yours is an "insured" while
      using a covered "auto" you don't own, hire or
      borrow in your business or your personal
      affairs.




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